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                                 EXHIBIT G
                  Detailed Time Records for Marchand ICS Group
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                                               Marchand ICS Group
                  Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC)
                       Summary of Marchand ICS Group Hours Worked and Fees Incurred
                                            From June 1 to June 30, 2021



                                    Project                  Media
                                               Project                                    Hourly
   Name of                         Calls and            Development and       Total                 Total Value
                       Title                 Management                                Billing Rate
  Professional                     Meetings              Management           Hours                     ($)
                                               Hours                                        ($)
                                    Hours                    Hours

Ferdinand Diaz   Project Manager        -           1.90                -       1.90   $   125.00        237.50
Jorge Marchand   Principal            58.90        91.90                -     150.80   $   175.00     26,390.00
Male Noguera     Media Manager        27.20        17.80              63.00   108.00   $    95.00     10,260.00
María Schell     Business Editor      34.50        94.70                -     129.20   $   110.00     14,212.00
                                     120.60       206.30              63.00   389.90                  51,099.50
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                                                   Marchand ICS Group
                   Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                             Professional Services for the Period from June 1 to June 30, 2021


Detail of Conference Calls and Project Meetings
   Date           Staff                                   Description                          Hours   Rate      Value ($)
                              Conference call with the MICS team, to discuss about the
 6/1/2021 Jorge Marchand                                                                       0.60    175.00       105.00
                              pension calculator statistics and metrics.
                              Conference call with the MICS team, to discuss about the
 6/1/2021 Male Noguera                                                                         0.60     95.00        57.00
                              pension calculator statistics and metrics.
                              Conference call with Héctor Mayol from the Bennazar team,
 6/1/2021 Jorge Marchand                                                                       0.80    175.00       140.00
                                                                             .

                              Meeting
 6/1/2021   Jorge Marchand                                                                     1.30    175.00       227.50

                              Conference call with the MICS and Bennazar teams, to discuss
 6/1/2021   Jorge Marchand                                                                     0.50    175.00        87.50
                              about the COR meeting.
                              Conference call with the MICS and Bennazar teams, to discuss
 6/1/2021   María Schell                                                                       0.50    110.00        55.00
                              about the COR meeting.
                              Meeting with the MICS team, to discuss content development
 6/2/2021   Jorge Marchand                                                                     1.40    175.00       245.00
                              and planning.
                              Meeting with the MICS team, to discuss content development
 6/2/2021   Male Noguera                                                                       1.40     95.00       133.00
                              and planning.
                              Meeting with the MICS team, to discuss content development
 6/2/2021   María Schell                                                                       1.40    110.00       154.00
                              and planning.
                              Conference call with Iván Sánchez from Periódico Plenitud
 6/2/2021   Male Noguera      Dorada, to discuss about the next COR ad and article to be       0.30     95.00        28.50
                              published.
                              Conference call
 6/2/2021   Jorge Marchand                                                                     0.70    175.00       122.50
                                           .

                              Conference call with COR member Blanca Paniagua,
 6/2/2021   Jorge Marchand                                                                     0.40    175.00        70.00
                                                                                   .

                              Conference call with the MICS and Bennazar teams, to discuss
 6/2/2021   Jorge Marchand    project status and the next meeting                   on         0.50    175.00        87.50
                              6/3/21.
                              Conference call with the MICS and Bennazar teams, to discuss
 6/2/2021   María Schell      project status and the next meeting                   on         0.50    110.00        55.00
                              6/3/21.
                              Conference call with COR president Miguel Fabre, in
 6/2/2021   Jorge Marchand                                                                     0.80    175.00       140.00
                              preparation for the COR official meeting.
                              Conference call with the MICS team, to discuss about the next
 6/2/2021   Jorge Marchand                                                                     0.30    175.00        52.50
                              COR meeting and status.
                              Conference call with the MICS team, to discuss about the next
 6/2/2021   María Schell                                                                       0.30    110.00        33.00
                              COR meeting and status.
                              Conference call
 6/3/2021   Jorge Marchand                                                                     0.30    175.00        52.50

                              Meeting with the COR                                to discuss
 6/3/2021   Jorge Marchand                                                                     3.30    175.00       577.50
                              about the case status.
                              Meeting with the COR                                to discuss
 6/3/2021   María Schell                                                                       3.30    110.00       363.00
                              about the case status.
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                            Conference call with Carmen Núñez, to discuss about the radio
6/3/2021   Jorge Marchand                                                                      0.30   175.00        52.50
                            program script #57.
6/4/2021   Jorge Marchand   COR's official meeting, to discuss case status.                    1.70   175.00       297.50
6/4/2021   Male Noguera     COR's official meeting, to discuss case status.                    1.70    95.00       161.50
6/4/2021   María Schell     COR's official meeting, to discuss case status.                    1.70   110.00       187.00
                            Conference call with COR vice president Carmen Núñez,
6/4/2021   Jorge Marchand                                                                      0.30   175.00        52.50

6/7/2021   Jorge Marchand   Professionals team conference call/meeting: weekly status.         1.00   175.00       175.00

6/7/2021   María Schell     Professionals team conference call/meeting: weekly status.         1.00   110.00       110.00

6/7/2021   Male Noguera     Professionals team conference call/meeting: weekly status.         1.00    95.00        95.00

                            Conference call with the MICS team, to review content for the
6/7/2021   Jorge Marchand                                                                      0.50   175.00        87.50
                            next COR email drop.
                            Conference call with the MICS team, to review content for the
6/7/2021   Male Noguera                                                                        0.50    95.00        47.50
                            next COR email drop.
6/7/2021   Jorge Marchand   Status meeting with COR vice president Carmen Núñez.               1.00   175.00       175.00
                            Conference call with the MICS team, to discuss about the voting
6/8/2021   Jorge Marchand                                                                      0.80   175.00       140.00
                            campaign and Google ads.
                            Conference call with the MICS team, to discuss about the voting
6/8/2021   Male Noguera                                                                        0.80    95.00        76.00
                            campaign and Google ads.
                            Conference call with the MICS team, to discuss about the voting
6/8/2021   María Schell                                                                        0.80   110.00        88.00
                            campaign and Google ads.
                            Conference call with the MICS team, to discuss about the insert
6/9/2021   Jorge Marchand   to be distributed to the 'Asociación de Profesionales Jubilados'   0.80   175.00       140.00
                            (APJ).
                            Conference call with the MICS team, to discuss about the insert
6/9/2021   Male Noguera     to be distributed to the 'Asociación de Profesionales Jubilados'   0.80    95.00        76.00
                            (APJ).
                            Meeting with the ORC and the professionals team, to discuss
6/10/2021 Jorge Marchand                                                                       1.00   175.00       175.00
                            status.
                            Meeting with the ORC and the professionals team, to discuss
6/10/2021 Male Noguera                                                                         1.00    95.00        95.00
                            status.
                            Meeting with the ORC and the professionals team, to discuss
6/10/2021 María Schell                                                                         1.00   110.00       110.00
                            status.
                            Conference call with Francisco Del Castillo from the Bennazar
6/10/2021 Jorge Marchand    team,                                                              0.40   175.00        70.00
                                        .
                            Conference call with the MICS team, to review and analyze
6/10/2021 Jorge Marchand                                                                       1.20   175.00       210.00
                            questions received through the ORC digital platforms.
                            Conference call with the MICS team, to review and analyze
6/10/2021 Male Noguera                                                                         1.20    95.00       114.00
                            questions received through the ORC digital platforms.
                            Conference call with the MICS team,
6/11/2021 Jorge Marchand                                                                       0.70   175.00       122.50

                            Conference call with the MICS team,
6/11/2021 Male Noguera                                                                         0.70    95.00        66.50

                            Conference call with the MICS team,
6/11/2021 María Schell                                                                         0.70   110.00        77.00
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                           Conference call with Francisco Del Castillo from the Bennazar
6/11/2021 Jorge Marchand   team, to discuss about recent questions and comments received     0.60   175.00       105.00
                           through the ORC digital platforms.
                           Conference call with the MICS team, to discuss about the insert
6/14/2021 Jorge Marchand                                                                     0.40   175.00        70.00
                           revisions.
                           Conference call with the MICS team, to discuss about the insert
6/14/2021 Male Noguera                                                                       0.40    95.00        38.00
                           revisions.
                           Conference call with Francisco Del Castillo from the Bennazar
6/14/2021 Jorge Marchand   team,                                                             0.40   175.00        70.00
                                       .
                           Meeting with Robert Gordon from the Jenner team,
6/14/2021 Jorge Marchand                                                                     1.40   175.00       245.00

6/14/2021 Jorge Marchand   Professionals team conference call/meeting: weekly status.        0.80   175.00       140.00

6/14/2021 María Schell     Professionals team conference call/meeting: weekly status.        0.80   110.00        88.00

                           Conference call with economist Gustavo Vélez, to coordinate
6/15/2021 Jorge Marchand                                                                     0.80   175.00       140.00
                           Miguel Fabre's participation on his radio program.

                           Conference call with COR president Miguel Fabre, to
6/15/2021 Jorge Marchand   coordinate his participation on economist Gustavo Vélez radio     0.50   175.00        87.50
                           program.
                           Conference call with COR Vice President Carmen Núñez, to
6/15/2021 Jorge Marchand                                                                     0.60   175.00       105.00
                           discuss about status.
                           Meeting with the FOMB Communications team,
6/15/2021 Jorge Marchand                                                                     1.20   175.00       210.00

                           Conference call with Francisco Del Castillo from the Bennazar
6/15/2021 Jorge Marchand                                                                     0.50   175.00        87.50
                           team, to discuss about status.
                           Conference call with the MICS team, to discuss status and
6/15/2021 Jorge Marchand                                                                     1.50   175.00       262.50
                           content developed for the COR's digital platforms.
                           Conference call with the MICS team, to discuss status and
6/15/2021 Male Noguera                                                                       1.50    95.00       142.50
                           content developed for the COR's digital platforms.
                           Conference call with the MICS team, to discuss status and
6/15/2021 María Schell                                                                       1.50   110.00       165.00
                           content developed for the COR's digital platforms.
                           Conference call with the MICS team, to discuss status and
6/16/2021 Jorge Marchand                                                                     1.00   175.00       175.00
                           content development.
                           Conference call with the MICS team, to discuss status and
6/16/2021 Male Noguera                                                                       1.00    95.00        95.00
                           content development.
                           Conference call with the MICS team, to discuss status and
6/16/2021 María Schell                                                                       1.00   110.00       110.00
                           content development.
                           Meeting with the        FTI, and MICS teams,
6/16/2021 Jorge Marchand                                                                     1.10   175.00       192.50
                                                                  .
                           Meeting with the        FTI, and MICS teams,
6/16/2021 Male Noguera                                                                       1.10    95.00       104.50
                                                                  .
                           Meeting with the        FTI, and MICS teams,
6/16/2021 María Schell                                                                       1.10   110.00       121.00

                           Conference call
6/16/2021 Jorge Marchand                                                                     0.80   175.00       140.00

6/17/2021 Jorge Marchand   Meeting with the MICS team to discuss ORC digital content.        1.50   175.00       262.50

6/17/2021 Male Noguera     Meeting with the MICS team to discuss ORC digital content.        1.50    95.00       142.50

6/17/2021 María Schell     Meeting with the MICS team to discuss ORC digital content.        1.50   110.00       165.00
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                           Meeting with the professionals team and the Prime Clerk team,
6/17/2021 Jorge Marchand                                                                   1.00   175.00       175.00

                           Meeting with the professionals team and the Prime Clerk team,
6/17/2021 María Schell                                                                     1.00   110.00       110.00

                           Meeting with the professionals team,
6/18/2021 Jorge Marchand                                                                   1.40   175.00       245.00

                           Meeting with the professionals team,
6/18/2021 Male Noguera                                                                     1.40    95.00       133.00

                           Meeting with the professionals team,
6/18/2021 María Schell                                                                     1.40   110.00       154.00

                           Conference call with the MICS team, to discuss and review
6/18/2021 Jorge Marchand                                                                   1.30   175.00       227.50
                           questions received through the ORC digital platforms.
                           Conference call with the MICS team, to discuss and review
6/18/2021 Male Noguera                                                                     1.30    95.00       123.50
                           questions received through the ORC digital platforms.
                           Conference call with the COR Vice President Carmen Núñez,
6/18/2021 Jorge Marchand                                                                   0.30   175.00        52.50

                           Conference call with Francisco Del Castillo from the Bennazar
6/18/2021 María Schell                                                                     0.80   110.00        88.00
                           team,
                           Conference call with the MICS team to discuss about
6/21/2021 Jorge Marchand                                                                   0.80   175.00       140.00
                           communications strategies and status.
                           Conference call with the MICS team to discuss about
6/21/2021 Male Noguera                                                                     0.80    95.00        76.00
                           communications strategies and status.
                           Conference call with the MICS team to discuss about
6/21/2021 María Schell                                                                     0.80   110.00        88.00
                           communications strategies and status.

                           Conference call with COR member Juan Ortíz,
6/21/2021 Jorge Marchand                                                                   0.40   175.00        70.00

                           Conference call with the MICS team, to discuss about content
6/21/2021 Jorge Marchand                                                                   0.60   175.00       105.00
                           for approval and publication.
                           Conference call with the MICS team, to discuss about content
6/21/2021 Male Noguera                                                                     0.60    95.00        57.00
                           for approval and publication.

6/21/2021 Jorge Marchand   Conference call with the MICS team to discuss about status.     0.20   175.00        35.00

6/21/2021 María Schell     Conference call with the MICS team to discuss about status.     0.20   110.00        22.00

                           Conference call with Francisco del Castillo from the Bennazar
6/21/2021 María Schell     team,                                                           0.20   110.00        22.00

                           Conference call with the MICS team, to discuss about status
6/22/2021 Jorge Marchand                                                                   1.10   175.00       192.50

                           Conference call with the MICS team, to discuss about status
6/22/2021 Male Noguera                                                                     1.10    95.00       104.50

                           Conference call with the MICS team, to discuss about status
6/22/2021 María Schell                                                                     1.10   110.00       121.00

                           Conference call with Francisco Del Castillo from the Bennazar
6/22/2021 Jorge Marchand                                                                   0.40   175.00        70.00
                           team,                                                     .

6/22/2021 Jorge Marchand   Professionals team conference call/meeting: weekly status.      1.00   175.00       175.00

6/22/2021 María Schell     Professionals team conference call/meeting: weekly status.      1.00   110.00       110.00

                           Conference call with the professionals team,
6/23/2021 Jorge Marchand                                                                   0.50   175.00        87.50
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                           Conference call with Francisco Del Castillo from the Bennazar
6/23/2021 Jorge Marchand   team,                                                            0.80   175.00       140.00
                                 .
                           Meeting                                 to discuss
6/24/2021 Jorge Marchand                                                                    3.50   175.00       612.50
                           communications strategy.
                           Meeting                               , to discuss
6/24/2021 Male Noguera                                                                      3.50    95.00       332.50
                           communications strategy.
                           Meeting                                 to discuss
6/24/2021 María Schell                                                                      3.50   110.00       385.00
                           communications strategy.
                           Conference call with the MICS team,
6/24/2021 Jorge Marchand                                                                    0.70   175.00       122.50

                           Conference call with the MICS team,
6/24/2021 Male Noguera                                                                      0.70    95.00        66.50

                           Conference call with the MICS team,
6/24/2021 María Schell                                                                      0.70   110.00        77.00

                           Conference call with the FOMB communications team,
6/24/2021 Jorge Marchand                                                                    0.60   175.00       105.00

                           Conference call with the MICS team, to discuss about questions
6/25/2021 Jorge Marchand                                                                    0.70   175.00       122.50
                           and comments received through the ORC digital platforms.

                           Conference call with the MICS team, to discuss about questions
6/25/2021 Male Noguera                                                                      0.70    95.00        66.50
                           and comments received through the ORC digital platforms.

                           Working session meeting with the MICS team, to discuss
6/28/2021 Jorge Marchand                                                                    0.80   175.00       140.00
                           communications strategies and status.
                           Working session meeting with the MICS team, to discuss
6/28/2021 Male Noguera                                                                      0.80    95.00        76.00
                           communications strategies and status.
                           Working session meeting with the MICS team, to discuss
6/28/2021 María Schell                                                                      0.80   110.00        88.00
                           communications strategies and status.
                           Conference call with the MICS team, to discuss and review
6/28/2021 Jorge Marchand                                                                    0.50   175.00        87.50
                           content for email drop distribution.
                           Conference call with the MICS team, to discuss and review
6/28/2021 Male Noguera                                                                      0.50    95.00        47.50
                           content for email drop distribution.
                           Conference call with the MICS team, to discuss and review
6/28/2021 María Schell                                                                      0.50   110.00        55.00
                           content for email drop distribution.
                           Conference call with the MICS team and the COR Vice
6/28/2021 Jorge Marchand   President Carmen Núñez, to discuss about communications          0.40   175.00        70.00
                           strategies.
                           Conference call with the MICS team and the COR Vice
6/28/2021 María Schell     President Carmen Núñez, to discuss about communications          0.40   110.00        44.00
                           strategies.

                           Conference call with COR President Miguel Fabre,
6/28/2021 Jorge Marchand                                                                    0.50   175.00        87.50

                           Conference call with the professionals team,
6/28/2021 Jorge Marchand                                                                    0.50   175.00        87.50

6/28/2021 Jorge Marchand   Professionals team conference call/meeting: weekly status.       1.00   175.00       175.00

6/28/2021 María Schell     Professionals team conference call/meeting: weekly status.       1.00   110.00       110.00
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                           Conference call with the MICS and FTI teams,
6/28/2021 Jorge Marchand                                                                    0.80    175.00       140.00

                           Conference call with the MICS and FTI teams,
6/28/2021 María Schell                                                                      0.80    110.00        88.00

                           Conference call with the MICS team, to review and approve
6/29/2021 Jorge Marchand                                                                    0.30    175.00        52.50
                           content.
                           Conference call with the MICS team, to review and approve
6/29/2021 Male Noguera                                                                      0.30     95.00        28.50
                           content.
                           Working session meeting with the MICS team, to discuss status
6/29/2021 Jorge Marchand                                                                    2.20    175.00       385.00
                           and content development.
                           Working session meeting with the MICS team, to discuss status
6/29/2021 María Schell                                                                      2.20    110.00       242.00
                           and content development.

                           Conference call with COR member Carmen Núñez, president of
6/29/2021 Jorge Marchand   the COR's communication sub committee, to discuss about the      0.40    175.00        70.00
                           next communications subcommittee meeting.

                           Conference call
6/30/2021 Jorge Marchand                                                                    0.50    175.00        87.50
                                                                   .
                           Meeting with Robert Gordon and the professionals team,
6/30/2021 Jorge Marchand                                                                    1.00    175.00       175.00

                           Meeting with Robert Gordon and the professionals team,
6/30/2021 María Schell                                                                      1.00    110.00       110.00

                           Conference call with the MICS team,
6/30/2021 Jorge Marchand                                                                    0.50    175.00        87.50

                           Conference call with the MICS team,
6/30/2021 Jorge Marchand                                                                    0.50    175.00        87.50

                                                                                           120.60              16,686.50




                                                                           Fee Summary: Hours       Rate      Value ($)
                                                                           Ferdinand Díaz    -      125.00           -
                                                                          Jorge Marchand 58.90      175.00    10,307.50
                                                                            Male Noguera 27.20       95.00     2,584.00
                                                                             María Schell 34.50     110.00     3,795.00
                                                                                          120.60              16,686.50
      Case:17-03283-LTS Doc#:19226-7 Filed:11/15/21 Entered:11/15/21 18:36:03                                   Desc:
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                                                  Marchand ICS Group
                  Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                            Professional Services for the Period from June 1 to June 30, 2021


Detail of Content and Material Development and Project Management
   Date            Staff                            Description                                Hours   Rate      Value ($)
                             Communication with the MICS and Bennazar teams in
 6/1/2021 Jorge Marchand preparation for the upcoming meeting                                  0.40    175.00        70.00

                             Communication with the MICS team about status, in
 6/1/2021   Jorge Marchand                                                                     0.30    175.00        52.50
                             preparation for the upcoming meeting.
 6/1/2021   María Schell     Work on content development: radio program script #57.            1.80    110.00       198.00
                             Work on content revisions and edits to the radio program script
 6/1/2021   Jorge Marchand                                                                     1.60    175.00       280.00
                             #57.
                             Communication with the MICS team, to discuss about the
 6/1/2021   Jorge Marchand                                                                     0.40    175.00        70.00
                             Google Ads campaign.
                             Communication                        to discuss details for the
 6/1/2021   Jorge Marchand                                                                     0.30    175.00        52.50
                             upcoming meeting on 6/3/2021.
                             Work on content revisions: FTI's presentation for the next COR
 6/1/2021   Jorge Marchand                                                                     0.40    175.00        70.00
                             members official meeting.
                             Communication with the professionals team, to discuss about
 6/1/2021   Jorge Marchand   the upcoming COR meeting agenda and agree to divide the           0.70    175.00       122.50
                             agenda in two separate meetings.
                             Work on media monitoring for news and articles related to the
 6/1/2021   María Schell                                                                       0.50    110.00        55.00
                             ORC.
                             Work on media monitoring for news and articles related to the
 6/1/2021   Ferdinand Díaz                                                                     0.60    125.00        75.00
                             ORC.
                             Communication with the COR members to share news and
 6/1/2021   Ferdinand Díaz                                                                     0.20    125.00        25.00
                             articles related to the COR.
 6/1/2021   María Schell     Work on content development: COR memo.                            1.50    110.00       165.00
 6/1/2021   María Schell     Work on content development: translation of PWPT to COR.          1.30    110.00       143.00

                             Communication with the local professionals team, and COR
 6/2/2021   Jorge Marchand   members Miguel Fabre and Carmen Núñez,                            0.90    175.00       157.50

                             Communication with the professionals team, to discuss about
 6/2/2021   Jorge Marchand                                                                     0.30    175.00        52.50
                             the next COR meeting.
                             Work on content development: agenda for the upcoming COR
 6/2/2021   Jorge Marchand                                                                     0.40    175.00        70.00
                             meeting
                             Work on content development: PWPT presentation for the
 6/2/2021   María Schell                                                                       1.20    110.00       132.00
                             upcoming COR meeting.
                             Communication with the local professionals team and COR
 6/2/2021   Jorge Marchand   members, to share the meeting agenda and documents for the        0.20    175.00        35.00
                             COR meeting
                             Work with the MICS and Plenitud Dorada teams, to discuss
 6/2/2021   Jorge Marchand                                                                     0.60    175.00       105.00
                             about the next COR ad to be published.
                             Communication with the professionals team,
 6/2/2021   Jorge Marchand                                                                     0.80    175.00       140.00
 6/2/2021   Jorge Marchand   Work on content development: radio program script.                1.40    175.00       245.00
                             Working session meeting with the MICS team, to discuss status
 6/2/2021   Jorge Marchand                                                                     2.00    175.00       350.00
                             and content development.
                             Working session meeting with the MICS team, to discuss status
 6/2/2021   María Schell                                                                       2.00    110.00       220.00
                             and content development.
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6/2/2021   María Schell     Media monitoring and sharing Re: COR related news               0.60   110.00        66.00
                            Work on content development: presentation
6/3/2021   Jorge Marchand                                                                   1.20   175.00       210.00

                            Work on pre production and recording of the radio program
6/3/2021   Jorge Marchand                                                                   1.50   175.00       262.50
                            #57.
                            Work on content development and revisions: translation of
6/3/2021   María Schell                                                                     2.10   110.00       231.00
                            PWPT for COR meeting.
6/3/2021   María Schell     Work on content research:            .                          0.50   110.00        55.00
                            Work on media monitoring for news and articles related to the
6/3/2021   María Schell                                                                     0.60   110.00        66.00
                            ORC.
                            Work on media monitoring for news and articles related to the
6/3/2021   Ferdinand Díaz                                                                   0.40   125.00        50.00
                            ORC.
                            Communication with the COR members to share news and
6/3/2021   Ferdinand Díaz                                                                   0.10   125.00        12.50
                            articles related to the COR.
                            Communication with the MICS and Bennazar teams, t
6/4/2021   Jorge Marchand                                                                   0.40   175.00        70.00

                            Work on research and analysis:
6/4/2021   Jorge Marchand                                                                   1.90   175.00       332.50

                            Work on media monitoring for news and articles related to the
6/4/2021   Jorge Marchand                                                                   0.70   175.00       122.50
                            ORC.
                            Work on media monitoring for news and articles related to the
6/4/2021   María Schell                                                                     0.50   110.00        55.00
                            ORC.
                            Communication with Lauren Smotkin from FTI team,
6/4/2021   Male Noguera                                                                     0.20    95.00        19.00

                            Communication with the MICS team,
6/5/2021   Jorge Marchand                                                                   0.40   175.00        70.00

                            Communication with the MICS team, t
6/5/2021   Jorge Marchand                                                                   0.20   175.00        35.00

6/5/2021   María Schell     Work on content development: translation of PWPT to COR.        4.00   110.00       440.00

                            Work on media monitoring for news and articles related to the
6/5/2021   María Schell                                                                     0.50   110.00        55.00
                            ORC.
                            Work on media monitoring for news and articles related to the
6/6/2021   María Schell                                                                     0.60   110.00        66.00
                            ORC.
6/6/2021   María Schell     Work on content development: radio program script #58.          3.80   110.00       418.00
                            Work on content development: translation of PWPT for the
6/6/2021   María Schell                                                                     3.20   110.00       352.00
                            COR meeting.
                            Communication with the MICS and Bennazar teams, to discuss
6/7/2021   Jorge Marchand                                                                   0.60   175.00       105.00
                            status.
                            Communication with COR members Miguel Fabre and Carmen
6/7/2021   Jorge Marchand                                                                   0.20   175.00        35.00
                            Núñez, to report on status.
                            Work on media monitoring for news and articles related to the
6/7/2021   Jorge Marchand                                                                   1.30   175.00       227.50
                            ORC.
                            Work on media monitoring for news and articles related to the
6/7/2021   María Schell                                                                     0.80   110.00        88.00
                            ORC.
                            Working session meeting with the MICS team, to discuss status
6/7/2021   Jorge Marchand                                                                   2.30   175.00       402.50
                            and content development.
                            Working session meeting with the MICS team, to discuss status
6/7/2021   María Schell                                                                     2.30   110.00       253.00
                            and content development.
6/7/2021   María Schell     Work on content development: radio program script #58.          5.00   110.00       550.00
                            Communication with the professionals team,
6/8/2021   Jorge Marchand                                                                   1.40   175.00       245.00
     Case:17-03283-LTS Doc#:19226-7 Filed:11/15/21 Entered:11/15/21 18:36:03                                Desc:
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                            Communication with the MICS and Bennazar teams, to discuss
6/8/2021   Jorge Marchand                                                                   0.50   175.00        87.50
                            about the meeting
                            Communication with the MICS team,
6/8/2021   Jorge Marchand                                                                   0.80   175.00       140.00

                            Work on media monitoring for news and articles related to the
6/8/2021   María Schell                                                                     0.70   110.00        77.00
                            ORC.
                            Work on content revisions and edits to finalize the radio
6/8/2021   Jorge Marchand                                                                   1.00   175.00       175.00
                            program script #58.
                            Work on content revisions and edits to finalize the radio
6/8/2021   María Schell                                                                     1.00   110.00       110.00
                            program script #58.
                            Work on content revisions and edits:
6/8/2021   Male Noguera                                                                     1.00    95.00        95.00

                            Work with the MICS team on content development:
6/9/2021   Jorge Marchand                                                                   1.30   175.00       227.50


                            Work with the MICS team on content development:
6/9/2021   María Schell                                                                     1.30   110.00       143.00

                            Work on media monitoring for news and articles related to the
6/9/2021   Jorge Marchand                                                                   1.40   175.00       245.00
                            ORC.
                            Work on media monitoring for news and articles related to the
6/9/2021   María Schell                                                                     1.20   110.00       132.00
                            ORC.
                            Communication with the professionals team,
6/9/2021   Jorge Marchand                                                                   0.70   175.00       122.50

                            Communication
6/9/2021   María Schell                                                                     0.50   110.00        55.00

                            Work on media monitoring for news and articles related to the
6/10/2021 Jorge Marchand                                                                    0.80   175.00       140.00
                            ORC.
                            Work on media monitoring for news and articles related to the
6/10/2021 María Schell                                                                      0.50   110.00        55.00
                            ORC.

                            Work on research and analysis
6/10/2021 Jorge Marchand                                                                    1.40   175.00       245.00

                            Work on content development:
6/10/2021 Jorge Marchand                                                                    0.90   175.00       157.50
                                       .
                            Work on content revisions and edits:
6/10/2021 Jorge Marchand                                                                    0.80   175.00       140.00
                                                       .
                            Work on content revisions and edits:
6/10/2021 Male Noguera                                                                      0.60    95.00        57.00
                                                       .
                            Communication with COR president Miguel Fabre,
6/10/2021 Jorge Marchand                                                                    0.30   175.00        52.50
                                                     .
                            Work on pre production and recording of the radio program
6/10/2021 Jorge Marchand                                                                    1.50   175.00       262.50
                            #58.
                            Communication with COR member Juan Ortíz,
6/11/2021 Jorge Marchand                                                                    0.80   175.00       140.00
                                                                          s.
                            Communication
6/11/2021 Jorge Marchand                                                                    0.50   175.00        87.50

                            Work on media monitoring for news and articles related to the
6/11/2021 María Schell                                                                      0.50   110.00        55.00
                            ORC.
                            Work on media monitoring for news and articles related to the
6/12/2021 María Schell                                                                      0.60   110.00        66.00
                            ORC.
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                           Work on content revisions and edits
6/12/2021 Male Noguera                                                                       0.50    95.00        47.50

                           Work on the artistic design
6/12/2021 Male Noguera                                                                       5.80    95.00       551.00
                                                  .
                           Work on media monitoring for news and articles related to the
6/13/2021 María Schell                                                                       0.50   110.00        55.00
                           ORC.
                           Communication
6/14/2021 Male Noguera                                                                       0.50    95.00        47.50
                                                                  ewspaper.
                           Communication with the professionals team
6/14/2021 Jorge Marchand                                                                     1.40   175.00       245.00

                           Work with the MICS team on content revisions:
6/14/2021 Jorge Marchand                                                                     1.80   175.00       315.00
                                                         .
                           Work with the MICS team on content revisions:
6/14/2021 María Schell                                                                       1.80   110.00       198.00

                           Work with the MICS team on content revisions:
6/14/2021 Jorge Marchand                                                                     2.10   175.00       367.50

                           Work with the MICS team on content revisions:
6/14/2021 María Schell                                                                       2.10   110.00       231.00

                           Communication with COR members Miguel Fabre and Carmen
6/14/2021 Jorge Marchand   Núñez,                                                            0.40   175.00        70.00

                           Work on content revisions
6/14/2021 Jorge Marchand                                                                     0.70   175.00       122.50

                           Work on content revisions
6/14/2021 María Schell                                                                       0.30   110.00        33.00

                           Work on media monitoring for news and articles related to the
6/14/2021 María Schell                                                                       0.50   110.00        55.00
                           ORC.
6/14/2021 María Schell     Work on content development: radio program script #59.            2.80   110.00       308.00
                           Work on content revisions and edits to the radio program script
6/15/2021 Jorge Marchand                                                                     0.50   175.00        87.50
                           #59.
                           Work on content revisions and edits to the radio program script
6/15/2021 María Schell                                                                       1.40   110.00       154.00
                           #59.
                           Work on content revisions and recommendations
6/15/2021 Jorge Marchand                                                                     1.60   175.00       280.00
                                                        .
                           Work on content revisions and recommendations
6/15/2021 María Schell                                                                       2.30   110.00       253.00

                           Communication
6/15/2021 Jorge Marchand                                                                     0.90   175.00       157.50

                           Communication with Ana Heeren from the FTI team,
6/15/2021 Jorge Marchand                                                                     0.80   175.00       140.00

                           Communication with the FOMB Communications team,
6/15/2021 Jorge Marchand                                                                     0.60   175.00       105.00
                                                                    .
                           Communication with the local professionals team,
6/15/2021 Jorge Marchand                                                                     0.90   175.00       157.50

                           Communication with the local professionals team,
6/15/2021 María Schell                                                                       0.30   110.00        33.00
                                                   .

6/15/2021 María Schell     Work on content development for the next radio program script.    0.70   110.00        77.00

                           Work on media monitoring for news and articles related to the
6/15/2021 María Schell                                                                       0.40   110.00        44.00
                           ORC.
6/15/2021 Male Noguera     Work on revisions and edits                                       0.60    95.00        57.00
                           Communication with the professionals team,
6/16/2021 Jorge Marchand                                                                     0.50   175.00        87.50
     Case:17-03283-LTS Doc#:19226-7 Filed:11/15/21 Entered:11/15/21 18:36:03                                 Desc:
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                           Communication with the ORC,
6/16/2021 Jorge Marchand                                                                     0.50   175.00        87.50
                                                                           .
                           Communication with the professionals team, to discuss about
6/16/2021 Jorge Marchand                                                                     1.00   175.00       175.00
                           the voting process.
                           Communication                                about the voting
6/16/2021 María Schell                                                                       0.40   110.00        44.00
                           timeline and important dates.
                           Communication with the MICS and Bennazar teams, to discuss
6/16/2021 Jorge Marchand   about questions and comments received through the ORC             0.80   175.00       140.00
                           digital platforms.
                           Communication with the FOMB Communications team, to
6/16/2021 Jorge Marchand                                                                     0.30   175.00        52.50
                           discuss about COR motions submitted.

6/16/2021 Jorge Marchand   Work on content revisions and edits for email drop material.      0.40   175.00        70.00

                           Work on media monitoring: clippings and radio program
6/16/2021 Jorge Marchand                                                                     0.80   175.00       140.00
                           segments recorded, with public discussion related to the COR.

                           Work on media monitoring for news and articles related to the
6/16/2021 María Schell                                                                       0.70   110.00        77.00
                           ORC.
                           Communication with the ORC members, to send a report of
6/16/2021 Jorge Marchand                                                                     0.20   175.00        35.00
                           news and articles related to the ORC.
                           Work session with the MICS team, to work on content
6/16/2021 Jorge Marchand                                                                     2.60   175.00       455.00
                           development and review documents                          .
                           Work session with the MICS team, to work on content
6/16/2021 María Schell                                                                       2.60   110.00       286.00
                           development and review documents
                           Work on translation of Robert Gordon's communication to COR
6/16/2021 María Schell                                                                       1.00   110.00       110.00
                           members.
6/16/2021 Male Noguera     Work on research for content development:                         0.50    95.00        47.50
                           Work on pre production and recording of the radio program
6/17/2021 Jorge Marchand                                                                     1.70   175.00       297.50
                           #59.
                           Work on content development for publication on the ORC
6/17/2021 Jorge Marchand                                                                     1.30   175.00       227.50
                           digital platforms.
                           Work on content revisions and approval for distribution through
6/17/2021 Jorge Marchand                                                                     0.60   175.00       105.00
                           email drop.

                           Communication with the MICS and Bennazar teams,
6/17/2021 Jorge Marchand                                                                     0.60   175.00       105.00
                                                                                 .

                           Work with the professionals team, to discuss about the
6/17/2021 Jorge Marchand                                                                     1.40   175.00       245.00
                           campaign and voting process.
                           Communication with the ORC, to discuss about the
6/17/2021 Jorge Marchand                                                                     0.40   175.00        70.00
                           communications team status.
                           Work on content development,
6/17/2021 Jorge Marchand                                                                     0.80   175.00       140.00
                                                                         .
                           Work on media monitoring for news and articles related to the
6/17/2021 Jorge Marchand                                                                     0.70   175.00       122.50
                           ORC.
                           Work on media monitoring for news and articles related to the
6/17/2021 María Schell                                                                       0.60   110.00        66.00
                           ORC.

6/17/2021 Jorge Marchand   Work on content development                                       1.30   175.00       227.50

                           Working session meeting with the MICS team, to discuss status
6/17/2021 Jorge Marchand   and content development                                           1.20   175.00       210.00

                           Working session meeting with the MICS team, to discuss status
6/17/2021 María Schell     and content development                                           1.20   110.00       132.00
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                           Work on media monitoring for news and articles related to the
6/18/2021 Jorge Marchand                                                                    0.80   175.00       140.00
                           ORC.
                           Work on media monitoring for news and articles related to the
6/18/2021 María Schell                                                                      0.80   110.00        88.00
                           ORC.
                           Communication with the ORC members, to send clippings and
6/18/2021 Jorge Marchand   radio program segments recorded, with public discussion          0.40   175.00        70.00
                           related to the COR.
6/18/2021 María Schell     Work on content development and edits:                           1.50   110.00       165.00
                           Work on media monitoring for news and articles related to the
6/19/2021 María Schell                                                                      0.60   110.00        66.00
                           ORC.
                           Work on media monitoring for news and articles related to the
6/20/2021 María Schell                                                                      0.50   110.00        55.00
                           ORC.
                           Communication with the professionals team,
6/21/2021 Jorge Marchand                                                                    1.60   175.00       280.00

                           Communication with the professionals team, to discuss about
6/21/2021 María Schell                                                                      0.30   110.00        33.00
                           the next COR meeting.
                           Communication
6/21/2021 Jorge Marchand                                                                    0.70   175.00       122.50
                                             .
                           Working session meeting with the MICS team, to discuss status
6/21/2021 Jorge Marchand                                                                    1.40   175.00       245.00
                           and content development.
                           Working session meeting with the MICS team, to discuss status
6/21/2021 Male Noguera                                                                      1.40    95.00       133.00
                           and content development.
                           Working session meeting with the MICS team, to discuss status
6/21/2021 María Schell                                                                      1.40   110.00       154.00
                           and content development.
                           Work on media monitoring for news and articles related to the
6/21/2021 María Schell                                                                      0.50   110.00        55.00
                           ORC.
6/21/2021 María Schell     Work on content development: radio program script #60.           2.20   110.00       242.00
                           Communication with the MICS team, to discuss and review
6/21/2021 Male Noguera                                                                      0.50    95.00        47.50

                           Communication with the professionals team,
6/21/2021 Male Noguera                                                                      0.20    95.00        19.00

                           Communication with COR members Miguel Fabre and Carmen
6/22/2021 Jorge Marchand   Núñez,                                                           0.40   175.00        70.00

                           Communication with the professionals team,
6/22/2021 Jorge Marchand                                                                    0.60   175.00       105.00
                                            .

6/22/2021 Jorge Marchand   Work on content development for the radio program script #61.    1.30   175.00       227.50
6/22/2021 María Schell     Work on content development: radio program script #60.           0.80   110.00        88.00
6/22/2021 Jorge Marchand   Work on content revisions: radio program script #60.             0.20   175.00        35.00
                           Work on media monitoring for news and articles related to the
6/22/2021 Jorge Marchand                                                                    0.40   175.00        70.00
                           ORC.
                           Work on media monitoring for news and articles related to the
6/22/2021 María Schell                                                                      0.40   110.00        44.00
                           ORC.
                           Communication with the local professionals team, to share news
6/22/2021 María Schell                                                                      0.10   110.00        11.00
                           and articles related to the COR.
6/22/2021 María Schell     Work on content development: next meeting material.              1.30   110.00       143.00
                           Communication with the professionals team, t
6/23/2021 Jorge Marchand                                                                    1.80   175.00       315.00

                           Communication
6/23/2021 Jorge Marchand                                                                    0.30   175.00        52.50
     Case:17-03283-LTS Doc#:19226-7 Filed:11/15/21 Entered:11/15/21 18:36:03                               Desc:
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                           Communication with COR members Miguel Fabre and Carmen
6/23/2021 Jorge Marchand   Núñez, to discuss about the upcoming meeting                    0.20   175.00        35.00

                           Work on pre production and recording of the radio program
6/23/2021 Jorge Marchand                                                                   1.50   175.00       262.50
                           #60.
6/23/2021 Jorge Marchand   Work on content development: communications strategy.           0.30   175.00        52.50
                           Work on media monitoring for news and articles related to the
6/23/2021 María Schell                                                                     0.50   110.00        55.00
                           ORC.
                           Prepare a summary of actions on Social Media and website
6/23/2021 Male Noguera                                                                     0.80    95.00        76.00

                           Follow up communication with the professionals team, t
6/24/2021 Jorge Marchand                                                                   0.10   175.00        17.50

                           Communication with the MICS                    to discuss
6/24/2021 Jorge Marchand                                                                   0.30   175.00        52.50
                           about status.
                           Work on content development: material for the meeting
6/24/2021 Jorge Marchand                                                                   1.50   175.00       262.50

                           Communication with the MICS and Bennazar teams,
6/24/2021 Jorge Marchand                                                                   0.30   175.00        52.50

                           Work on media monitoring for news and articles related to the
6/24/2021 Jorge Marchand                                                                   0.80   175.00       140.00
                           ORC.
                           Work on media monitoring for news and articles related to the
6/24/2021 María Schell                                                                     0.70   110.00        77.00
                           ORC.
                           Work on translation: Robert Gordon's communication to the
6/24/2021 María Schell                                                                     0.30   110.00        33.00
                           ORC.
6/24/2021 María Schell     Work on content development: communications plan.               2.30   110.00       253.00
                           Work on media monitoring for news and articles related to the
6/24/2021 Ferdinand Díaz                                                                   0.50   125.00        62.50
                           ORC.
                           Communication with the ORC members, to send news and
6/24/2021 Ferdinand Díaz                                                                   0.10   125.00        12.50
                           articles related to the ORC.
                           Work on media monitoring for news and articles related to the
6/25/2021 María Schell                                                                     0.40   110.00        44.00
                           ORC.
                           Communication with the ORC members, to send news and
6/25/2021 María Schell                                                                     0.10   110.00        11.00
                           articles related to the ORC.
                           Work on content development: for publication on the ORC
6/25/2021 María Schell                                                                     0.50   110.00        55.00
                           digital platforms.
                           Work on media monitoring for news and articles related to the
6/26/2021 María Schell                                                                     0.60   110.00        66.00
                           ORC.
                           Communication with the ORC members, to send news and
6/26/2021 María Schell                                                                     0.10   110.00        11.00
                           articles related to the ORC.
                           Communication with the professionals team,
6/27/2021 Jorge Marchand                                                                   0.30   175.00        52.50

                           Work on media monitoring for news and articles related to the
6/27/2021 María Schell                                                                     0.50   110.00        55.00
                           ORC.
                           Communication with the ORC members, to send news and
6/27/2021 María Schell                                                                     0.20   110.00        22.00
                           articles related to the ORC.
6/27/2021 María Schell     Work on content development: radio program script #61.          3.80   110.00       418.00
                           Work on content revisions:
6/28/2021 Jorge Marchand                                                                   1.40   175.00       245.00

                           Work on content revisions:
6/28/2021 María Schell                                                                     0.80   110.00        88.00

                           Communication with the professionals team, to discuss
6/28/2021 Jorge Marchand                                                                   0.80   175.00       140.00
                           communications strategies.
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                           Communication
6/28/2021 Jorge Marchand                                                                    0.70   175.00       122.50

                           Communication with the professionals team,
6/28/2021 Jorge Marchand                                                                    0.90   175.00       157.50
                                                                       .
                           Work on media monitoring for news and articles related to the
6/28/2021 María Schell                                                                      0.50   110.00        55.00
                           ORC.
                           Work on content development and revisions: radio program
6/28/2021 María Schell                                                                      1.70   110.00       187.00
                           script #61.
6/28/2021 María Schell     Work on content development: communications planning.            0.20   110.00        22.00
                           Communication with the professionals team, to discuss about
6/28/2021 Male Noguera                                                                      0.50    95.00        47.50
                           communications strategies and planning.
                           Work on content research: radio program script #60 to identify
6/28/2021 Male Noguera                                                                      0.30    95.00        28.50
                           possible topics for next email drops.
                           Work on content development:
6/28/2021 Male Noguera                                                                      1.30    95.00       123.50

                           Communication with the MICS team, to discuss about content
6/29/2021 Jorge Marchand                                                                    0.50   175.00        87.50
                           for email drop distribution.
                           Communication with the MICS team, to discuss about content
6/29/2021 María Schell                                                                      0.50   110.00        55.00
                           for email drop distribution.
                           Communication with COR president Miguel Fabre, to discuss
6/29/2021 Jorge Marchand                                                                    0.30   175.00        52.50
                           about the radio program script.
                           Work on content development and revisions: radio program
6/29/2021 Jorge Marchand                                                                    0.30   175.00        52.50
                           script #61.
                           Work on content development and revisions: radio program
6/29/2021 María Schell                                                                      0.30   110.00        33.00
                           script #61.
                           Communication with the professionals team,
6/29/2021 Jorge Marchand                                                                    0.80   175.00       140.00
                                                           .
                           Communication with the professionals team,
6/29/2021 Jorge Marchand                                                                    1.40   175.00       245.00

                           Communication with Francisco del Castillo from the Bennazar
6/29/2021 Jorge Marchand                                                                    0.20   175.00        35.00
                           team,

                           Communication with retirees,
6/29/2021 Jorge Marchand                                                                    0.40   175.00        70.00

                           Work on content development and edits:
6/29/2021 María Schell                                                                      2.60   110.00       286.00

                           Work on media monitoring for news and articles related to the
6/29/2021 Jorge Marchand                                                                    0.30   175.00        52.50
                           ORC.

6/29/2021 María Schell     Work on translation:                                        .    3.10   110.00       341.00

                           Work on media monitoring for news and articles related to the
6/29/2021 María Schell                                                                      0.50   110.00        55.00
                           ORC.
                           Work on content revisions and edits:
6/29/2021 Male Noguera                                                                      0.40    95.00        38.00

                           Work on content revisions and edits:
6/29/2021 Male Noguera                                                                      0.40    95.00        38.00

                           Communication with the MICS team to discuss about the
                           Website, Social Media and Digital tasks
6/29/2021 Male Noguera                                                                      0.90    95.00        85.50


                           Communication with the COR members, to send the FOMB
6/30/2021 Jorge Marchand                                                                    0.30   175.00        52.50
                           letter on Act 7.
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                           Communication with the professionals team,
6/30/2021 Jorge Marchand                                                                    0.80    175.00       140.00

                           Communication with the professionals team, to discuss about
6/30/2021 Jorge Marchand                                                                    1.30    175.00       227.50
                           the communications plan
                           Work on content revisions:
6/30/2021 María Schell                                                                      0.80    110.00        88.00

                           Work on final revisions to communication pieces f
6/30/2021 Jorge Marchand                                                                    0.40    175.00        70.00

                           Work on pre production and recording of the radio program
6/30/2021 Jorge Marchand                                                                    1.60    175.00       280.00
                           #61.

6/30/2021 María Schell     Work on content development:                 presentation.       1.50    110.00       165.00

                           Work on media monitoring for news and articles related to the
6/30/2021 María Schell                                                                      0.50    110.00        55.00
                           ORC.
                           Communication with the ORC members, to send news and
6/30/2021 María Schell                                                                      0.20    110.00        22.00
                           articles related to the ORC.

6/30/2021 María Schell     Work on translation:                                      er.    2.40    110.00       264.00

                           Work on content development: to define the Website, Social
6/30/2021 Male Noguera     Media and Digital tasks                                          1.40     95.00       133.00

                                                                                           206.30              28,428.00




                                                                           Fee Summary: Hours       Rate      Value ($)
                                                                           Ferdinand Díaz   1.90    125.00       237.50
                                                                          Jorge Marchand 91.90      175.00    16,082.50
                                                                            Male Noguera 17.80       95.00     1,691.00
                                                                             María Schell 94.70     110.00    10,417.00
                                                                                          206.30              28,428.00
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                                                   Marchand ICS Group
                   Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                             Professional Services for the Period from June 1 to June 30, 2021


Detail of Content and Material Development for the Media Platforms and Media Management
   Date            Staff                               Description                            Hours   Rate      Value ($)
 6/1/2021 Male Noguera       Facebook page conversation management and monitoring.             0.90    95.00        85.50
                             Check COR's email and webpage to manage questions and
 6/1/2021 Male Noguera                                                                         0.20   95.00         19.00
                             comments received.
 6/1/2021 Male Noguera       Facebook page posting.                                            0.20   95.00         19.00
                             Facebook promotion: audience selection, budget and timing
 6/1/2021 Male Noguera                                                                         0.20   95.00         19.00
                             duration.
 6/1/2021 Male Noguera       LinkedIn posting and monitoring.                                  0.30   95.00         28.50
 6/1/2021 Male Noguera       Assign promotion budget to LinkedIn post.                         0.20   95.00         19.00
                             Evaluate Social Media, webpage and Google ads metrics to
 6/1/2021 Male Noguera       identify performance based on traffic directed and registrations  1.30   95.00        123.50
                             to the COR webpage.
                             Evaluate requirements and alternatives to create a Linkedin Ad
 6/1/2021 Male Noguera                                                                         0.30   95.00         28.50
                             campaign to generate follows.
 6/2/2021 Male Noguera       Facebook page conversation management and monitoring.             0.80   95.00         76.00
                             Check COR's email and webpage to manage questions and
 6/2/2021 Male Noguera                                                                         0.30   95.00         28.50
                             comments received.
 6/3/2021 Male Noguera       Facebook page conversation management and monitoring.             1.10   95.00        104.50
 6/4/2021 Male Noguera       Facebook page conversation management and monitoring.             0.20   95.00         19.00
 6/4/2021 Male Noguera       Summary of weekly conversation on Facebook and email.             1.00   95.00         95.00

                              Monitor conversation on digital media
 6/4/2021   Male Noguera                                                                      0.60    95.00         57.00

                             LinkedIn page conversation management and monitoring (ad
 6/4/2021   Male Noguera                                                                      0.30    95.00         28.50
                             and profile)
 6/5/2021   Male Noguera     Facebook page conversation management and monitoring.            0.30    95.00         28.50
 6/6/2021   Male Noguera     Facebook page conversation management and monitoring.            1.20    95.00        114.00
 6/7/2021   Male Noguera     Facebook page conversation management and monitoring.            0.80    95.00         76.00
                             Monitor conversation on digital media
 6/7/2021   Male Noguera                                                                      0.30    95.00         28.50

                              Write, design and schedule email drop
 6/7/2021   Male Noguera                                                                      0.60    95.00         57.00


                              Write and design opening header on webpage
 6/7/2021   Male Noguera                                                                      0.50    95.00         47.50

 6/8/2021   Male Noguera     Facebook page conversation management and monitoring.            0.70    95.00         66.50
                             Check COR's email and webpage to manage questions and
 6/8/2021   Male Noguera                                                                      0.40    95.00         38.00
                             comments received.
 6/8/2021   Male Noguera     Evaluate May Google Ads report sent by the FTI team.             0.40    95.00         38.00
 6/9/2021   Male Noguera     Facebook page conversation management and monitoring.            0.90    95.00         85.50
                             Evaluate recent conversation on Social Media and email
 6/9/2021   Male Noguera                                                                      1.20    95.00        114.00

                              Check COR's message form on webpage and manage questions
 6/9/2021   Male Noguera                                                                      0.40    95.00         38.00
                              and comments received.
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                           Monitor conversation on digital media
6/9/2021    Male Noguera                                                                     0.40   95.00       38.00

6/10/2021 Male Noguera     Facebook page conversation management and monitoring.             0.80   95.00       76.00
                           Provide a summary of the questions received
6/10/2021 Male Noguera                                                                       0.50   95.00       47.50

                           Check COR's email and webpage to manage questions and
6/10/2021 Male Noguera                                                                       0.30   95.00       28.50
                           comments received.
6/11/2021 Male Noguera     Facebook page conversation management and monitoring.             1.00   95.00       95.00
6/11/2021 Male Noguera     Revise video post before publishing to Facebook.                  0.40   95.00       38.00
                           Facebook video posting (error in Facebook platform /
6/11/2021 Male Noguera                                                                       0.80   95.00       76.00
                           troubleshooting time included).
                           Facebook video post promotion: audience selection, timing and
6/11/2021 Male Noguera                                                                       0.20   95.00       19.00
                           budget.
                           Check COR's message form on webpage and manage questions
6/11/2021 Male Noguera                                                                       0.30   95.00       28.50
                           and comments received.
                           Create second LinkedIn Ad: text, image, budget, duration,
6/11/2021 Male Noguera                                                                       0.60   95.00       57.00
                           audience creation.
6/11/2021   Male Noguera   Upload radio show #58 to webpage.                                 0.40   95.00       38.00
6/11/2021   Male Noguera   Send radio show #58 to COR members                                0.20   95.00       19.00
6/12/2021   Male Noguera   Facebook page conversation management and monitoring.             0.50   95.00       47.50
6/13/2021   Male Noguera   Facebook page conversation management and monitoring.             0.30   95.00       28.50
6/14/2021   Male Noguera   Facebook page conversation management and monitoring.             1.00   95.00       95.00
                           Check COR's email and webpage to manage questions and
6/14/2021 Male Noguera                                                                       0.50   95.00       47.50
                           comments received.
                           Monitor conversation on digital media
6/14/2021 Male Noguera                                                                       0.60   95.00       57.00
6/14/2021 Male Noguera     LinkedIn page monitoring.                                         0.40   95.00       38.00
                           Generate new QR code to include on the design of the insert and
6/14/2021 Male Noguera                                                                       0.40   95.00       38.00
                           flyer.
6/14/2021   Male Noguera   Design and schedule email drop to send to retirees.               0.60   95.00       57.00
6/15/2021   Male Noguera   Facebook page conversation management and monitoring.             0.70   95.00       66.50
6/15/2021   Male Noguera   Facebook page posting.                                            1.00   95.00       95.00
6/16/2021   Male Noguera   Facebook page conversation management and monitoring.             0.80   95.00       76.00
                           Design email drop:
6/16/2021 Male Noguera                                                                       0.30   95.00       28.50

6/16/2021 Male Noguera     Upload two legal motions to website.                              0.50   95.00       47.50
6/16/2021 Male Noguera     Summary of conversation under post                          .     0.40   95.00       38.00
6/17/2021 Male Noguera     Facebook page conversation management and monitoring.             0.70   95.00       66.50
6/17/2021 Male Noguera     Father's Day Facebook post creation: image, text, design.         0.50   95.00       47.50

                           Search for stock image to be use on note about the two motions
6/17/2021 Male Noguera                                                                       0.20   95.00       19.00
                           submitted by the COR                               .

6/17/2021 Male Noguera     Upload radio show #59 to webpage and write summary text.          0.50   95.00       47.50

                           Upload new note text and image to webpage:
6/17/2021 Male Noguera                                                                       0.60   95.00       57.00
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                           Design and send email drop:
6/17/2021 Male Noguera                                                                       0.50   95.00        47.50
                                                                     .
                           Facebook posting:
6/17/2021 Male Noguera                                                                       0.30   95.00        28.50

                           Facebook post promotion: audience selection, timing and
6/17/2021 Male Noguera                                                                       0.20   95.00        19.00
                           budget.
6/18/2021 Male Noguera     Facebook page conversation management and monitoring.             0.60   95.00        57.00
6/18/2021 Male Noguera     LinkedIn page posting and monitoring.                             0.60   95.00        57.00
                           Check COR's email and webpage to manage questions and
6/18/2021 Male Noguera                                                                       0.50   95.00        47.50
                           comments received.
6/18/2021   Male Noguera   Prepare weekly conversation summary.                              1.00   95.00        95.00
6/19/2021   Male Noguera   Facebook page conversation management and monitoring.             0.70   95.00        66.50
6/20/2021   Male Noguera   Facebook page conversation management and monitoring.             0.60   95.00        57.00
6/20/2021   Male Noguera   Facebook page posting: Father's Day.                              0.30   95.00        28.50
6/21/2021   Male Noguera   Facebook page conversation management and monitoring.             0.40   95.00        38.00
                           Check COR's message form on webpage and manage questions
6/21/2021 Male Noguera                                                                       0.60   95.00        57.00
                           and comments received.
                           Monitor conversation on digital media
6/21/2021 Male Noguera                                                                       0.60   95.00        57.00
                                                                               .
6/21/2021 Male Noguera     LinkedIn page monitoring.                                         0.40   95.00        38.00
6/21/2021 Male Noguera     Revise and download new video post to publish in Facebook.        0.30   95.00        28.50
6/21/2021 Male Noguera     Facebook video posting.                                           0.40   95.00        38.00
                           Facebook video post promotion: audience selection, timing and
6/21/2021 Male Noguera                                                                       0.20   95.00        19.00
                           budget.
                           Create posts to announce radio show pause during July: text and
6/21/2021 Male Noguera                                                                       1.90   95.00       180.50
                           design.
                           Write, design and send email drop
6/22/2021 Male Noguera                                                                       0.80   95.00        76.00

                           Prepare a conversation summary
6/22/2021 Male Noguera                                                                       0.40   95.00        38.00

                           Monitor conversation on digital media
6/22/2021 Male Noguera                                                                       0.60   95.00        57.00
6/23/2021 Male Noguera     Facebook page conversation management and monitoring.             0.80   95.00        76.00
                           Check COR's message form on webpage and manage questions
6/23/2021 Male Noguera                                                                       0.30   95.00        28.50
                           and comments received.
                           Facebook page posts posting and scheduling to announce next
6/23/2021 Male Noguera                                                                       0.60   95.00        57.00
                           radio shows and recordings on web page.
                           Facebook post promotion: audience selection, timing and
6/23/2021 Male Noguera                                                                       0.20   95.00        19.00
                           budget.
                           Write note for publication


6/23/2021 Male Noguera                                                                       0.50   95.00        47.50


                                             .
                           Search for stock image to publish with note:
6/23/2021 Male Noguera                                                                       0.20   95.00        19.00
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                           Upload note to webpage:
6/23/2021 Male Noguera                                                                       0.40     95.00        38.00


                           Design and schedule email drop to be sent to retirees:
6/23/2021 Male Noguera                                                                       0.40     95.00        38.00


6/24/2021 Male Noguera     Facebook page conversation management and monitoring.             0.60     95.00        57.00
                           Facebook posting:
6/24/2021 Male Noguera                                                                       0.20     95.00        19.00

                           Facebook post promotion: audience selection, timing and
6/24/2021 Male Noguera                                                                       0.20     95.00        19.00
                           budget.
                           Check COR's message form on webpage and manage questions
6/24/2021 Male Noguera                                                                       0.80     95.00        76.00
                           and comments received.
                           Monitor conversation on digital media using Mentionlytics to
6/24/2021 Male Noguera                                                                       0.40     95.00        38.00
                           identify comments about the COR and other mentions.
6/24/2021 Male Noguera     LinkedIn page monitoring.                                         0.30     95.00        28.50
6/25/2021 Male Noguera     Facebook page conversation management and monitoring.             3.20     95.00       304.00
                           Check COR's message form on webpage and manage questions
6/25/2021 Male Noguera                                                                       0.50     95.00        47.50
                           and comments received.
6/25/2021   Male Noguera   Prepare the weekly conversation report.                           1.20     95.00       114.00
6/26/2021   Male Noguera   Facebook page conversation management and monitoring.             0.50     95.00        47.50
6/27/2021   Male Noguera   Facebook page conversation management and monitoring.             1.80     95.00       171.00
6/28/2021   Male Noguera   Facebook page conversation management and monitoring.             0.90     95.00        85.50
6/28/2021   Male Noguera   Upload radio show #60 to website.                                 0.40     95.00        38.00
6/28/2021 Male Noguera     Compress and send radio show #60 to COR members via email.        0.20     95.00        19.00
6/28/2021 Male Noguera     LinkedIn page monitoring.                                         0.40     95.00        38.00
6/29/2021 Male Noguera     Facebook page conversation management and monitoring.             0.90     95.00        85.50
                           Monitor conversation on digital media
6/29/2021 Male Noguera                                                                       0.50     95.00        47.50

                           Evaluate results on registration Facebook Ads campaign
6/29/2021 Male Noguera     (Testing: specific audiences versus general audience              0.40     95.00        38.00
                           performance).
                           Duplicate registration and calculator Facebook Ads campaigns
6/29/2021 Male Noguera     with an amplified audience to measure results and performance     0.60     95.00        57.00
                           (comparing to a more specific audience).

                           Write, design and send email drop to retirees registered:
6/29/2021 Male Noguera                                                                       0.80     95.00        76.00
                                                                                  "

6/30/2021 Male Noguera     Facebook page conversation management and monitoring.             0.60     95.00        57.00
6/30/2021 Male Noguera     LinkedIn page monitoring.                                         0.30     95.00        28.50
                                                                                             63.00              5,985.00




                                                                             Fee Summary: Hours      Rate      Value ($)
                                                                             Ferdinand Díaz   -      125.00           -
                                                                            Jorge Marchand    -      175.00           -
                                                                              Male Noguera 63.00      95.00     5,985.00
                                                                               María Schell   -      110.00           -
                                                                                            63.00               5,985.00
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                                                Marchand ICS Group
                  Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC)
                       Summary of Marchand ICS Group Hours Worked and Fees Incurred
                                             From July 1 to July 31, 2021



                                    Project                  Media
                                               Project                                    Hourly
   Name of                         Calls and            Development and       Total                 Total Value
                       Title                 Management                                Billing Rate
  Professional                     Meetings              Management           Hours                     ($)
                                               Hours                                        ($)
                                    Hours                    Hours

Ferdinand Diaz   Project Manager        -           0.60                -       0.60   $   125.00         75.00
Jorge Marchand   Principal            40.90        71.20                -     112.10   $   175.00     19,617.50
Male Noguera     Media Manager        21.90        22.70              57.70   102.30   $    95.00      9,718.50
María Schell     Business Editor      25.30        71.10                -      96.40   $   110.00     10,604.00
                                      88.10       165.60              57.70   311.40                  40,015.00
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                                                   Marchand ICS Group
                   Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                              Professional Services for the Period from July 1 to July 31, 2021


Detail of Conference Calls and Project Meetings
   Date           Staff                                Description                              Hours   Rate      Value ($)
                              Conference call with the MICS team, to discuss about
 7/1/2021 Jorge Marchand                                                                        0.60    175.00       105.00
                              communication strategies for the voting campaign.
                              Conference call with the MICS team, to discuss about
 7/1/2021 Male Noguera                                                                          0.60     95.00        57.00
                              communication strategies for the voting campaign.
                              Conference call with the MICS team, to discuss about
 7/1/2021 María Schell                                                                          0.60    110.00        66.00
                              communication strategies for the voting campaign.
                              Working session meeting with the MICS team to review the
 7/1/2021 Jorge Marchand                                                                        0.80    175.00       140.00
                              voting materials.
                              Working session meeting with the MICS team to review the
 7/1/2021 Male Noguera                                                                          0.80     95.00        76.00
                              voting materials.
                              Working session meeting with the MICS team to review the
 7/1/2021 María Schell                                                                          0.80    110.00        88.00
                              voting materials.
                              Meeting with the Prime Clerk team, to discuss about the
 7/1/2021 Jorge Marchand                                                                        1.00    175.00       175.00
                              pensioners voting process.
                              Meeting with the Prime Clerk team, to discuss about the
 7/1/2021 Male Noguera                                                                          1.00     95.00        95.00
                              pensioners voting process.

                              Conference call with the GSG and LinkActiv teams, to discuss
 7/1/2021   Jorge Marchand                                                                      0.70    175.00       122.50
                              about the proposals for the COR information/call center.

                              Conference call with the MICS team, to review the final support
 7/2/2021   Jorge Marchand                                                                      0.40    175.00        70.00
                              documents for the voting process.
                              Conference call with the MICS team, to review the final support
 7/2/2021   Male Noguera                                                                        0.40     95.00        38.00
                              documents for the voting process.
                              Conference call with the MICS team, to review the final support
 7/2/2021   María Schell                                                                        0.40    110.00        44.00
                              documents for the voting process.
                              Conference call with the MICS team to discuss about content
 7/6/2021   Jorge Marchand                                                                      0.20    175.00        35.00
                              for publication on the ORC digital platforms.
                              Conference call with the MICS team to discuss about content
 7/6/2021   María Schell                                                                        0.20    110.00        22.00
                              for publication on the ORC digital platforms.
                              Conference call with the MICS team, to discuss
 7/6/2021   Jorge Marchand                                                                      0.90    175.00       157.50
                              communications strategies and status.
                              Conference call with the MICS team, to discuss
 7/6/2021   Male Noguera                                                                        0.90     95.00        85.50
                              communications strategies and status.
                              Conference call with the MICS team, to discuss
 7/6/2021   María Schell                                                                        0.90    110.00        99.00
                              communications strategies and status.
                              Meeting with Gilberto Guasp,
 7/6/2021   Jorge Marchand                                                                      0.50    175.00        87.50
                              for the voting campaign.
                              Conference call with COR President Miguel Fabre,
 7/6/2021   Jorge Marchand                                                                      0.90    175.00       157.50

 7/6/2021   Jorge Marchand    Professionals team conference call/meeting: weekly status.        1.50    175.00       262.50

 7/6/2021   María Schell      Professionals team conference call/meeting: weekly status.        1.50    110.00       165.00

                              Conference call with the MICS team,
 7/7/2021   Jorge Marchand                                                                      0.20    175.00        35.00

                              Conference call with the MICS team,
 7/7/2021   María Schell                                                                        0.20    110.00        22.00
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                            Conference call with the MICS team, to discuss about status and
7/7/2021   Jorge Marchand                                                                     1.00   175.00       175.00
                            communications strategies for the voting campaign.

                            Conference call with the MICS team, to discuss about status and
7/7/2021   Male Noguera                                                                       1.00    95.00        95.00
                            communications strategies for the voting campaign.

                            Conference call with the MICS team, to discuss about status and
7/7/2021   María Schell                                                                       1.00   110.00       110.00
                            communications strategies for the voting campaign.

                            Conference call with the MICS and Bennazar teams,
7/7/2021   Jorge Marchand                                                                     0.30   175.00        52.50

                            Conference call with the MICS and Bennazar teams,
7/7/2021   María Schell                                                                       0.30   110.00        33.00

                            Conference call with Francisco del Castillo from the Bennazar
7/7/2021   María Schell                                                                       0.40   110.00        44.00
                            team, to discuss about the translation of the voting materials.

                            Meeting with the MICS and Arco teams, to discuss
7/7/2021   Jorge Marchand                                                                     0.60   175.00       105.00
                                                            the voting campaign.
                            Meeting with the MICS and Arco teams, to discuss
7/7/2021   Male Noguera                                                                       0.60    95.00        57.00
                                                            the voting campaign.
7/7/2021   Jorge Marchand   Participate in the COR official meeting.                          2.00   175.00       350.00
7/7/2021   Male Noguera     Participate in the COR official meeting.                          2.00    95.00       190.00
7/7/2021   María Schell     Participate in the COR official meeting.                          2.00   110.00       220.00
                            Conference call with the MICS team,
7/8/2021   Jorge Marchand                                                                     0.50   175.00        87.50

                            Conference call with the MICS team,
7/8/2021   Male Noguera                                                                       0.50    95.00        47.50
                                                           .
                            Conference call with the Arco Publicidad team,
7/8/2021   Male Noguera                                                                       0.40    95.00        38.00

                            Conference call with the FTI digital team, to discuss about
7/8/2021   Male Noguera                                                                       0.90    95.00        85.50
                            communications strategies.
                            Conference call with reporter
7/9/2021   Jorge Marchand                                                                     0.30   175.00        52.50

                            Conference call with the MICS and Bennazar teams, to discuss
7/9/2021   Jorge Marchand                                                                     0.60   175.00       105.00
                            about communications strategies and status.
                            Conference call with the MICS and Bennazar teams, to discuss
7/9/2021   María Schell                                                                       0.60   110.00        66.00
                            about communications strategies and status.

                            Conference call with COR member Blanca Paniagua,
7/9/2021   Jorge Marchand                                                                     0.50   175.00        87.50

                            Conference call with COR member Carmen Núñez, to discuss
7/9/2021   Jorge Marchand                                                                     0.90   175.00       157.50
                            status.
                            Conference call with COR Vice President Carmen Núñez, to
7/12/2021 Jorge Marchand    discuss about status and the upcoming voting campaign             0.40   175.00        70.00
                            presentation.

                            Conference call with                journalist
7/12/2021 Jorge Marchand                                                                      0.50   175.00        87.50


7/12/2021 Jorge Marchand    Professionals team conference call/meeting: weekly status.        1.00   175.00       175.00

7/12/2021 María Schell      Professionals team conference call/meeting: weekly status.        1.00   110.00       110.00
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                           Conference call with Francisco del Castillo from the Bennazar
7/13/2021 Jorge Marchand                                                                     0.20   175.00        35.00
                           team,

                           Conference call with the voting campaign team, to discuss about
7/13/2021 Jorge Marchand                                                                     1.00   175.00       175.00
                           the strategic plan.
                           Conference call with the voting campaign team, to discuss about
7/13/2021 Male Noguera                                                                       1.00    95.00        95.00
                           the strategic plan.
                           Conference call with the voting campaign team, to discuss about
7/13/2021 María Schell                                                                       1.00   110.00       110.00
                           the strategic plan.

                           Meeting with Tomas Pérez from GSG
7/14/2021 Male Noguera                                                                       0.40    95.00        38.00

                           Conference call with the MICS team to discuss status and
7/14/2021 Jorge Marchand                                                                     0.50   175.00        87.50
                           communication strategies.
                           Conference call with the MICS team to discuss status and
7/14/2021 Male Noguera                                                                       0.50    95.00        47.50
                           communication strategies.

                           Conference call with the MICS and Bennazar teams, to discuss
7/14/2021 Jorge Marchand   about communications strategies and the agenda for the            0.90   175.00       157.50
                           upcoming COR communications subcommittee meeting.

                           Conference call with the MICS and Bennazar teams, to discuss
7/14/2021 María Schell     about communications strategies and the agenda for the            0.90   110.00        99.00
                           upcoming COR communications subcommittee meeting.

                           Meeting with Justin Lapatine from the GSG team, and the
7/14/2021 Jorge Marchand                                                                     1.40   175.00       245.00
                           LinkActiv team,

                           Conference call with Francisco del Castillo from the Bennazar
7/15/2021 Jorge Marchand                                                                     0.50   175.00        87.50
                           team, to discuss about the FOMB communications teams status.

                           Conference call with COR president Miguel Fabre, to discuss
7/16/2021 Jorge Marchand                                                                     0.50   175.00        87.50
                           about the voting campaign plan.
                           Conference call with COR vice president Carmen Núñez, to
7/16/2021 Jorge Marchand                                                                     0.80   175.00       140.00
                           discuss about the voting campaign plan.
                           Meeting with the ORC communications subcommittee, to
7/16/2021 Jorge Marchand                                                                     2.00   175.00       350.00
                           present the voting campaign plan.
                           Meeting with the ORC communications subcommittee, to
7/16/2021 Male Noguera                                                                       2.00    95.00       190.00
                           present the voting campaign plan.
                           Meeting with the ORC communications subcommittee, to
7/16/2021 María Schell                                                                       2.00   110.00       220.00
                           present the voting campaign plan.
                           Conference call with the MICS team, to discuss about the voting
7/19/2021 Jorge Marchand                                                                     0.30   175.00        52.50
                           campaign communication strategies.
                           Conference call with the MICS team, to discuss about the voting
7/19/2021 María Schell                                                                       0.30   110.00        33.00
                           campaign communication strategies.
                           Conference call with the MICS team to discuss about the
7/19/2021 Jorge Marchand                                                                     0.30   175.00        52.50
                           updated calculator statistics and metrics.
                           Conference call with the MICS team to discuss about the
7/19/2021 Male Noguera                                                                       0.30    95.00        28.50
                           updated calculator statistics and metrics.
                           Conference call with Robert Gordon, to discuss about next steps
7/19/2021 Jorge Marchand                                                                     0.40   175.00        70.00
                           on the voting campaign plan.

7/19/2021 Jorge Marchand   Professionals team conference call/meeting: weekly status.        1.00   175.00       175.00

7/19/2021 María Schell     Professionals team conference call/meeting: weekly status.        1.00   110.00       110.00
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                           Meeting with the professionals team to discuss about the voting
7/20/2021 Jorge Marchand                                                                     0.80   175.00       140.00
                           process and materials.
                           Meeting with the professionals team to discuss about the voting
7/20/2021 María Schell                                                                       0.80   110.00        88.00
                           process and materials.
                           Conference call with the voting strategy team, to discuss about
7/20/2021 María Schell                                                                       0.70   110.00        77.00
                           the campaign and status.
                           Conference call with the voting strategy team, to discuss about
7/20/2021 Jorge Marchand                                                                     0.70   175.00       122.50
                           the campaign and status.
                           Working session meeting with the MICS team, to discuss status
7/20/2021 Jorge Marchand                                                                     1.70   175.00       297.50
                           and content development.
                           Working session meeting with the MICS team, to discuss status
7/20/2021 Male Noguera                                                                       1.70    95.00       161.50
                           and content development.
                           Working session meeting with the MICS team, to discuss status
7/20/2021 María Schell                                                                       1.70   110.00       187.00
                           and content development.

                           Conference call with the MICS team, to discuss about questions
7/21/2021 Jorge Marchand                                                                     0.80   175.00       140.00
                           and comments received through the ORC digital platforms.

                           Conference call with the MICS team, to discuss about questions
7/21/2021 Male Noguera                                                                       0.80    95.00        76.00
                           and comments received through the ORC digital platforms.

                           Work session meeting with the MICS team, to discuss about
7/22/2021 Jorge Marchand   content development and communication strategies for the          0.90   175.00       157.50
                           voting campaign.
                           Work session meeting with the MICS team, to discuss about
7/22/2021 Male Noguera     content development and communication strategies for the          0.90    95.00        85.50
                           voting campaign.
                           Work session meeting with the MICS team, to discuss about
7/22/2021 María Schell     content development and communication strategies for the          0.90   110.00        99.00
                           voting campaign.
                           Conference call with COR Vice President Carmen Núñez, to
7/21/2021 Jorge Marchand   discuss about the next meeting with the communications            0.50   175.00        87.50
                           subcommittee.
                           Conference call with the MICS and Bennazar teams, to discuss
7/22/2021 Jorge Marchand                                                                     0.60   175.00       105.00
                           about the radio program #62.
                           Conference call with the MICS and Bennazar teams, to discuss
7/22/2021 Male Noguera                                                                       0.60    95.00        57.00
                           about the radio program #62.
                           Conference call with the MICS and Bennazar teams, to discuss
7/22/2021 María Schell                                                                       0.60   110.00        66.00
                           about the radio program #62.
                           Call with the MICS team to discuss status and pending
7/22/2021 Jorge Marchand                                                                     0.50   175.00        87.50
                           questions received on the ORC Facebook account.
                           Call with the MICS team to discuss status and pending
7/22/2021 Male Noguera                                                                       0.50    95.00        47.50
                           questions received on the ORC Facebook account.
                           Call with the MICS team to discuss status and pending
7/22/2021 María Schell                                                                       0.50   110.00        55.00
                           questions received on the ORC Facebook account.
                           Conference call with the MICS team, to discuss about the vote
7/22/2021 Male Noguera                                                                       0.30    95.00        28.50
                           campaign

                           Conference call with Julizzette Colón, new MICS team member,
7/23/2021 Male Noguera                                                                       0.90    95.00        85.50
                           who will assist in the management of the ORC digital platforms.

                           Conference call with Pedro Adrover from the NotiUno team, to
7/23/2021 Jorge Marchand                                                                     0.50   175.00        87.50
                           discuss about the new radio program recordings schedule.

                           Conference call with the MICS team to analyze the updated
7/26/2021 Jorge Marchand                                                                     0.20   175.00        35.00
                           calculator metrics.
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                           Conference call with the MICS team to analyze the updated
7/26/2021 Male Noguera                                                                       0.20     95.00        19.00
                           calculator metrics.
                           Conference call with COR member Juan Ortiz, to discuss about
7/27/2021 Jorge Marchand                                                                     0.40    175.00        70.00
                           his participation recording the radio program #62.
                           Conference call with the local professionals team,
7/27/2021 Jorge Marchand                                                                     0.50    175.00        87.50

                           Conference call with the local professionals team, t
7/27/2021 María Schell                                                                       0.50    110.00        55.00

                           Conference call with COR president Miguel Fabre,
7/27/2021 Jorge Marchand                                                                     0.80    175.00       140.00
                                                  .
                           Conference call with COR Vice President Carmen Núñez, to
7/27/2021 Jorge Marchand                                                                     0.90    175.00       157.50
                           discuss about the status of the voting campaign planning.

7/27/2021 Jorge Marchand   Professionals team conference call/meeting: weekly status.        1.00    175.00       175.00

7/27/2021 María Schell     Professionals team conference call/meeting: weekly status.        1.00    110.00       110.00

                           Meeting with the MICS and Arco teams, to discuss about
7/28/2021 Jorge Marchand                                                                     0.70    175.00       122.50
                           communication strategies for the voting campaign.
                           Meeting with the MICS and Arco teams, to discuss about
7/28/2021 Male Noguera                                                                       0.70     95.00        66.50
                           communication strategies for the voting campaign.
                           Conference call with the MICS team, to discuss about the
7/28/2021 Jorge Marchand                                                                     0.30    175.00        52.50
                           calculator tool tests and revisions.
                           Conference call with the MICS team, to discuss about the
7/28/2021 Male Noguera                                                                       0.30     95.00        28.50
                           calculator tool tests and revisions.
                           Conference call with the MICS team, to discuss about the
7/28/2021 María Schell                                                                       0.30    110.00        33.00
                           calculator tool tests and revisions.
7/29/2021 Jorge Marchand   Conference call with the MICS team, to discuss status.            0.30    175.00        52.50
7/29/2021 Male Noguera     Conference call with the MICS team, to discuss status.            0.30     95.00        28.50
7/29/2021 María Schell     Conference call with the MICS team, to discuss status.            0.30    110.00        33.00
                           Conference call with the MICS team to discuss about the
7/29/2021 Male Noguera                                                                       0.20     95.00        19.00
                           campaign plan
                           Conference call with the MICS team to discuss about the
7/29/2021 María Schell                                                                       0.20    110.00        22.00
                           campaign plan
                           Work session meeting with the MICS team, to revise the
7/29/2021 Jorge Marchand   campaign plan                            in preparation for the   1.20    175.00       210.00
                           meeting on 7/30/2021.
                           Work session meeting with the MICS team, to revise the
7/29/2021 Male Noguera     campaign plan                          , in preparation for the   1.20     95.00       114.00
                           meeting on 7/30/2021.
                           Work session meeting with the MICS team, to revise the
7/29/2021 María Schell     campaign plan                            in preparation for the   1.20    110.00       132.00
                           meeting on 7/30/2021.
                           Participate in the communications sub committee meeting to
7/30/2021 Jorge Marchand                                                                     1.50    175.00       262.50
                           discuss about the voting campaign.
                           Participate in the communications sub committee meeting to
7/30/2021 María Schell                                                                       1.50    110.00       165.00
                           discuss about the voting campaign.
                                                                                             88.10              12,021.00
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                                                 Fee Summary: Hours     Rate      Value ($)
                                                 Ferdinand Díaz   -     125.00           -
                                                Jorge Marchand 40.90    175.00     7,157.50
                                                  Male Noguera 21.90     95.00     2,080.50
                                                   María Schell 25.30   110.00     2,783.00
                                                                88.10             12,021.00
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                                                  Marchand ICS Group
                  Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                             Professional Services for the Period from July 1 to July 31, 2021


Detail of Content and Material Development and Project Management
   Date            Staff                            Description                                Hours   Rate      Value ($)
                             Communication with the professionals team, to discuss about
 7/1/2021   Jorge Marchand                                                                     0.20    175.00        35.00
                             questions received by phone calls from different retirees.

                             Communication with Joseph Cruz, from the LinkActiv Group
 7/1/2021   Jorge Marchand   team, to discuss about the implementation of the COR              0.30    175.00        52.50
                             information call center.
                             Communication with the MICS team, to discuss about the
 7/1/2021   Jorge Marchand                                                                     0.40    175.00        70.00
                             proposals for the COR information/call center.
                             Communication with the professionals team, to discuss about
 7/1/2021   Jorge Marchand                                                                     1.10    175.00       192.50
                             the voting process and voting material.
                             Work on media monitoring for news and articles related to the
 7/1/2021   María Schell                                                                       0.40    110.00        44.00
                             ORC.

 7/1/2021   María Schell     Work on research to create content for the voting materials.      0.70    110.00        77.00
 7/1/2021   María Schell     Work on content development for the voting materials.             1.80    110.00       198.00
 7/1/2021   María Schell     Work on content edits and revisions to the voting materials.      0.60    110.00        66.00

 7/1/2021   María Schell     Work on media monitoring of the FOMB public meeting #29.          2.00    110.00       220.00

 7/1/2021   Jorge Marchand   Work on media monitoring of the FOMB public meeting #29.          2.00    175.00       350.00

                             Work on media monitoring for news and articles related to the
 7/2/2021   María Schell                                                                       0.50    110.00        55.00
                             ORC.
                             Work on content development for the radio program
 7/2/2021   Jorge Marchand                                                                     1.00    175.00       175.00
                             advertisements.
                             Work on content development for the radio program
 7/2/2021   María Schell                                                                       0.60    110.00        66.00
                             advertisements.
                             Work on content revisions and edits to the advertising material
 7/2/2021   Jorge Marchand                                                                     1.80    175.00       315.00
                             for the voting campaign.
                             Work on content revisions and edits to the advertising material
 7/2/2021   Male Noguera                                                                       0.50     95.00        47.50
                             for the voting campaign.
                             Work revisions and edits to the calculator tool on the ORC
 7/2/2021   Jorge Marchand                                                                     0.70    175.00       122.50
                             webpage.

 7/2/2021   María Schell     Work on content revisions and edits, to the calculator updates.   0.40    110.00        44.00
 7/2/2021   María Schell     Work on translation of the voting materials.                      0.50    110.00        55.00
                             Work on content research for content develop, to publish on the
 7/2/2021   Jorge Marchand                                                                     0.90    175.00       157.50
                             ORC digital platforms.
                             Work with the professionals team on the voting campaign
 7/2/2021   Jorge Marchand                                                                     1.80    175.00       315.00
                             strategy and budgeting.
                             Communication with the MICS and NotiUno teams, to discuss
 7/2/2021   Jorge Marchand                                                                     0.80    175.00       140.00
                             about the radio program schedule and recess.
                             Work on media monitoring for news and articles related to the
 7/3/2021   María Schell                                                                       0.60    110.00        66.00
                             ORC.
                             Work on media monitoring for news and articles related to the
 7/4/2021   María Schell                                                                       0.40    110.00        44.00
                             ORC.
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                            Work on media monitoring for news and articles related to the
7/5/2021   María Schell                                                                     0.50   110.00        55.00
                            ORC.
                            Communication with the MICS team, to discuss about content
7/5/2021   Male Noguera                                                                     0.50    95.00        47.50
                            and status.
                            Communication with the voting team, to discuss about the
7/6/2021   Jorge Marchand   upcoming meeting with COR members for the campaign              0.80   175.00       140.00
                            strategic plan.
                            Communication with the professionals team, to discuss about
7/6/2021   Jorge Marchand                                                                   1.20   175.00       210.00
                            the voting process                              .
                            Communication
7/6/2021   Jorge Marchand                                                                   0.30   175.00        52.50
                                                                                 .
                            Communication with the MICS and Bennazar teams, to discuss
7/6/2021   Jorge Marchand                                                                   0.30   175.00        52.50
                            about the documents posted on the ORC webpage.
                            Work on media monitoring for news and articles related to the
7/6/2021   Jorge Marchand                                                                   0.90   175.00       157.50
                            ORC.
                            Work on media monitoring for news and articles related to the
7/6/2021   María Schell                                                                     0.70   110.00        77.00
                            ORC.
                            Work on media monitoring for news and articles related to the
7/7/2021   María Schell                                                                     0.50   110.00        55.00
                            ORC.
7/7/2021   María Schell     Work on content research                          e.            0.30   110.00        33.00

                            Follow up communication
7/7/2021   Jorge Marchand                                                                   0.80   175.00       140.00

                            Communication with the local professionals team,
7/7/2021   Jorge Marchand                                                                   0.50   175.00        87.50

                            Communication with the voting team, to discuss about the
7/7/2021   Jorge Marchand                                                                   0.60   175.00       105.00
                            campaign strategic plan presentation.
                            Communication with the professionals team,
7/7/2021   Jorge Marchand                                                                   0.40   175.00        70.00

                            Work on content revisions and edits to the voting campaign
7/7/2021   Jorge Marchand                                                                   0.70   175.00       122.50
                            strategic plan presentation.
7/7/2021   Jorge Marchand   Work on research and study                      .               1.20   175.00       210.00
7/7/2021   María Schell     Work on translation of the voting campaign materials.           2.30   110.00       253.00
7/7/2021   María Schell     Work on translation                                             2.00   110.00       220.00
                            Communication with Amy Timmons from the Segal team, to
7/7/2021   Male Noguera     discuss about updating the calculator tool on the ORC digital   0.40    95.00        38.00
                            platforms.
                            Work with the professionals team,
7/8/2021   Jorge Marchand                                                                   0.70   175.00       122.50

                            Communication with the professionals team, to discuss about
7/8/2021   Jorge Marchand                                                                   0.60   175.00       105.00
                            local media coverage
                            Communication with the Arco team,
7/8/2021   Jorge Marchand                                                                   0.50   175.00        87.50
                                     for the voting campaign.
                            Communication with the MICS team to review questions and
7/8/2021   Jorge Marchand                                                                   0.40   175.00        70.00
                            comments received through the ORC digital platforms.
                            Communication with the local professionals team,
7/8/2021   Jorge Marchand                                                                   0.30   175.00        52.50
                                                  .
                            Work on media monitoring for news and articles related to the
7/8/2021   Jorge Marchand                                                                   0.80   175.00       140.00
                            ORC.
                            Work on media monitoring for news and articles related to the
7/8/2021   María Schell                                                                     0.50   110.00        55.00
                            ORC.
                            Communication
7/8/2021   Jorge Marchand                                                                   0.50   175.00        87.50
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                            Work on content revisions and edits
7/8/2021   Jorge Marchand                                                                      1.20   175.00       210.00

7/8/2021   María Schell     Work on content development                                        2.60   110.00       286.00

7/8/2021   María Schell     Work on content development for the digital voting materials.      3.10   110.00       341.00
7/8/2021   María Schell     Work on the translation of the voting materials.                   2.70   110.00       297.00
7/8/2021   María Schell     Work on content revisions and edits to the voting materials.       2.00   110.00       220.00

                            Follow up communication with the MICS team, to discuss about
7/8/2021   Male Noguera     the approval of the new text for the post "Understanding the       0.40    95.00        38.00
                            COR Agreement".
                            Communication with retirees, to respond information request
7/9/2021   Male Noguera                                                                        0.30    95.00        28.50
                            calls.
                            Work on media monitoring for news and articles related to the
7/9/2021   Ferdinand Díaz                                                                      0.40   125.00        50.00
                            ORC.
                            Communication with COR members, to send important news
7/9/2021   Ferdinand Díaz                                                                      0.20   125.00        25.00
                            and articles related to pensions.
                            Work on media monitoring for news and articles related to the
7/9/2021   Jorge Marchand                                                                      0.50   175.00        87.50
                            ORC.
                            Communication with the ORC members, to send clippings and
7/9/2021   Jorge Marchand   radio program segments recorded, with public discussion            0.40   175.00        70.00
                            related to the COR.
                            Work on media monitoring for news and articles related to the
7/9/2021   María Schell                                                                        0.50   110.00        55.00
                            ORC.
                            Follow up communication with the professionals team,
7/9/2021   Jorge Marchand                                                                      0.20   175.00        35.00
                                                                          .
                            Communication with the MICS and Bennazar to discuss about
7/9/2021   Jorge Marchand                                                                      0.30   175.00        52.50
                            the pension calculator tool on COR's webpage.
                            Communication with the MICS team to analyze the updated
7/9/2021   Jorge Marchand   calculator metrics, and discuss about issues with the calculator   0.40   175.00        70.00
                            tool.
                            Communication with the MICS team to analyze the updated
7/9/2021   Male Noguera     calculator metrics, and discuss about issues with the calculator   0.40    95.00        38.00
                            tool.
                            Communication with the campaign team, to discuss about the
7/9/2021   Jorge Marchand   upcoming meeting with COR members to present the campaign          0.30   175.00        52.50
                            strategic plan.
                            Work on content revisions to content for publication on the
7/9/2021   María Schell                                                                        0.80   110.00        88.00
                            ORC digital platforms.
                            Communication with retirees, to respond information request
7/9/2021   Jorge Marchand                                                                      0.70   175.00       122.50
                            calls.
7/9/2021   María Schell     Work on the translation of the non-voting status notice.           1.30   110.00       143.00
                            Interview with the possible new resource
7/9/2021   Male Noguera                                                                        0.70    95.00        66.50

                            Work on media monitoring for news and articles related to the
7/10/2021 María Schell                                                                         0.50   110.00        55.00
                            ORC.
                            Work on media monitoring for news and articles related to the
7/11/2021 María Schell                                                                         0.40   110.00        44.00
                            ORC.

                            Follow up communication with the possible new resource
7/12/2021 Male Noguera                                                                         0.50    95.00        47.50
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7/12/2021 Jorge Marchand   Work on revisions and edits to the vote campaign presentation.    1.60   175.00       280.00

                           Work on edits and update to the vote campaign communications
7/12/2021 Male Noguera                                                                       1.30    95.00       123.50
                           presentation.
                           Communication with the MICS team,
7/12/2021 Jorge Marchand                                                                     0.20   175.00        35.00

                           Communication with the MICS team, regarding the social media
7/12/2021 Jorge Marchand                                                                     0.30   175.00        52.50
                           activity report.
                           Communication with the MICS and Arco teams, to discuss
7/12/2021 Jorge Marchand                                                                     0.30   175.00        52.50
                           about the communications strategies plan.
                           Communication with the ORC members, to send clippings and
7/12/2021 Jorge Marchand   radio program segments recorded, with public discussion           0.30   175.00        52.50
                           related to the COR.
                           Work on media monitoring for news and articles related to the
7/12/2021 Jorge Marchand                                                                     0.80   175.00       140.00
                           ORC.
                           Communication with the professionals team,
7/12/2021 Jorge Marchand                                                                     0.40   175.00        70.00

                           Communication with the professionals team, to discuss about
7/12/2021 Jorge Marchand   the upcoming COR meeting                                          1.40   175.00       245.00


7/12/2021 María Schell     Work on content development,                                      0.50   110.00        55.00

                           Communication with the MICS and Arco teams, to discuss
7/13/2021 Jorge Marchand                                                                     0.30   175.00        52.50
                           about the communications strategies plan
                           Communication with journalist
7/13/2021 Jorge Marchand                                                                     0.30   175.00        52.50
                                        .
                           Work on media monitoring for news and articles related to the
7/13/2021 Jorge Marchand                                                                     0.50   175.00        87.50
                           ORC.
                           Work on media monitoring for news and articles related to the
7/13/2021 María Schell                                                                       0.50   110.00        55.00
                           ORC.

                           Work on media monitoring
7/13/2021 Male Noguera                                                                       0.40    95.00        38.00

                           Communication with the local professionals team, to discuss
7/13/2021 Jorge Marchand                                                                     0.70   175.00       122.50
                           about local news on the POA.
                           Work with the professionals team on revisions to the vote
7/13/2021 Jorge Marchand                                                                     2.40   175.00       420.00
                           campaign presentation.
                           Work on translation of the voting campaign strategy
7/13/2021 María Schell                                                                       3.80   110.00       418.00
                           presentation.
                           Work on additional translations of the voting campaign strategy
7/13/2021 María Schell                                                                       3.20   110.00       352.00
                           presentation.
                           Work on translation revisions and proofreading to the voting
7/13/2021 María Schell                                                                       1.50   110.00       165.00
                           campaign strategy presentation.
                           Research
7/13/2021 Male Noguera                                                                       0.50    95.00        47.50

                           Research and analysis
7/13/2021 Male Noguera                                                                       0.60    95.00        57.00

                           Communication with the professionals team,
7/13/2021 Male Noguera                                                                       0.40    95.00        38.00

                           Communication with the LinkActiv team, to discuss the
7/14/2021 Jorge Marchand                                                                     0.30   175.00        52.50
                           proposal.
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                           Work on media monitoring for news and articles related to the
7/14/2021 Jorge Marchand                                                                       0.50   175.00        87.50
                           ORC.
                           Work on media monitoring for news and articles related to the
7/14/2021 María Schell                                                                         0.50   110.00        55.00
                           ORC.

                           Follow up communication with journalist
7/14/2021 Jorge Marchand                                                                       0.40   175.00        70.00


                           Communication with the professionals team,
7/14/2021 Jorge Marchand                                                                       0.40   175.00        70.00

                           Follow up communication with the local professionals,
7/14/2021 Jorge Marchand                                                                       0.90   175.00       157.50
                                                                                    .
                           Work with the voting team,
7/14/2021 Jorge Marchand                                                                       0.90   175.00       157.50

                           Communication with the MICS and Bennazar teams, to evaluate
7/14/2021 Male Noguera     the addition of years 2020 and 2021 to the calculator and the       0.50    95.00        47.50
                           terms and formula.
                           Communication with the MICS team, to discuss about status
7/14/2021 Male Noguera                                                                         0.40    95.00        38.00
                           and communication strategies.

                           Follow up communication with journalist
7/15/2021 Jorge Marchand                                                                       0.20   175.00        35.00
                                                                                           .

                           Work on media monitoring for news and articles related to the
7/15/2021 Jorge Marchand                                                                       0.50   175.00        87.50
                           ORC.
                           Work on media monitoring for news and articles related to the
7/15/2021 María Schell                                                                         0.50   110.00        55.00
                           ORC.
                           Communication
7/15/2021 Jorge Marchand                                                                       0.40   175.00        70.00

                           Communication with the professionals team to discuss about the
7/15/2021 Jorge Marchand                                                                       1.60   175.00       280.00
                           voting campaign plan presentation and the voting calendar.

                           Follow up communication with COR members
7/15/2021 Jorge Marchand                                                                       0.80   175.00       140.00

                           Work on final revisions and edits to the voting campaign plan
7/15/2021 Jorge Marchand                                                                       1.50   175.00       262.50
                           presentation.
                           Translation of new added information to the Vote
7/15/2021 Male Noguera                                                                         0.50    95.00        47.50
                           Communications presentation.
                           Work on proofread and edits to the Voting Communications
7/15/2021 Male Noguera                                                                         3.40    95.00       323.00
                           presentation.
                           Communication with Zoom support team to install and
7/15/2021 Male Noguera     troubleshoot with the Language interpretation feature for Sub       1.30    95.00       123.50
                           Community meeting, and receive support to install.
7/16/2021 Jorge Marchand   Communication with the Arco team to discuss status.                 0.10   175.00        17.50
                           Communication with the local professionals team, to discuss
7/16/2021 Jorge Marchand                                                                       0.20   175.00        35.00
                           about the ORC's digital platforms report.
                           Communication with Robert Gordon from the Jenner team,
7/16/2021 Jorge Marchand                                                                       0.20   175.00        35.00

                           Work on media monitoring for news and articles related to the
7/16/2021 María Schell                                                                         0.50   110.00        55.00
                           ORC.
                           Communication with the professionals team, to discuss final
7/16/2021 Jorge Marchand                                                                       0.80   175.00       140.00
                           details in preparation for the COR meeting.
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                           Work with the MICS team on final review to the presentation
7/16/2021 Jorge Marchand                                                                    0.80   175.00       140.00
                           for the ORC communication subcommittee.
7/16/2021 Jorge Marchand   Communication with the MICS team to discuss status.              0.20   175.00        35.00
7/16/2021 Male Noguera     Communication with the MICS team to discuss status.              0.20    95.00        19.00
                           Work on media monitoring for news and articles related to the
7/17/2021 María Schell                                                                      0.70   110.00        77.00
                           ORC.
                           Work on media monitoring for news and articles related to the
7/18/2021 María Schell                                                                      0.30   110.00        33.00
                           ORC.
                           Follow up communication with Robert Gordon from the Jenner
7/19/2021 Jorge Marchand   team,                                                            0.20   175.00        35.00
                                               .
                           Communication with the professionals team, to discuss about
7/19/2021 Jorge Marchand                                                                    0.40   175.00        70.00
                           the voting campaign communication strategies.
                           Work on media monitoring for news and articles related to the
7/19/2021 Jorge Marchand                                                                    0.40   175.00        70.00
                           ORC.
                           Work on media monitoring for news and articles related to the
7/19/2021 María Schell                                                                      0.50   110.00        55.00
                           ORC.
                           Communication with retirees, to respond information request
7/19/2021 Jorge Marchand                                                                    0.50   175.00        87.50
                           calls.
                           Communication with the MICS team, to discuss about the list of
7/19/2021 Male Noguera                                                                      0.70    95.00        66.50
                           pending tasks regarding the voting campaign.
                           Follow up communication
7/20/2021 Jorge Marchand                                                                    0.20   175.00        35.00

                           Work on media monitoring for news and articles related to the
7/20/2021 María Schell                                                                      0.60   110.00        66.00
                           ORC.
                           Work on content development on the agenda for the upcoming
7/20/2021 María Schell                                                                      0.80   110.00        88.00
                           communications meeting.
                           Work on content development for publication on the ORC
7/20/2021 María Schell                                                                      2.50   110.00       275.00
                           digital platforms
                           Work on content development
7/20/2021 Male Noguera                                                                      0.70    95.00        66.50

                           Follow up communication
7/21/2021 Jorge Marchand                                                                    0.10   175.00        17.50

                           Communication with the voting campaign team,
7/21/2021 Jorge Marchand                                                                    0.90   175.00       157.50

                           Communication with the professionals team, to discuss about
7/21/2021 Jorge Marchand                                                                    0.40   175.00        70.00
                           the Calculator tool updates on the webpage.
                           Communication with the professionals team, to discuss about
7/21/2021 Male Noguera                                                                      0.40    95.00        38.00
                           the Calculator tool updates on the webpage.
                           Communication with the MICS team to discuss about the e-
7/21/2021 Jorge Marchand                                                                    0.30   175.00        52.50
                           ballots.
                           Communication with the MICS team to discuss about the e-
7/21/2021 Male Noguera                                                                      0.30    95.00        28.50
                           ballots.
                           Work on media monitoring for news and articles related to the
7/21/2021 Jorge Marchand                                                                    0.50   175.00        87.50
                           ORC.
                           Work on media monitoring for news and articles related to the
7/21/2021 María Schell                                                                      0.60   110.00        66.00
                           ORC.
                           Communication with the COR members and the voting
7/21/2021 Jorge Marchand   campaign team, to discuss details about the next meeting for     0.40   175.00        70.00
                           strategic planning.
                           Work on content development: for the "Boletín Informativo"
7/21/2021 Jorge Marchand                                                                    0.70   175.00       122.50
                           that will be sent on email drop.
                           Work on content development and revisions to the White Paper
7/21/2021 María Schell                                                                      3.50   110.00       385.00
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                           Work on content revisions and edits: to the White Paper
7/21/2021 Jorge Marchand                                                                     1.30   175.00       227.50

                           Work on content revisions and edits: to the White Paper
7/22/2021 Male Noguera                                                                       0.40    95.00        38.00

                           Communication with Lauren Smotkin from the FTI team,

7/21/2021 Male Noguera                                                                       0.80    95.00        76.00


                           Work on media monitoring for news and articles related to the
7/22/2021 Jorge Marchand                                                                     0.80   175.00       140.00
                           ORC.
                           Work on media monitoring for news and articles related to the
7/22/2021 María Schell                                                                       0.50   110.00        55.00
                           ORC.
                           Communication with the voting campaign team, to discuss
7/22/2021 Jorge Marchand                                                                     0.60   175.00       105.00
                           about the budget and status.
                           Work on content research and development: for the radio
7/22/2021 Jorge Marchand                                                                     1.30   175.00       227.50
                           program #62.
                           Communication with the MICS team, to discuss about the
7/22/2021 Male Noguera                                                                       0.40    95.00        38.00
                           Social Media support team during the voting campaign.
                           Work with the professionals team on content revisions and edits
7/23/2021 Jorge Marchand                                                                     0.20   175.00        35.00
                           to the White Paper.
                           Work session with the professionals team,
7/23/2021 Jorge Marchand                                                                     2.00   175.00       350.00

                           Communication with the voting campaign team, to discuss
7/23/2021 Jorge Marchand                                                                     0.70   175.00       122.50
                           status.
                           Communication with the voting campaign team, to discuss
7/23/2021 María Schell                                                                       0.30   110.00        33.00
                           status.
                           Communication with the Jenner team, to discuss about status
7/23/2021 Jorge Marchand                                                                     0.40   175.00        70.00
                           and support team for the voting campaign.
                           Work on media monitoring for news and articles related to the
7/23/2021 María Schell                                                                       0.50   110.00        55.00
                           ORC.
                           Work with the MICS team on content revisions and
7/23/2021 Jorge Marchand                                                                     1.40   175.00       245.00
                           communications strategies for the voting campaign.
                           Communication with the MICS team,
7/23/2021 Male Noguera                                                                       0.50    95.00        47.50


                           Work on media monitoring for news and articles related to the
7/24/2021 María Schell                                                                       0.50   110.00        55.00
                           ORC.
                           Work on content development:
7/24/2021 María Schell                                                                       2.60   110.00       286.00

                           Work on media monitoring for news and articles related to the
7/25/2021 María Schell                                                                       0.50   110.00        55.00
                           ORC.
                           Work on media monitoring for news and articles related to the
7/26/2021 María Schell                                                                       0.40   110.00        44.00
                           ORC.
                           Work on content revisions and edits, to the informational piece
7/26/2021 María Schell                                                                       0.50   110.00        55.00
                           about the POA calendar.

                           Communication with the MICS and local professionals team to
7/26/2021 Jorge Marchand                                                                     1.00   175.00       175.00
                           discuss about the voting campaign timeline and status.

7/26/2021 María Schell     Work on content development, for the radio program script #62.    2.90   110.00       319.00

                           Work on content revisions and edits, for the radio program
7/26/2021 María Schell                                                                       1.90   110.00       209.00
                           script #62.
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                           Research
7/26/2021 Male Noguera                                                                        0.50    95.00        47.50

                           Work on content revisions and edits
7/27/2021 Male Noguera                                                                        0.30    95.00        28.50

                           Communication with the professionals team to discuss about the
7/27/2021 Jorge Marchand   voting campaign status,                                            1.30   175.00       227.50
                                     .
                           Work on media monitoring for news and articles related to the
7/27/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.
                           Communication
7/27/2021 Jorge Marchand                                                                      0.40   175.00        70.00

                           Communication with the MICS team, to discuss about the
7/27/2021 Male Noguera                                                                        0.20    95.00        19.00
                           change in the case calendar dates.
                           Work on content development and content edits to the radio
7/27/2021 María Schell                                                                        4.70   110.00       517.00
                           program script #62.
                           Communication with the professionals team, to discuss about
7/28/2021 Jorge Marchand                                                                      0.80   175.00       140.00
                           the voting campaign communication strategies.

7/28/2021 Jorge Marchand   Communication with the Arco team, to discuss about status.         0.20   175.00        35.00

                           Work on media monitoring for news and articles related to the
7/28/2021 María Schell                                                                        0.60   110.00        66.00
                           ORC.
                           Communication with retirees, to respond information request
7/28/2021 Jorge Marchand                                                                      0.50   175.00        87.50
                           calls.

                           Communication with the MICS team, to discuss about questions
7/28/2021 Jorge Marchand                                                                      0.70   175.00       122.50
                           and comments received through the ORC digital platforms.

                           Work on the answers
7/28/2021 Male Noguera                                                                        1.80    95.00       171.00


7/28/2021 Jorge Marchand   Work on content revisions and edits to the radio program script.   0.80   175.00       140.00

                           Work on content revisions and editing: to the radio program
7/28/2021 María Schell                                                                        1.50   110.00       165.00
                           script #62.
                           Communication with the campaign team,
7/29/2021 Jorge Marchand                                                                      0.30   175.00        52.50

                           Communication with the campaign team,
7/29/2021 María Schell                                                                        0.30   110.00        33.00
                                                            .
                           Communication with the campaign team, to work on
7/29/2021 Jorge Marchand   communication pieces for the meeting with COR members on           0.60   175.00       105.00
                           7/30/2021.
                           Communication with the campaign team, to work on
7/29/2021 María Schell     communication pieces for the meeting with COR members on           0.60   110.00        66.00
                           7/30/2021.
                           Work on media monitoring:
7/29/2021 Jorge Marchand                                                                      0.80   175.00       140.00

                           Work on media monitoring for news and articles related to the
7/29/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.
                           Communication with retirees, to respond information request
7/29/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                           calls.
                           Work on content translation of document:
7/29/2021 María Schell                                                                        1.00   110.00       110.00
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                           Work on pre production and recording of the radio program #62
7/29/2021 Jorge Marchand   with COR member Juan Ortíz (issues with technical                2.00    175.00       350.00
                           difficulties).
                           Continue working on the answers for the questions
7/29/2021 Male Noguera                                                                      1.00     95.00        95.00


                           Communication with the local professionals team,
7/30/2021 Jorge Marchand                                                                    0.20    175.00        35.00

                           Work on final content revisions in preparation for the COR
7/30/2021 Jorge Marchand                                                                    0.30    175.00        52.50
                           communications subcommittee meeting.
                           Work on media monitoring for news and articles related to the
7/30/2021 Jorge Marchand                                                                    0.50    175.00        87.50
                           ORC.
                           Work on media monitoring for news and articles related to the
7/30/2021 María Schell                                                                      0.40    110.00        44.00
                           ORC.
                           Continue working on the answers for the questions
7/30/2021 Male Noguera                                                                      1.50     95.00       142.50

                           Work on media monitoring for news and articles related to the
7/31/2021 María Schell                                                                      0.70    110.00        77.00
                           ORC.
                                                                                           165.60              22,512.50




                                                                           Fee Summary: Hours       Rate      Value ($)
                                                                           Ferdinand Díaz   0.60    125.00        75.00
                                                                          Jorge Marchand 71.20      175.00    12,460.00
                                                                            Male Noguera 22.70       95.00     2,156.50
                                                                             María Schell 71.10     110.00     7,821.00
                                                                                          165.60              22,512.50
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                                                  Marchand ICS Group
                  Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                             Professional Services for the Period from July 1 to July 31, 2021


Detail of Content and Material Development for the Media Platforms and Media Management
   Date            Staff                             Description                        Hours       Rate      Value ($)
 7/1/2021 Male Noguera       Facebook page conversation management and monitoring.       0.60        95.00        57.00
 7/2/2021 Male Noguera       Facebook page conversation management and monitoring.       1.20        95.00       114.00
                             Develop content campaign to announce radio show recess via
 7/2/2021 Male Noguera                                                                   0.60       95.00         57.00
                             email and Facebook campaign.
                             Develop ideas
 7/2/2021   Male Noguera                                                                     0.70   95.00         66.50


 7/2/2021   Male Noguera    Create registration ad campaign on Facebook.                     0.40   95.00         38.00
 7/2/2021   Male Noguera    Upload note                                to the COR webpage.   0.20   95.00         19.00

                            Design and send email to registers: note published i
 7/2/2021   Male Noguera                                                                     0.30   95.00         28.50

                            Develop weekly conversation report with detailed topics,
 7/2/2021   Male Noguera    specific questions and comments received by email and            1.40   95.00        133.00
                            Facebook.
 7/2/2021   Male Noguera    Upload radio show #61 to webpage.                                0.40   95.00         38.00
 7/3/2021   Male Noguera    Facebook page conversation management and monitoring.            0.60   95.00         57.00
 7/4/2021   Male Noguera    Facebook page conversation management and monitoring.            0.80   95.00         76.00
 7/4/2021   Male Noguera    LinkedIn page conversation management and monitoring.            0.30   95.00         28.50
                            Monitor conversation on digital media using Mentionlytics to
 7/4/2021   Male Noguera    identify comments about the COR, and mentions related to         0.60   95.00         57.00
                            pensions and the bankruptcy case.
 7/5/2021   Male Noguera    Facebook page conversation management and monitoring.            0.80   95.00         76.00
 7/6/2021   Male Noguera    Facebook page conversation management and monitoring.            0.60   95.00         57.00
 7/6/2021   Male Noguera    Publish on LinkedIn, page post and ad.                           0.50   95.00         47.50
 7/6/2021   Male Noguera    Develop and upload new email drop based on radio show script.    0.60   95.00         57.00

                            Monitor conversation on digital media using Mentionlytics to
 7/6/2021   Male Noguera    identify comments about the COR, and mentions related to         0.40   95.00         38.00
                            pensions and the bankruptcy case.
                            Check COR's email and webpage to manage questions and
 7/6/2021   Male Noguera                                                                     1.40   95.00        133.00
                            comments received.
                            Work on revisions and edits to Arco Publicidad's
 7/7/2021   Male Noguera                                                                     0.40   95.00         38.00
 7/7/2021   Male Noguera    Facebook page conversation management and monitoring.            1.70   95.00        161.50
 7/8/2021   Male Noguera    Facebook page conversation management and monitoring.            0.90   95.00         85.50
                            Check COR's email and webpage to manage questions and
 7/8/2021   Male Noguera                                                                     0.40   95.00         38.00
                            comments received.
                            Monitor conversation on digital media using Mentionlytics to
 7/8/2021   Male Noguera    identify comments about the COR, and mentions related to         0.70   95.00         66.50
                            pensions and the bankruptcy case.
 7/9/2021   Male Noguera    Facebook page conversation management and monitoring.            0.40   95.00         38.00
                            Check COR's email and webpage to manage questions and
 7/9/2021   Male Noguera                                                                     0.40   95.00         38.00
                            comments received.
                            Communication with the Facebook platform team, to identify
 7/9/2021   Male Noguera                                                                     0.70   95.00         66.50
                            and solve issues with ads delivery.
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                           Develop weekly conversation report to detailed topics, specific
7/9/2021    Male Noguera                                                                     1.00   95.00        95.00
                           questions and comments received by email and Facebook.

                           Monitor conversation on digital media using Mentionlytics to
7/9/2021    Male Noguera   identify comments about the COR, and mentions related to          0.50   95.00        47.50
                           pensions and the bankruptcy case.
7/10/2021 Male Noguera     Facebook page conversation management and monitoring.             1.00   95.00        95.00
                           Check COR's message form on webpage and manage questions
7/10/2021 Male Noguera                                                                       1.20   95.00       114.00
                           and comments received.
                           LinkedIn page conversation management and monitoring (ad
7/10/2021 Male Noguera                                                                       0.20   95.00        19.00
                           and profile).
7/11/2021 Male Noguera     Facebook page conversation management and monitoring.             1.00   95.00        95.00
7/12/2021 Male Noguera     Facebook page conversation management and monitoring.             1.20   95.00       114.00
                           Check COR's message form on webpage and manage questions
7/12/2021 Male Noguera                                                                       0.50   95.00        47.50
                           and comments received.
                           Monitor conversation on digital media using Mentionlytics to
7/13/2021 Male Noguera     identify comments about the COR, and mentions related to          0.30   95.00        28.50
                           pensions and the bankruptcy case.
                           Facebook page conversation management and monitoring.
7/13/2021 Male Noguera                                                                       4.30   95.00       408.50
                           (higher volume during the past days).
7/14/2021 Male Noguera     Facebook page conversation management and monitoring.             1.40   95.00       133.00
7/15/2021 Male Noguera     Facebook page conversation management and monitoring.             0.60   95.00        57.00
                           LinkedIn page conversation management and monitoring (ad
7/15/2021 Male Noguera                                                                       0.30   95.00        28.50
                           and profile).
7/16/2021 Male Noguera     Facebook page conversation management and monitoring.             0.60   95.00        57.00

                           Develop weekly conversation report to detailed topics, specific
7/16/2021 Male Noguera                                                                       0.20   95.00        19.00
                           questions and comments received by email and Facebook.

7/17/2021   Male Noguera   Facebook page conversation management and monitoring.             0.50   95.00        47.50
7/18/2021   Male Noguera   Facebook page conversation management and monitoring.             0.60   95.00        57.00
7/19/2021   Male Noguera   Facebook page conversation management and monitoring.             1.40   95.00       133.00
7/20/2021   Male Noguera   Facebook page conversation management and monitoring.             1.60   95.00       152.00
                           Check COR's email and webpage to manage questions and
7/20/2021 Male Noguera                                                                       0.50   95.00        47.50
                           comments received.
7/21/2021 Male Noguera     Facebook page conversation management and monitoring.             2.20   95.00       209.00
                           Design White Paper
7/21/2021 Male Noguera                                                                       0.90   95.00        85.50

                           Search stock image for website note: "Próximas fechas
7/21/2021 Male Noguera                                                                       0.20   95.00        19.00
                           importantes en el proceso de la quiebra de Puerto Rico".
                           Upload note to website: "Próximas fechas importantes en el
7/21/2021 Male Noguera                                                                       0.40   95.00        38.00
                           proceso de la quiebra de Puerto Rico".
                           Design and schedule email to registers: "Próximas fechas
7/21/2021 Male Noguera                                                                       0.50   95.00        47.50
                           importantes en el proceso de la quiebra de Puerto Rico".
                           Monitor conversation on digital media using Mentionlytics to
7/21/2021 Male Noguera     identify comments about the COR, and mentions related to          0.60   95.00        57.00
                           pensions and the bankruptcy case.
7/22/2021 Male Noguera     Facebook page conversation management and monitoring.             1.10   95.00       104.50
                           Check COR's email and webpage to manage questions and
7/22/2021 Male Noguera                                                                       0.40   95.00        38.00
                           comments received.
                           LinkedIn page conversation management and monitoring (ad
7/22/2021 Male Noguera                                                                       0.20   95.00        19.00
                           and profile).
7/22/2021 Male Noguera     Facebook page posting.                                            0.20   95.00        19.00
                           Facebook post promotion: audience selection, timing and
7/22/2021 Male Noguera                                                                       0.20   95.00        19.00
                           budget.
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7/23/2021 Male Noguera   Facebook page conversation management and monitoring.               0.40    95.00        38.00
                         Monitor conversation on digital media using Mentionlytics to
7/22/2021 Male Noguera   identify comments about the COR, and mentions related to            0.20    95.00        19.00
                         pensions and the bankruptcy case.
                         Monitor conversation on digital media using Mentionlytics to
7/23/2021 Male Noguera   identify comments about the COR, and mentions related to            0.40    95.00        38.00
                         pensions and the bankruptcy case.
                         Manage Mentionlytics account, to include new terms and
7/23/2021 Male Noguera   mentions to the listening platform in order to identify             0.40    95.00        38.00
                         conversation about more topics related to pensions.
                         Develop weekly conversation summary to be sent to the
7/23/2021 Male Noguera                                                                       1.30    95.00       123.50
                         Communications vote campaign team.
7/24/2021 Male Noguera   Facebook page conversation management and monitoring.               0.40    95.00        38.00
                         Check COR's message form on webpage and manage questions
7/24/2021 Male Noguera                                                                       0.60    95.00        57.00
                         and comments received.
7/25/2021 Male Noguera   Facebook page conversation management and monitoring.               0.30    95.00        28.50
                         Facebook post creation: search information, text, design and
7/25/2021 Male Noguera                                                                       0.50    95.00        47.50
                         approval (Grandparents day).
7/25/2021 Male Noguera   Facebook page posting.                                              0.20    95.00        19.00
7/26/2021 Male Noguera   Facebook page conversation management and monitoring.               0.60    95.00        57.00
                         Edit note on webpage about next important dates in the case
7/26/2021 Male Noguera   calendar to include changes made by Judge Taylor Swain on           0.60    95.00        57.00
                         urgent motion submitted on July 24.
7/27/2021 Male Noguera   Facebook page conversation management and monitoring.               0.70    95.00        66.50
7/27/2021 Male Noguera   Upload White Paper                                                  0.40    95.00        38.00
7/27/2021 Male Noguera   Published LinkedIn White Paper about the restitution benefit.       0.20    95.00        19.00
7/28/2021 Male Noguera   Facebook page conversation management and monitoring.               0.90    95.00        85.50
                         Check COR's message form on webpage and manage questions
7/28/2021 Male Noguera                                                                       0.50    95.00        47.50
                         and comments received.
                         Monitor conversation on digital media using Mentionlytics to
7/28/2021 Male Noguera   identify comments about the COR, and mentions related to            0.30    95.00        28.50
                         pensions and the bankruptcy case.

                         Run tests on calculator to confirm that the implementation of the
7/28/2021 Male Noguera                                                                       0.20    95.00        19.00
                         Retirement years 2020 and 2021 are functioning correctly.

7/29/2021 Male Noguera   Facebook page conversation management and monitoring.               0.80    95.00        76.00
                         Monitor conversation on digital media using Mentionlytics to
7/29/2021 Male Noguera                                                                       0.20    95.00        19.00
                         identify comments about the COR and other mentions.
                         Revise Facebook post and edit in different formats to fit with
7/29/2021 Male Noguera                                                                       0.80    95.00        76.00
                         Facebook new requirements.
7/29/2021 Male Noguera   Publish Facebook post.                                              0.20    95.00        19.00
7/29/2021 Male Noguera   Facebook post promotion: budget, audience, time.                    0.20    95.00        19.00
7/30/2021 Male Noguera   Facebook page conversation management and monitoring.               0.60    95.00        57.00
                         Work with the Facebook team the initial stage/process to
7/30/2021 Male Noguera   confirm identity, in order to receive permission to run ads about   1.10    95.00       104.50
                         a voting process and campaign.
7/31/2021 Male Noguera   Facebook page conversation management and monitoring.               0.40    95.00        38.00
7/31/2021 Male Noguera   Upload radio show #62 to webpage                                    0.50    95.00        47.50
                                                                                             57.70             5,481.50
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                                                 Fee Summary: Hours     Rate      Value ($)
                                                 Ferdinand Díaz   -     125.00           -
                                                Jorge Marchand    -     175.00           -
                                                  Male Noguera 57.70     95.00     5,481.50
                                                   María Schell   -     110.00           -
                                                                57.70              5,481.50
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                                                     Marchand ICS Group
                        Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC)
                             Summary of Marchand ICS Group Hours Worked and Fees Incurred
                                                From August 1 to August 31, 2021



                                      Project                  Media
                                                 Project                                           Hourly
   Name of                           Calls and            Development and   Vote          Total                Total Value
                         Title                 Management                                          Billing
  Professional                       Meetings              Management     Campaign        Hours                    ($)
                                                 Hours                                             Rate ($)
                                      Hours                    Hours

Ferdinand Diaz     Project Manager       -           0.40               -         1.10      1.50   $ 125.00         187.50
Jorge Marchand     Principal           34.20        49.70               -        24.30    108.20   $ 175.00      18,935.00
Julizzette Colón   Media Assistant      1.00         0.60              6.70        -        8.30   $ 70.00          581.00
Male Noguera       Media Manager       23.90        28.80             78.80      27.50    159.00   $ 95.00       15,105.00
María Schell       Business Editor     26.30        89.20               -        41.90    157.40   $ 110.00      17,314.00
                                       85.40       168.70             85.50      94.80    434.40                 52,122.50
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                                                   Marchand ICS Group
                   Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                           Professional Services for the Period from August 1 to August 31, 2021


Detail of Conference Calls and Project Meetings
   Date           Staff                                Description                              Hours   Rate      Value ($)
                              Conference call with the MICS team, to discuss about status and
 8/2/2021 Jorge Marchand                                                                        0.70    175.00       122.50
                              communication strategies.
                              Conference call with the MICS team, to discuss about status and
 8/2/2021 Male Noguera                                                                          0.70     95.00        66.50
                              communication strategies.
                              Conference call with the MICS team, to discuss about status and
 8/2/2021 María Schell                                                                          0.70    110.00        77.00
                              communication strategies.
                              Conference call with Francisco del Castillo from the Bennazar
 8/2/2021 Jorge Marchand team,                                                                  0.50    175.00        87.50


                               Meeting with the MICS team to discuss and analyze questions
 8/2/2021   Jorge Marchand                                                                      0.60    175.00       105.00
                               and comments received through the ORC digital platforms.

                               Meeting with the MICS team to discuss and analyze questions
 8/2/2021   Male Noguera                                                                        0.60     95.00        57.00
                               and comments received through the ORC digital platforms.

                               Conference call with COR member Juan Ortíz,
 8/2/2021   Jorge Marchand                                                                      0.20    175.00        35.00

 8/3/2021   Jorge Marchand     Professionals team conference call/meeting: weekly status.       0.80    175.00       140.00

 8/3/2021   María Schell       Professionals team conference call/meeting: weekly status.       0.80    110.00        88.00

                               Conference call with Francisco del Castillo from the Bennazar
 8/3/2021   Jorge Marchand                                                                      0.30    175.00        52.50
                               team,

                               Conference call with COR member Carmen Núñez,
 8/3/2021   Jorge Marchand                                                                      0.20    175.00        35.00

                               Conference call with COR member Blanca Paniagua,
 8/4/2021   Jorge Marchand                                                                      0.30    175.00        52.50
                                        .
                               Conference call with COR member Carmen Núñez discuss
 8/5/2021   Jorge Marchand                                                                      0.30    175.00        52.50
                               about the radio program script.
                               Working session meeting with the MICS team, to discuss about
 8/5/2021   Jorge Marchand     the updated frequently asked questions by retirees, on the ORC   0.60    175.00       105.00
                               digital platforms.
                               Working session meeting with the MICS team, to discuss about
 8/5/2021   Male Noguera       the updated frequently asked questions by retirees, on the ORC   0.60     95.00        57.00
                               digital platforms.
                               Working session meeting with the MICS team, to develop script
 8/9/2021   Jorge Marchand     manuals, and training documents for the ORC call center, for     3.50    175.00       612.50
                               the voting campaign.
                               Working session meeting with the MICS team, to develop script
 8/9/2021   María Schell       manuals, and training documents for the ORC call center, for     3.50    110.00       385.00
                               the voting campaign.
                               Conference call with the MICS team, to evaluate and approve
 8/9/2021   Jorge Marchand                                                                      0.90    175.00       157.50
                               digital platforms content.
                               Conference call with the MICS team, to evaluate and approve
 8/9/2021   María Schell                                                                        0.90    110.00        99.00
                               digital platforms content.
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                             Conference call with the MICS team, to evaluate and approve
8/9/2021   Male Noguera                                                                        0.90    95.00        85.50
                             digital platforms content.
8/10/2021 Jorge Marchand     Participate in the COR official meeting.                          2.50   175.00       437.50
8/10/2021 Male Noguera       Participate in the COR official meeting.                          2.50    95.00       237.50
8/10/2021 María Schell       Participate in the COR official meeting.                          2.50   110.00       275.00
                             Conference call with the MICS and Bennazar teams, to review
8/10/2021 Jorge Marchand     and respond to questions and comments received through the        0.30   175.00        52.50
                             ORC digital platforms.
                             Conference call with the MICS and Bennazar teams, to review
8/10/2021 Male Noguera       and respond to questions and comments received through the        0.30    95.00        28.50
                             ORC digital platforms.
                             Conference call with the MICS and Bennazar teams, to review
8/10/2021 María Schell       and respond to questions and comments received through the        0.30   110.00        33.00
                             ORC digital platforms.
                             Conference call with Ana Heeren from the FTI team, to review
8/10/2021 Jorge Marchand                                                                       0.40   175.00        70.00
                             the COR support letter.
                             Conference call with the MICS team, to discuss status and next
8/10/2021 Jorge Marchand                                                                       0.40   175.00        70.00
                             steps on the project, as agreed on the ORC meeting.
                             Conference call with the MICS team, to discuss status and next
8/10/2021 Male Noguera                                                                         0.40    95.00        38.00
                             steps on the project, as agreed on the ORC meeting.
                             Conference call with the MICS team, to discuss status and next
8/10/2021 María Schell                                                                         0.40   110.00        44.00
                             steps on the project, as agreed on the ORC meeting.
                             Conference call with the MICS team, to evaluate content for
8/11/2021 Jorge Marchand                                                                       0.70   175.00       122.50
                             email drop.
                             Conference call with the MICS team, to evaluate content for
8/11/2021 Male Noguera                                                                         0.70    95.00        66.50
                             email drop.
                             Conference call with the MICS team, to evaluate content for
8/11/2021 María Schell                                                                         0.70   110.00        77.00
                             email drop.
                             Conference call with the MICS team, to discuss status and
8/16/2021 Jorge Marchand                                                                       0.30   175.00        52.50
                             strategic planning.
                             Conference call with the MICS team, to discuss status and
8/16/2021 Male Noguera                                                                         0.30    95.00        28.50
                             strategic planning.
                             Conference call with the MICS team, to discuss status and
8/16/2021 María Schell                                                                         0.30   110.00        33.00
                             strategic planning.
                             Meeting with retiree groups leaders, to discuss case status and
8/16/2021 Jorge Marchand                                                                       2.00   175.00       350.00
                             next steps.
                             Meeting with retiree groups leaders, to discuss case status and
8/16/2021 María Schell                                                                         2.00   110.00       220.00
                             next steps.

8/16/2021 Jorge Marchand     Professionals team conference call/meeting: weekly status.        0.80   175.00       140.00

8/16/2021 María Schell       Professionals team conference call/meeting: weekly status.        0.80   110.00        88.00

                             Conference call with the LinkActiv team, to discuss project
8/16/2021 Jorge Marchand                                                                       1.20   175.00       210.00
                             logistics and strategy.
                             Meeting with Julizzette Colón (Media Manager Assistant) to
8/17/2021 Male Noguera       discuss about the status and updates of the social media          1.00    95.00        95.00
                             management.
                             Meeting with Male Noguera to discuss about the status and
8/17/2021 Julizzette Colón                                                                     1.00    70.00        70.00
                             updates of the social media management.
                             Meeting with the voting campaign communications team, to
8/17/2021 Jorge Marchand                                                                       1.00   175.00       175.00
                             discuss communication strategies.
                             Meeting with the voting campaign communications team, to
8/17/2021 Male Noguera                                                                         1.00    95.00        95.00
                             discuss communication strategies.
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                           Meeting with the voting campaign communications team, to
8/17/2021 María Schell                                                                     1.00   110.00       110.00
                           discuss communication strategies.

8/17/2021 Jorge Marchand   Meeting with the MICS team to discuss status and next steps.    1.00   175.00       175.00

8/17/2021 Male Noguera     Meeting with the MICS team to discuss status and next steps.    1.00    95.00        95.00

8/17/2021 María Schell     Meeting with the MICS team to discuss status and next steps.    1.00   110.00       110.00

                           Meeting with the LinkActiv team to discuss status of the call
8/18/2021 Jorge Marchand                                                                   1.00   175.00       175.00
                           center training plan.
                           Meeting with the LinkActiv team to discuss status of the call
8/18/2021 Male Noguera                                                                     1.00    95.00        95.00
                           center training plan.
                           Meeting with the LinkActiv team to discuss status of the call
8/18/2021 María Schell                                                                     1.00   110.00       110.00
                           center training plan.
                           Meeting with the Arco team, to discuss about the creative
8/18/2021 Jorge Marchand                                                                   0.80   175.00       140.00
                           concept for the first phase of the advertising campaign.
                           Meeting with the Arco team, to discuss about the creative
8/18/2021 Male Noguera                                                                     0.80    95.00        76.00
                           concept for the first phase of the advertising campaign.
                           Meeting with the Arco team, to discuss about the creative
8/18/2021 María Schell                                                                     0.80   110.00        88.00
                           concept for the first phase of the advertising campaign.
                           Conference call with the MICS team, to discuss status and
8/18/2021 Jorge Marchand                                                                   0.50   175.00        87.50
                           communications strategies.
                           Conference call with the MICS team, to discuss status and
8/18/2021 Male Noguera                                                                     0.50    95.00        47.50
                           communications strategies.
                           Meeting with the voting campaign communications team to
8/19/2021 Jorge Marchand                                                                   1.00   175.00       175.00
                           discuss details and status of the advertising campaign.
                           Meeting with the voting campaign communications team to
8/19/2021 Male Noguera                                                                     1.00    95.00        95.00
                           discuss details and status of the advertising campaign.
                           Meeting with the voting campaign communications team to
8/19/2021 María Schell                                                                     1.00   110.00       110.00
                           discuss details and status of the advertising campaign.
                           Conference call with Lauren from the FTI team,
8/19/2021 Male Noguera                                                                     0.40    95.00        38.00

                           Conference call
8/23/2021 Jorge Marchand                                                                   0.50   175.00        87.50


                           Conference call with MICS team, to discuss about changes to
8/23/2021 Jorge Marchand                                                                   0.70   175.00       122.50
                           the calculator tool,

                           Conference call with MICS team, to discuss about changes to
8/23/2021 Male Noguera                                                                     0.70    95.00        66.50
                           the calculator tool,

                           Conference call with MICS team, to discuss about changes to
8/23/2021 María Schell                                                                     0.70   110.00        77.00
                           the calculator tool,                                    old.

8/23/2021 Jorge Marchand   Professionals team conference call/meeting: weekly status.      1.00   175.00       175.00

8/23/2021 María Schell     Professionals team conference call/meeting: weekly status.      1.00   110.00       110.00

                           Conference call with the MICS team to discuss about content
8/24/2021 Jorge Marchand                                                                   0.90   175.00       157.50
                           for publication on the ORC digital platforms.
                           Conference call with the MICS team to discuss about content
8/24/2021 María Schell                                                                     0.90   110.00        99.00
                           for publication on the ORC digital platforms.
                           Conference call with the MICS team to discuss about content
8/24/2021 Male Noguera                                                                     0.90    95.00        85.50
                           for publication on the ORC digital platforms.
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                           Conference call with the Arco team, to discuss about the
8/24/2021 Male Noguera                                                                      0.30    95.00        28.50
                           Facebook and LinkedIn Ads requirements.
                           Conference call with the MICS and Bennazar teams,
8/25/2021 Jorge Marchand                                                                    0.70   175.00       122.50
                                             t.
                           Conference call with the MICS and Bennazar teams,
8/25/2021 Male Noguera                                                                      0.70    95.00        66.50

                           Conference call with the MICS and Bennazar teams,
8/25/2021 María Schell                                                                      0.70   110.00        77.00

                           Conference call with the MICS team, to review content
8/25/2021 Jorge Marchand                                                                    0.70   175.00       122.50
                           development.
                           Conference call with the MICS team, to review content
8/25/2021 Male Noguera                                                                      0.70    95.00        66.50
                           development.
8/25/2021 Jorge Marchand   Meeting with Arco to discuss Digital Ads.                        0.70   175.00       122.50
8/25/2021 Male Noguera     Meeting with Arco to discuss Digital Ads.                        0.70    95.00        66.50
8/25/2021 María Schell     Meeting with Arco to discuss Digital Ads.                        0.70   110.00        77.00

                           Conference call with COR member Lydia Pellot, to discuss
8/25/2021 Jorge Marchand                                                                    0.20   175.00        35.00
                           about her participation recording the radio program.

                           Conference call
8/26/2021 Jorge Marchand                                                                    0.30   175.00        52.50
                                                              .
                           Meeting with Prime clerk and Justin Lapatine from the Global
8/26/2021 Jorge Marchand                                                                    0.50   175.00        87.50
                           team to discuss status.
                           Meeting with LinkActiv team, to discuss about the Information
8/26/2021 Jorge Marchand                                                                    0.50   175.00        87.50
                           Center/Call Center Project Development.
                           Meeting with LinkActiv team, to discuss about the Information
8/26/2021 Male Noguera                                                                      0.50    95.00        47.50
                           Center/Call Center Project Development.
                           Meeting with LinkActiv team, to discuss about the Information
8/26/2021 María Schell                                                                      0.50   110.00        55.00
                           Center/Call Center Project Development.
                           Meeting with the voting campaign team, to discuss
8/26/2021 Male Noguera                                                                      1.20    95.00       114.00
                           communication strategies status and next steps.
                           Conference call with the MICS team to discuss details for the
8/26/2021 Jorge Marchand                                                                    1.70   175.00       297.50
                           training sessions with Call Center operators.
                           Conference call with the MICS team to discuss details for the
8/26/2021 Male Noguera                                                                      1.70    95.00       161.50
                           training sessions with Call Center operators.
                           Conference call with the MICS team to discuss details for the
8/26/2021 María Schell                                                                      1.70   110.00       187.00
                           training sessions with Call Center operators.
                           Conference call with the MICS team to discuss status and
8/27/2021 Jorge Marchand                                                                    0.30   175.00        52.50
                           communication strategies.
                           Conference call with the MICS team to discuss status and
8/27/2021 Male Noguera                                                                      0.30    95.00        28.50
                           communication strategies.
                           Conference call
8/27/2021 Male Noguera                                                                      0.90    95.00        85.50
                                                   .
                           Meeting with the Prime Clerk team, to discuss about the voting
8/27/2021 Jorge Marchand                                                                    1.00   175.00       175.00
                           process.
                           Meeting with the Prime Clerk team, to discuss about the voting
8/27/2021 María Schell                                                                      1.00   110.00       110.00
                           process.
                           Conference call with the Arco team, to discuss about the first
8/27/2021 Male Noguera                                                                      0.30    95.00        28.50
                           round of print ads.
                           Meeting with the Arco team to discuss about the Facebook Ads
8/27/2021 Male Noguera                                                                      0.50    95.00        47.50
                           and Display Ads.
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8/30/2021 Jorge Marchand   Professionals team conference call/meeting: weekly status.        1.00    175.00       175.00

8/30/2021 María Schell     Professionals team conference call/meeting: weekly status.        1.00    110.00       110.00

                           Conference call with the Arco team to discuss about the Digital
8/30/2021 Male Noguera                                                                       0.40     95.00        38.00
                           Ads.
                           Conference call with COR member Blanca Paniagua, to discuss
8/31/2021 Jorge Marchand                                                                     0.10    175.00        17.50
                           about the radio program recording.
                           Conference call with COR member Marcos López, to discuss
8/31/2021 Jorge Marchand                                                                     0.20    175.00        35.00
                           about the radio program recording.
                           Conference call with the MICS team to discuss status and
8/31/2021 Jorge Marchand                                                                     0.40    175.00        70.00
                           communication strategies.
                           Conference call with the MICS team to discuss status and
8/31/2021 Male Noguera                                                                       0.40     95.00        38.00
                           communication strategies.
                           Conference call with the MICS team to discuss status and
8/31/2021 María Schell                                                                       0.40    110.00        44.00
                           communication strategies.
                                                                                             85.40              11,218.50




                                                                           Fee Summary: Hours        Rate      Value ($)
                                                                           Ferdinand Díaz    -       125.00           -
                                                                          Jorge Marchand 34.20       175.00     5,985.00
                                                                          Julizzette Colón  1.00      70.00        70.00
                                                                            Male Noguera 23.90        95.00     2,270.50
                                                                              María Schell 26.30     110.00     2,893.00
                                                                                           85.40               11,218.50
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                                                   Marchand ICS Group
                   Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                           Professional Services for the Period from August 1 to August 31, 2021


Detail of Content and Material Development and Project Management
   Date            Staff                            Description                                  Hours   Rate      Value ($)
                             Work on media monitoring for news and articles related to the
 8/1/2021 Jorge Marchand                                                                         0.40    175.00        70.00
                             ORC.
                             Work on media monitoring for news and articles related to the
 8/1/2021 María Schell                                                                           0.40    110.00        44.00
                             ORC.

 8/1/2021   María Schell      Work on content research for the radio program script #63.         0.60    110.00        66.00

 8/1/2021   María Schell      Work on content development for the radio program script #63.      0.90    110.00        99.00

                              Communication with Francisco del Castillo from the Bennazar
 8/2/2021   Male Noguera      team,                                                              0.20     95.00        19.00

                              Work on media monitoring for news and articles related to the
 8/2/2021   Jorge Marchand                                                                       1.20    175.00       210.00
                              ORC.
                              Work on media monitoring for news and articles related to the
 8/2/2021   María Schell                                                                         1.50    110.00       165.00
                              ORC.
                              Communication with the local professionals team, to discuss
 8/2/2021   Jorge Marchand                                                                       0.30    175.00        52.50
                              about the radio program recording.
 8/2/2021   María Schell      Work on content research for the radio program script # 63.        0.80    110.00        88.00
 8/2/2021   María Schell      Work on content development for the radio program script # 63.     3.20    110.00       352.00

                              Work with the local professionals team
 8/2/2021   Jorge Marchand                                                                       0.30    175.00        52.50

                              Communication with retirees, to respond information request
 8/2/2021   Jorge Marchand                                                                       0.30    175.00        52.50
                              calls.
                              Communication                               to coordinate
 8/2/2021   Jorge Marchand                                                                       0.20    175.00        35.00
                              meeting to discuss status and case updates.

                              Work on report with summary of documents that have being
 8/2/2021   Male Noguera      sent by the court                                                  1.30     95.00       123.50


 8/3/2021   María Schell      Work on content development for the radio program script #63.      2.20    110.00       242.00

 8/3/2021   Jorge Marchand    Work on revisions and edits to the radio program script #63.       1.00    175.00       175.00

                              Work on content revisions and edits for the radio program script
 8/3/2021   María Schell                                                                         0.80    110.00        88.00
                              #63.
                              Work on media monitoring for news and articles related to the
 8/3/2021   María Schell                                                                         0.50    110.00        55.00
                              ORC.
                              Work with the local professionals team on details for the next
 8/3/2021   Jorge Marchand                                                                       0.30    175.00        52.50
                              COR meeting and its presentation.
                              Communication with the MICS team, to discuss about the radio
 8/3/2021   Jorge Marchand                                                                       0.20    175.00        35.00
                              program recording.
                              Work on revisions and edits to the information bulletin for
 8/3/2021   Jorge Marchand                                                                       0.70    175.00       122.50
                              retirees.
                              Work with the MICS team, on edits and revisions to the
 8/4/2021   Jorge Marchand                                                                       0.40    175.00        70.00
                              campaign presentation to the Committee.
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                            Work with the MICS team, on edits and revisions to the
8/4/2021   María Schell                                                                     0.40   110.00        44.00
                            campaign presentation to the Committee.
                            Communication with Natalie Sombuntham from the FTI team,
8/4/2021   Jorge Marchand                                                                   0.40   175.00        70.00

                            Work on media monitoring for news and articles related to the
8/4/2021   María Schell                                                                     0.60   110.00        66.00
                            ORC.

8/4/2021   María Schell     Content revisions and edits to the radio program script #63.    0.70   110.00        77.00

                            Communication with the professionals team
8/5/2021   Jorge Marchand                                                                   0.30   175.00        52.50
                                                            .
                            Work with the professionals team to discuss about the COR
8/5/2021   Jorge Marchand   professionals fees and expenses summary, to be presented on     0.60   175.00       105.00
                            the upcoming meeting.
                            Follow up communication
8/5/2021   Jorge Marchand                                                                   0.40   175.00        70.00

                            Communication with retirees, to respond information request
8/5/2021   Jorge Marchand                                                                   0.50   175.00        87.50
                            calls.
                            Work on media monitoring for news and articles related to the
8/5/2021   Jorge Marchand                                                                   0.40   175.00        70.00
                            ORC.
                            Work on media monitoring for news and articles related to the
8/5/2021   María Schell                                                                     0.40   110.00        44.00
                            ORC.
                            Media monitoring
8/5/2021   Male Noguera                                                                     0.50    95.00        47.50
                                  about the voting process.
                            Work on pre production and recording of the radio program #63
8/5/2021   Jorge Marchand                                                                   1.50   175.00       262.50
                            with COR member Carmen Núñez.
                            Work on revisions and edits to content for publication on the
8/5/2021   María Schell                                                                     0.50   110.00        55.00
                            ORC digital platforms.
8/5/2021   María Schell     Translation of                      presentation.               2.60   110.00       286.00
                            Communication with the MICS team to discuss about content
8/5/2021   Jorge Marchand                                                                   0.40   175.00        70.00
                            for publication on the ORC digital platforms.
                            Work with the voting campaign team, on edits and revisions to
8/5/2021   Male Noguera                                                                     0.40    95.00        38.00
                            the campaign presentation to the Committee.
                            Communication with the local professionals team,
8/6/2021   Jorge Marchand                                                                   0.40   175.00        70.00

                            Communication with the professionals team,
8/6/2021   Jorge Marchand                                                    , and its      0.40   175.00        70.00
                            presentation to the COR members.
                            Communication with the MICS team, to review recent
8/6/2021   Jorge Marchand   comments and questions received through the ORC digital         0.40   175.00        70.00
                            platforms and the FAQ document.
                            Work on media monitoring for news and articles related to the
8/6/2021   María Schell                                                                     0.50   110.00        55.00
                            ORC.
                            Communication with COR members to send the radio show
8/6/2021   Male Noguera                                                                     0.40    95.00        38.00
                            recordings #62 and #63              .
                            Work on media monitoring for news and articles related to the
8/7/2021   María Schell                                                                     0.70   110.00        77.00
                            ORC.

8/7/2021   María Schell     Work on content development for the radio program script.       1.80   110.00       198.00

                            Communication with the professionals team, to discuss about
8/9/2021   Jorge Marchand                                                                   0.20   175.00        35.00
                            the next meeting with COR members.
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                            Work on final revisions and edits to the presentation for the
8/9/2021   Jorge Marchand                                                                      0.60   175.00       105.00
                            upcoming COR official meeting on 8/10/2021.
                            Communication with retirees, to respond information request
8/9/2021   Jorge Marchand                                                                      0.30   175.00        52.50
                            calls.
                            Work with the local professionals team,
8/9/2021   Jorge Marchand                                                                      0.40   175.00        70.00
                                                       .
                            Work on media monitoring for news and articles related to the
8/9/2021   María Schell                                                                        0.50   110.00        55.00
                            ORC.
                            Communication with the Facebook team
8/9/2021   Male Noguera                            to allow the COR to promote voting          0.50    95.00        47.50
                            campaigns.
                            Communication with the Arco team, to discuss about the voting
8/9/2021   Jorge Marchand                                                                      0.20   175.00        35.00
                            campaign status and budget.

8/10/2021 Jorge Marchand    Work on content revisions and edits to the radio program script.   0.50   175.00        87.50

8/10/2021 María Schell      Work on content revisions and edits to the radio program script.   1.00   110.00       110.00

                            Work on review and analysis of the calculator tool traffic
8/10/2021 Jorge Marchand                                                                       0.30   175.00        52.50
                            metrics.
                            Communication with the voting campaign team to discuss
8/10/2021 Male Noguera                                                                         1.40    95.00       133.00
                            status.
                            Work on media monitoring for news and articles related to the
8/10/2021 María Schell                                                                         0.40   110.00        44.00
                            ORC.
                            Communication with the local professionals team, on final
8/11/2021 Jorge Marchand                                                                       0.20   175.00        35.00
                            revisions to the radio program script.

8/11/2021 Jorge Marchand    Work on pre production and recording of the radio program.         1.60   175.00       280.00

                            Follow up communication with the Facebook team
8/11/2021 Male Noguera                                        , to allow the COR to            1.40    95.00       133.00
                            promote voting campaigns.
                            Work on media monitoring for news and articles related to the
8/12/2021 Jorge Marchand                                                                       0.30   175.00        52.50
                            ORC.
                            Work on media monitoring for news and articles related to the
8/12/2021 María Schell                                                                         0.30   110.00        33.00
                            ORC.
                            Monitor
8/12/2021 Male Noguera                                                                         0.50    95.00        47.50


                            Follow up communication                        to coordinate the
8/12/2021 Jorge Marchand                                                                       0.70   175.00       122.50
                            upcoming meeting                                         .

                            Working session meeting with the MICS team, to update
8/12/2021 Jorge Marchand                                                                       0.60   175.00       105.00
                            content on the ORC webpage.
                            Follow up communication with the Facebook team
8/12/2021 Male Noguera                                           , to allow the COR to         0.70    95.00        66.50
                            promote voting campaigns.
                            Communication with the professionals team, to discuss about
8/12/2021 Jorge Marchand                                                                       0.60   175.00       105.00
                            the voting timeline schedule and budget.
                            Communication                                to announce the
8/13/2021 Jorge Marchand                                                                       0.50   175.00        87.50
                            rescheduled meeting.

8/13/2021 Jorge Marchand    Work on content development for the radio program script.          1.60   175.00       280.00

                            Work on media monitoring for news and articles related to the
8/13/2021 María Schell                                                                         0.70   110.00        77.00
                            ORC.
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                           Work on media monitoring for news and articles related to the
8/14/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.

8/14/2021 María Schell     Work on content development for the radio program script.          4.10   110.00       451.00

                           Communication with the professionals team, to discuss about
8/15/2021 Jorge Marchand                                                                      0.20   175.00        35.00
                           the campaign budget approval.
                           Communication with the voting campaign team, to discuss
8/16/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                           about the campaign kick off and status.
                           Follow up communication                                 to
8/16/2021 Jorge Marchand   coordinate final details in preparation for the meeting            0.40   175.00        70.00
                                    .
                           Work on media monitoring for news and articles related to the
8/16/2021 Jorge Marchand                                                                      0.50   175.00        87.50
                           ORC.
                           Work on media monitoring for news and articles related to the
8/16/2021 María Schell                                                                        0.40   110.00        44.00
                           ORC.
                           Communication with retirees, to respond information request
8/16/2021 Jorge Marchand                                                                      0.20   175.00        35.00
                           calls.
                           Communication with the NotiUno team, to discuss details for
8/17/2021 Jorge Marchand                                                                      0.10   175.00        17.50
                           the radio program recording.
                           Work on media monitoring for news and articles related to the
8/17/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.

8/17/2021 María Schell     Work on content development for the radio program script #65.      2.80   110.00       308.00
8/17/2021 Male Noguera     Communication with the MICS team, to discuss status.               0.40    95.00        38.00
                           Communication with the GoDaddy team, to troubleshoot issues
8/17/2021 Male Noguera                                                                        0.40    95.00        38.00
                           accessing the COR’s email platform.
                           Communication with the voting campaign team, to discuss
8/17/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                           campaign timeline and define strategic planning meetings.
                           Review MICS strategic plan, in preparation for the voting
8/17/2021 Jorge Marchand                                                                      0.80   175.00       140.00
                           campaign team meeting.

8/18/2021 Jorge Marchand   Work on content revisions and edits to the radio program script.   0.50   175.00        87.50

8/18/2021 Jorge Marchand   Work on pre production and recording of the radio program.         1.50   175.00       262.50

                           Communication with the MICS team to discuss about the
8/18/2021 Jorge Marchand                                                                      0.10   175.00        17.50
                           advertisement on Plenitud Dorada newspaper.
                           Communication with Iván Sánchez from Plenitud Dorada to
8/18/2021 Male Noguera     discuss about the COR publication on their next newspaper          0.30    95.00        28.50
                           edition.
                           Work on content development for the advertisement on Plenitud
8/18/2021 Jorge Marchand                                                                      0.50   175.00        87.50
                           Dorada newspaper.
                           Work on media monitoring for news and articles related to the
8/18/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.
                           Review FTI               requirements (specs and due dates) to
8/18/2021 Male Noguera                                                                        0.60    95.00        57.00
                           plan posts.
                           Update subscriptions and payments in all COR digital
8/18/2021 Male Noguera     platforms: (website, stock photos, GoDaddy, Mentionlytics,         0.60    95.00        57.00
                           Zoom).
8/19/2021 Male Noguera     Communication with the MICS team to discuss status.                0.30    95.00        28.50

                           Communication with the MICS team, to discuss about questions
8/19/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                           and comments received through the ORC digital platforms.

8/19/2021 Male Noguera     Develop email drop text based on radio show script #64.            0.70    95.00        66.50
8/19/2021 Jorge Marchand   Work on content revisions and edits for an email drop.             0.40   175.00        70.00
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                           Work on media monitoring for news and articles related to the
8/19/2021 María Schell                                                                        0.60   110.00        66.00
                           ORC.
8/19/2021 Male Noguera     Communication with Julizzette Colón to discuss status.             0.20    95.00        19.00

                           Work with the MICS team to review and respond to questions
8/20/2021 Jorge Marchand                                                                      0.60   175.00       105.00
                           and comments received through the ORC digital platforms.

                           Work on media monitoring for news and articles related to the
8/20/2021 María Schell                                                                        0.80   110.00        88.00
                           ORC.
                           Communication
8/20/2021 Male Noguera                                                                        0.20    95.00        19.00
                                   to send the latest email drop to retirees.
                           Work on media monitoring for news and articles related to the
8/21/2021 María Schell                                                                        0.60   110.00        66.00
                           ORC.

8/21/2021 María Schell     Work on content development for the radio program script.          3.80   110.00       418.00

                           Communication with the professionals team
8/22/2021 Jorge Marchand                                                                      0.40   175.00        70.00

                           Work on media monitoring for news and articles related to the
8/22/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.
8/22/2021 María Schell     Translation of the presentation for the COR meeting.               2.50   110.00       275.00
                           Communication with the professionals team
8/23/2021 Jorge Marchand                                                                      0.30   175.00        52.50
                                  .

8/23/2021 María Schell     Work on content development for the radio program script #66.      2.90   110.00       319.00

                           Work on content revisions and edits to the radio program script
8/23/2021 Jorge Marchand                                                                      1.10   175.00       192.50
                           #66.
                           Work on media monitoring for news and articles related to the
8/23/2021 Jorge Marchand                                                                      1.00   175.00       175.00
                           ORC.
                           Work on media monitoring for news and articles related to the
8/23/2021 María Schell                                                                        1.90   110.00       209.00
                           ORC.
                           Work on the translation of the presentation for the COR
8/23/2021 María Schell                                                                        1.30   110.00       143.00
                           meeting.
                           Work on revisions and proofreading to the translation for the
8/23/2021 María Schell                                                                        1.20   110.00       132.00
                           COR meeting presentation.
                           Communication with COR members, to confirm availability for
8/24/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                           the radio program recording.
                           Work on content revisions and edits for publication on the ORC
8/24/2021 Jorge Marchand                                                                      0.30   175.00        52.50
                           digital platforms.

8/24/2021 Jorge Marchand   Work on review to the Prime Clerk final voting documents.          0.50   175.00        87.50

                           Work on media monitoring for news and articles related to the
8/24/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.
8/24/2021 María Schell     Translation of the presentation for the COR meeting.               3.80   110.00       418.00
8/24/2021 María Schell     Work on content revisions and edits to the radio program script.   1.00   110.00       110.00

                           Communication with the MICS team to discuss and analyze the
8/24/2021 Jorge Marchand                                                                      1.40   175.00       245.00
                           Google Ads campaign results.
                           Work on media monitoring for news and articles related to the
8/25/2021 Jorge Marchand                                                                      0.50   175.00        87.50
                           ORC.
                           Work on media monitoring for news and articles related to the
8/25/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.

8/25/2021 María Schell     Work on content development for the Plenitud Dorada article.       2.50   110.00       275.00
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                           Work on content revisions and edits to the Plenitud Dorada
8/25/2021 Jorge Marchand                                                                      0.30   175.00        52.50
                                       article.
                           Communication with Carmen Núñez and Miguel Fabre, to
8/25/2021 Jorge Marchand                                                                      0.30   175.00        52.50
                           discuss about the voting campaign status.
                           Communication with the professionals team,
8/25/2021 Jorge Marchand                                                                      0.20   175.00        35.00

                           Work on content development and edits to the radio program
8/25/2021 María Schell                                                                        1.90   110.00       209.00
                           script #66.

8/25/2021 María Schell     Work on content revisions and edits to the radio program script.   1.80   110.00       198.00
8/25/2021 María Schell     Translation                for the upcoming meeting.               1.00   110.00       110.00
                           Work on content development for publication on the ORC
8/25/2021 Male Noguera                                                                        3.70    95.00       351.50
                           digital platforms.
8/25/2021 Male Noguera     Content creation for Display Ads.                                  0.70    95.00        66.50
                           Work on content development and edits to the Plenitud Dorada
8/26/2021 María Schell                                                                        1.80   110.00       198.00
                                         article.
                           Work on content revisions and edits to the Plenitud Dorada
8/26/2021 Jorge Marchand                                                                      0.20   175.00        35.00
                                         article.
                           Communication with the ORC members,
8/26/2021 Jorge Marchand                                                                      0.50   175.00        87.50

                           Work on revisions and approval of the Facebook ads and email
8/26/2021 Jorge Marchand                                                                      0.30   175.00        52.50
                           drop first phase calendar.
                           Work on pre production and recording of the radio program #66
8/26/2021 Jorge Marchand                                                                      1.40   175.00       245.00
                           with COR member Lydia Pellot.
                           Communication with retirees, to respond information request
8/26/2021 Jorge Marchand                                                                      0.20   175.00        35.00
                           calls.
                           Work on media monitoring for news and articles related to the
8/26/2021 María Schell                                                                        0.40   110.00        44.00
                           ORC.
                           Work with the local professionals team to review and respond to
8/27/2021 Jorge Marchand   questions and moments received through the ORC digital             0.30   175.00        52.50
                           platforms.
                           Work on media monitoring for news and articles related to the
8/27/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.

8/27/2021 María Schell     Work on content development for the solicitation materials.        2.60   110.00       286.00

                           Communication with Iván Sánchez from Plenitud Dorada, to
8/27/2021 Male Noguera                                                                        0.10    95.00           9.50
                           send the              article.
                           Follow up communication with the NotiUno team to discuss
8/27/2021 Male Noguera                                                                        0.10    95.00           9.50
                           about the radio program.
                           Revision and evaluation of email drop statistics:
8/27/2021 Male Noguera                                                                        0.60    95.00        57.00

8/27/2021 Male Noguera     Communication with Julizzette Colón to discuss status.             0.60    95.00        57.00

                           Communication with the ORC members to provide status and
8/27/2021 Jorge Marchand                                                                      0.50   175.00        87.50
                           information about the campaign strategy implementation.

                           Communication with the MICS team to discuss details about the
8/28/2021 Jorge Marchand                                                                      0.70   175.00       122.50
                           call center operators training.
                           Communication with the MICS team to discuss details about the
8/28/2021 María Schell                                                                        0.70   110.00        77.00
                           call center operators training.
                           Work on media monitoring for news and articles related to the
8/28/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.
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                             Work on content development for the Information Center
8/28/2021 María Schell                                                                             4.30    110.00       473.00
                             training materials.
                             Work with the MICS team on revisions and edits to the content
8/29/2021 Jorge Marchand                                                                           0.30    175.00        52.50
                             for email drop to pensioners.
                             Follow up communication with the AARP team and Francisco
8/29/2021 Jorge Marchand     del Castillo, to coordinate COR's participation on the AARP           0.20    175.00        35.00
                             radio program.

8/29/2021 María Schell       Work on content development for the radio program script.             3.00    110.00       330.00

                             Work on media monitoring for news and articles related to the
8/29/2021 María Schell                                                                             0.50    110.00        55.00
                             ORC.
8/30/2021 Male Noguera       Communication with Julizzette Colón to discuss status.                0.60     95.00        57.00
8/30/2021 Julizzette Colón   Communication with Julizzette Colón to discuss status.                0.60     70.00        42.00
8/30/2021 Jorge Marchand     Participate on the call center training for operators and agents.     4.50    175.00       787.50

8/30/2021 María Schell       Participate on the call center training for operators and agents.     4.50    110.00       495.00

8/30/2021 Male Noguera       Participate on the call center training for operators and agents.     4.40     95.00       418.00

                             Communication with the COR members and professionals team,
8/30/2021 Jorge Marchand     to provide update on the first phase of training sessions with the    0.10    175.00        17.50
                             call center operators and agents.
                             Communication with the MICS team to discuss details about the
8/30/2021 Jorge Marchand                                                                           0.10    175.00        17.50
                             call center operators training.
                             Work on media monitoring for news and articles related to the
8/30/2021 María Schell                                                                             0.50    110.00        55.00
                             ORC.
                             Work on media monitoring for news and articles related to the
8/30/2021 Ferdinand Díaz                                                                           0.40    125.00        50.00
                             ORC.

8/31/2021 María Schell       Work on content development for the radio program script.             4.00    110.00       440.00

8/31/2021 Jorge Marchand     Work on content development for the radio program script.             0.50    175.00        87.50

8/31/2021 Jorge Marchand     Participate on the call center training for operators and agents.     5.50    175.00       962.50

8/31/2021 Male Noguera       Participate on the call center training for operators and agents.     5.50     95.00       522.50

8/31/2021 María Schell       Participate on the call center training for operators and agents.     5.50    110.00       605.00

                             Follow up communication with the AARP team and Francisco
8/31/2021 Jorge Marchand     del Castillo, to coordinate COR's participation on the AARP           0.20    175.00        35.00
                             radio program.
                             Communication with the professionals team to discuss about the
8/31/2021 Jorge Marchand                                                                           0.40    175.00        70.00
                             strategy and implementation of social media ads.
                             Work with the professionals team to review and approve second
8/31/2021 Jorge Marchand                                                                           0.50    175.00        87.50
                             round of the direct mail materials to pensioners.
                             Work on media monitoring for news and articles related to the
8/31/2021 María Schell                                                                             0.50    110.00        55.00
                             ORC.
                             Communication with Francisco del Castillo from the Bennazar
8/31/2021 Male Noguera                                                                             0.30     95.00        28.50
                             team
8/31/2021 Male Noguera       Communication with Julizzette Colón to discuss status.                0.70     95.00        66.50
8/31/2021 Male Noguera       Meeting with the Arco team to discuss about the Digital adds.         0.50     95.00        47.50

                                                                                                  168.70              21,337.50
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                                                 Fee Summary: Hours       Rate      Value ($)
                                                 Ferdinand Díaz    0.40   125.00        50.00
                                                Jorge Marchand 49.70      175.00     8,697.50
                                                Julizzette Colón   0.60    70.00        42.00
                                                  Male Noguera 28.80       95.00     2,736.00
                                                    María Schell 89.20    110.00     9,812.00
                                                                 168.70             21,337.50
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                                                  Marchand ICS Group
                  Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                          Professional Services for the Period from August 1 to August 31, 2021


Detail of Content and Material Development for the Media Platforms and Media Management
   Date            Staff                              Description                         Hours      Rate      Value ($)
 8/1/2021 Male Noguera       Facebook page conversation management and monitoring.         0.80       95.00        76.00
 8/2/2021 Male Noguera       Facebook page conversation management and monitoring.         0.80       95.00        76.00
 8/2/2021 Male Noguera       Facebook page posting.                                        0.30       95.00        28.50
                             Monitor conversation on digital media using Mentionlytics to
 8/2/2021 Male Noguera       identify comments about the COR, and mentions related to      0.30      95.00         28.50
                             pensions and the bankruptcy case.

                            Develop weekly conversation report to detailed topics, specific
 8/2/2021   Male Noguera                                                                      0.80   95.00         76.00
                            questions and comments received by email and Facebook.

                            Design and send email drop to registers: "Quienes votarán por
 8/2/2021   Male Noguera                                                                      0.60   95.00         57.00
                            el Plan de Ajuste y cómo es el proceso de votación".
 8/3/2021   Male Noguera    Facebook page conversation management and monitoring              1.30   95.00        123.50
                            Search stock image for note - "El Comité Oficial de Retirados
 8/3/2021   Male Noguera    (COR) informa sobre correspondencia enviada a los                 0.20   95.00         19.00
                            pensionados acerca del proceso al Plan de Ajuste".
                            Upload note to website: "El Comité Oficial de Retirados (COR)
 8/3/2021   Male Noguera    informa sobre correspondencia enviada a los pensionados           0.60   95.00         57.00
                            acerca del proceso al Plan de Ajuste".
                            Share note to Facebook: "El Comité Oficial de Retirados (COR)
 8/3/2021   Male Noguera    informa sobre correspondencia enviada a los pensionados           0.20   95.00         19.00
                            acerca del proceso al Plan de Ajuste".
 8/4/2021   Male Noguera    Facebook page conversation management and monitoring.             0.40   95.00         38.00
                            Check COR's email and webpage to manage questions and
 8/4/2021   Male Noguera                                                                      0.80   95.00         76.00
                            comments received.
 8/5/2021   Male Noguera    Facebook page conversation management and monitoring.             1.10   95.00        104.50
 8/5/2021   Male Noguera    Design and send email drop to registers: "retirees who vote".     0.50   95.00         47.50
 8/5/2021   Male Noguera    Facebook page posting.                                            0.20   95.00         19.00
                            Facebook post promotion: audience, timing and budget
 8/5/2021   Male Noguera                                                                      0.20   95.00         19.00
                            selection
                            Monitor conversation on digital media using Mentionlytics to
 8/5/2021   Male Noguera    identify comments about the COR, and mentions related to          0.40   95.00         38.00
                            pensions and the bankruptcy case.
                            Monitor conversation on digital media using Mentionlytics to
 8/5/2021   Male Noguera    identify comments about the COR, and mentions related to          0.30   95.00         28.50
                            pensions and the bankruptcy case.
 8/6/2021   Male Noguera    Facebook page conversation management and monitoring.             1.10   95.00        104.50
                            Weekly conversation report to detailed topics, specific
 8/6/2021   Male Noguera                                                                      2.10   95.00        199.50
                            questions and comments received by email and Facebook.
 8/7/2021   Male Noguera    Facebook page conversation management and monitoring.             0.40   95.00         38.00
 8/8/2021   Male Noguera    Facebook page conversation management and monitoring.             0.40   95.00         38.00
 8/9/2021   Male Noguera    Facebook page conversation management and monitoring.             1.90   95.00        180.50
                            Check COR's email and webpage to manage questions and
 8/9/2021   Male Noguera                                                                      0.40   95.00         38.00
                            comments received.
 8/10/2021 Male Noguera     Facebook page conversation management and monitoring.             2.80   95.00        266.00
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                           Monitor conversation on digital media using Mentionlytics to
8/10/2021 Male Noguera     identify comments about the COR, and mentions related to          0.60   95.00        57.00
                           pensions and the bankruptcy case.
                           Check COR's email and webpage to manage questions and
8/10/2021 Male Noguera                                                                       0.60   95.00        57.00
                           comments received.
8/10/2021   Male Noguera   Create post: image search, text and design.                       0.80   95.00        76.00
8/11/2021   Male Noguera   Facebook page conversation management and monitoring.             1.70   95.00       161.50
8/11/2021   Male Noguera   Post creation: design, and text (radio show).                     0.50   95.00        47.50
8/11/2021   Male Noguera   Publish Facebook post.                                            0.10   95.00         9.50
8/11/2021   Male Noguera   Post promotion: audience, time ad budget selection.               0.20   95.00        19.00
                           Write, design and send email drop to registers to promote radio
8/11/2021 Male Noguera                                                                       0.70   95.00        66.50
                           show #64.
                           Adapt post image size and send to COR members
8/11/2021 Male Noguera                                                                       0.30   95.00        28.50
                           (promotion of radio show #64).
8/11/2021 Male Noguera     Upload radio shows #62 and #63 to the COR’s webpage.              0.80   95.00        76.00
8/12/2021 Male Noguera     Facebook page conversation management and monitoring.             3.20   95.00       304.00
                           Check COR's message form on webpage and manage questions
8/12/2021 Male Noguera                                                                       0.60   95.00        57.00
                           and comments received.
                           Monitor conversation on digital media using Mentionlytics to
8/12/2021 Male Noguera     identify comments about the COR, and mentions related to          0.60   95.00        57.00
                           pensions and the bankruptcy case.
8/13/2021 Male Noguera     Facebook page conversation management and monitoring.             4.40   95.00       418.00
                           Check COR's message form on webpage and manage questions
8/13/2021 Male Noguera                                                                       0.50   95.00        47.50
                           and comments received.

                           Develop weekly conversation report to detailed topics, specific
8/13/2021 Male Noguera                                                                       1.70   95.00       161.50
                           questions and comments received by email and Facebook.

8/14/2021   Male Noguera   Facebook page conversation management and monitoring.             0.60   95.00        57.00
8/15/2021   Male Noguera   Facebook page conversation management and monitoring.             0.80   95.00        76.00
8/16/2021   Male Noguera   Facebook page conversation management and monitoring.             1.30   95.00       123.50
8/17/2021   Male Noguera   Facebook page conversation management and monitoring              1.40   95.00       133.00
                           Check COR's message form on webpage and manage questions
8/17/2021 Male Noguera                                                                       0.80   95.00        76.00
                           and comments received.
                           Monitor conversation on digital media using Mentionlytics to
8/17/2021 Male Noguera     identify comments about the COR, and mentions related to          0.40   95.00        38.00
                           pensions and the bankruptcy case.
8/18/2021 Male Noguera     Facebook page conversation management and monitoring.             0.90   95.00        85.50
                           Check COR's email and webpage to manage questions and
8/18/2021 Male Noguera                                                                       1.80   95.00       171.00
                           comments received.
8/18/2021   Male Noguera   Redesign Facebook post.                                           0.50   95.00        47.50
8/19/2021   Male Noguera   Facebook page conversation management and monitoring.             1.50   95.00       142.50
8/19/2021   Male Noguera   Publish post on Facebook.                                         0.30   95.00        28.50
8/20/2021   Male Noguera   Facebook page conversation management and monitoring              2.30   95.00       218.50
                           Monitor conversation on digital media using Mentionlytics to
8/20/2021 Male Noguera     identify comments about the COR, and mentions related to          0.30   95.00        28.50
                           pensions and the bankruptcy case.
                           Weekly conversation report to detailed topics, specific
8/20/2021 Male Noguera                                                                       1.80   95.00       171.00
                           questions and comments received by email and Facebook.
                           Check COR's email and webpage to manage questions and
8/20/2021 Male Noguera                                                                       0.60   95.00        57.00
                           comments received.
                           Upload note to webpage: Remembering the agreement to the
8/20/2021 Male Noguera                                                                       0.30   95.00        28.50
                           CORs webpage.
8/21/2021 Male Noguera     Facebook page conversation management and monitoring.             0.30   95.00        28.50
8/22/2021 Male Noguera     Facebook page conversation management and monitoring.             0.70   95.00        66.50
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8/23/2021 Male Noguera       Facebook page conversation management and monitoring.             0.90     95.00        85.50
8/24/2021 Male Noguera       Facebook page conversation management and monitoring              1.20     95.00       114.00
                             Monitor conversation on digital media using Mentionlytics to
8/24/2021 Male Noguera       identify comments about the COR, and mentions related to          0.60     95.00        57.00
                             pensions and the bankruptcy case.
                             Check COR's message form on webpage and manage questions
8/24/2021 Male Noguera                                                                         0.70     95.00        66.50
                             and comments received.
8/24/2021 Male Noguera       Revise content and design on webpage voting page.                 1.20     95.00       114.00
8/25/2021 Male Noguera       Facebook page conversation management and monitoring.             1.30     95.00       123.50
                             Check COR's message form on webpage and manage questions
8/25/2021 Male Noguera                                                                         1.00     95.00        95.00
                             and comments received.
8/25/2021 Male Noguera       Facebook page posting.                                            0.30     95.00        28.50
8/25/2021 Male Noguera       Design visuals for approved Facebook content.                     0.80     95.00        76.00
                             Fix bug on "Asuntos Importantes" page on the website - Bug
8/25/2021 Male Noguera       appeared showing information from other pages in the COR’s        0.90     95.00        85.50
                             webpage.
8/26/2021 Male Noguera       Facebook page conversation management and monitoring.             0.80     95.00        76.00
                             Check COR's message form on webpage and manage questions
8/26/2021 Male Noguera                                                                         0.50     95.00        47.50
                             and comments received.
                             Monitor conversation on digital media using Mentionlytics to
8/26/2021 Male Noguera       identify comments about the COR, and mentions related to          0.30     95.00        28.50
                             pensions and the bankruptcy case.
8/27/2021 Male Noguera       Facebook page conversation management and monitoring.             1.40     95.00       133.00
                             Check COR's message form on webpage and manage questions
8/27/2021 Male Noguera                                                                         0.60     95.00        57.00
                             and comments received.
                             Monitor conversation on digital media using Mentionlytics to
8/27/2021 Male Noguera       identify comments about the COR, and mentions related to          0.30     95.00        28.50
                             pensions and the bankruptcy case.
8/28/2021 Male Noguera       Facebook page conversation management and monitoring              3.20     95.00       304.00
                             Check COR's message form on webpage and manage questions
8/28/2021 Male Noguera                                                                         0.80     95.00        76.00
                             and comments received.

                             Develop weekly conversation report to detailed topics, specific
8/28/2021 Male Noguera                                                                         0.90     95.00        85.50
                             questions and comments received by email and Facebook.

8/29/2021 Male Noguera       Facebook page conversation management and monitoring.             0.70     95.00        66.50
8/29/2021 Male Noguera       Publish Facebook post.                                            0.40     95.00        38.00
8/30/2021 Male Noguera       Facebook page conversation management and monitoring.             3.60     95.00       342.00
                             Check COR's message form on webpage and manage questions
8/30/2021 Male Noguera                                                                         1.40     95.00       133.00
                             and comments received.
8/30/2021 Julizzette Colón   Facebook Page Conversation Management & Monitoring.               1.60     70.00       112.00
8/31/2021 Male Noguera       Facebook page conversation management and monitoring.             1.80     95.00       171.00
                             Monitor conversation on digital media using Mentionlytics to
8/31/2021 Male Noguera       identify comments about the COR, and mentions related to          0.40     95.00        38.00
                             pensions and the bankruptcy case.
8/31/2021 Julizzette Colón   Facebook Page Conversation Management & Monitoring.               5.10     70.00       357.00
                                                                                               85.50              7,955.00



                                                                              Fee Summary: Hours       Rate      Value ($)
                                                                              Ferdinand Díaz   -       125.00           -
                                                                             Jorge Marchand    -       175.00           -
                                                                             Julizzette Colón 6.70      70.00       469.00
                                                                               Male Noguera 78.80       95.00     7,486.00
                                                                                 María Schell  -       110.00           -
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                                                             85.50          7,955.00
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                                                   Marchand ICS Group
                   Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                           Professional Services for the Period from August 1 to August 31, 2021


Detail of Content Development and Project Management for the Voting Campaign
   Date            Staff                          Description                                   Hours   Rate      Value ($)
                              Work with the voting campaign team, to review ideas on the
 8/2/2021    Jorge Marchand                                                                     0.50    175.00        87.50
                              promotional videos for the campaign and the and ballots.

 8/4/2021    Male Noguera     Revise voting campaign timeline chart based on new schedule.      0.40     95.00        38.00

                              Work with the voting campaign team, to discuss about the
 8/4/2021    Jorge Marchand                                                                     0.30    175.00        52.50
                              campaign timeline and communications strategies.
                              Work on content development to announce the voting process
 8/5/2021    Male Noguera                                                                       0.80     95.00        76.00
                              on the ORC digital platforms.
                              Develop an FAQ document to share with Call Center operators
 8/6/2021    Male Noguera                                                                       1.60     95.00       152.00
                              and Social Media support.
 8/7/2021    María Schell     Work on content development for the Vote Campaign.                1.70    110.00       187.00
 8/9/2021    María Schell     Work on content development for the Vote Campaign.                2.80    110.00       308.00
 8/12/2021   Jorge Marchand   Work on content development for the voting campaign.              1.50    175.00       262.50
 8/12/2021   María Schell     Work on content development for the voting campaign.              1.40    110.00       154.00
                              Work on content development for the call center scripts and
 8/12/2021 María Schell                                                                         3.60    110.00       396.00
                              manuals.
                              Communication with the voting campaign team, to discuss
 8/13/2021 María Schell                                                                         0.50    110.00        55.00
                              about status.
                              Work on revisions and edits to the COR call center guidelines
 8/16/2021 Jorge Marchand                                                                       0.60    175.00       105.00
                              and scripts.

 8/16/2021 Jorge Marchand     Work on strategic planning for the voting campaign workflow.      0.50    175.00        87.50

                              Communication with the LinkActiv team regarding the call
 8/16/2021 Jorge Marchand                                                                       0.40    175.00        70.00
                              center services.
                              Work on content development for the call center scripts and
 8/16/2021 María Schell                                                                         4.30    110.00       473.00
                              manuals.
                              Work on content revisions to the call center scripts and
 8/16/2021 Ferdinand Díaz                                                                       1.10    125.00       137.50
                              manuals.

                              Communication with the MICS and Arco teams, to discuss
 8/17/2021 Jorge Marchand                                                                       0.70    175.00       122.50
                              about the media plan and creative concept for the campaign.

                              Communication with the Arco team, to discuss direct mail
 8/17/2021 Jorge Marchand                                                                       0.50    175.00        87.50
                              issues and implementation.

 8/18/2021 Jorge Marchand     Work on content development for the advertising campaign.         1.40    175.00       245.00
 8/18/2021 Male Noguera       Work on content development for the voting campaign.              3.80     95.00       361.00
                              Work on content development for the call center scripts and
 8/18/2021 María Schell                                                                         3.20    110.00       352.00
                              manuals.
                              Work on content revisions and edits for the call center scripts
 8/18/2021 María Schell                                                                         2.90    110.00       319.00
                              and manuals.
 8/18/2021 Male Noguera       Plan email campaign schedule for the workflow chart.              1.60     95.00       152.00
                              Communication with the voting campaign team to discuss about
 8/18/2021 Male Noguera                                                                         1.30     95.00       123.50
                              the Digital Ads.
                              Communication with the MICS and Arco teams, to discuss
 8/18/2021 Jorge Marchand     about the COR "branding" and official color, to implement on      0.30    175.00        52.50
                              the voting campaign.
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                           Communication with the voting campaign team, to define
8/18/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                           responsibilities on the campaign advertising approval.
                           Work on content revisions to the first creative pieces for the
8/19/2021 Jorge Marchand                                                                      0.60   175.00       105.00
                           voting advertising campaign.

8/19/2021 Jorge Marchand   Work on content revisions to the scripts for the outbound calls.   0.80   175.00       140.00

                           Communications with the LinkActiv and voting campaign
8/19/2021 Jorge Marchand                                                                      0.30   175.00        52.50
                           teams, to discuss about call center scripts and manuals.
                           Work with the professionals team on the screening process to
8/19/2021 Jorge Marchand                                                                      0.50   175.00        87.50
                           select retirees for the advertising campaign.
                           Work on content development for the call center scripts and
8/19/2021 María Schell                                                                        2.70   110.00       297.00
                           manuals.
                           Work on content revisions and edits for the call center scripts
8/19/2021 María Schell                                                                        3.20   110.00       352.00
                           and manuals.
8/19/2021 María Schell     Work on content development for the voting campaign.               2.10   110.00       231.00
8/19/2021 Male Noguera     Work on the voting campaign content for the COR website.           1.00    95.00        95.00
                           Communication with the Arco teams to discuss about the due
8/19/2021 Male Noguera                                                                        0.20    95.00        19.00
                           dates for Digital Ads.
8/19/2021 Male Noguera     Work on content creation for the Google Ads.                       1.70    95.00       161.50
                           Work on content revisions to the postcards to be sent by mail to
8/20/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                           pensioners, with information on the voting process.
                           Communication with retiree leaders to recruit talent of local
8/20/2021 Jorge Marchand                                                                      0.80   175.00       140.00
                           retirees for the advertising campaign.
                           Work on content revisions to the "Welcome Message" for the
8/20/2021 Jorge Marchand                                                                      0.70   175.00       122.50
                           call center.
                           Work on content development for the call center scripts and
8/20/2021 María Schell                                                                        5.80   110.00       638.00
                           manuals.
                           Work with the MICS and Arco teams, to review and edit
8/23/2021 Jorge Marchand                                                                      1.40   175.00       245.00
                           creative pieces prepared for the advertising campaign.
                           Work with the MICS and Arco teams, to review and edit
8/23/2021 Male Noguera                                                                        1.40    95.00       133.00
                           creative pieces prepared for the advertising campaign.
                           Communication with the local professionals team, to discuss
8/23/2021 Jorge Marchand                                                                      0.30   175.00        52.50
                           about campaign details.
                           Follow up communication with retirees
8/24/2021 Jorge Marchand                                                                      0.50   175.00        87.50

8/24/2021 María Schell     Work on content development for the advertising campaign.          1.50   110.00       165.00

                           Communication with the voting campaign team to discuss
8/24/2021 María Schell                                                                        0.80   110.00        88.00
                           status.
                           Communication with the voting campaign team to discuss
8/25/2021 Male Noguera                                                                        0.60    95.00        57.00
                           status.
8/25/2021 Jorge Marchand   Work on content revisions for TV ads.                              0.40   175.00        70.00
                           Work on content revisions on the manuals and scripts for the
8/25/2021 Jorge Marchand                                                                      1.20   175.00       210.00
                           call center agents training.
                           Communication with the Arco team, to discuss about the
8/25/2021 Jorge Marchand                                                                      0.20   175.00        35.00
                           advertisement calendar.
                           Communication with the voting campaign team and LinkActiv,
8/25/2021 Jorge Marchand                                                                      1.10   175.00       192.50
                           to discuss about the call center.
                           Work with the voting campaign team on the strategy for the first
8/25/2021 Jorge Marchand                                                                      0.80   175.00       140.00
                           round of direct mail to eligible retirees to vote.
                           Work with voting campaign team, to discuss about the retiree
8/26/2021 Jorge Marchand                                                                      0.60   175.00       105.00
                           contact and addresses lists.
                           Work with the voting campaign team, to discuss and define
8/26/2021 Jorge Marchand                                                                      0.70   175.00       122.50
                           strategy for the call center implementation.
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                           Work with the LinkActiv and voting campaign teams, to discuss
8/26/2021 Jorge Marchand                                                                         0.20    175.00        35.00
                           about the call center manuals and scripts.
                           Work on content revisions to the Google Ads first phase, to
8/26/2021 Jorge Marchand                                                                         0.80    175.00       140.00
                           integrate elements into the voting campaign.
                           Work with Arco Publicidad
8/26/2021 Jorge Marchand                                                                         0.50    175.00        87.50

8/26/2021 María Schell     Work on content revisions to the scripts for the outbound calls.      1.80    110.00       198.00

                           Work on content development for the second phase of the
8/26/2021 María Schell                                                                           2.30    110.00       253.00
                           voting campaign.
8/26/2021 Male Noguera     Review           list to confirm data.                                0.30     95.00        28.50
8/26/2021 Male Noguera     Communication with the FTI to discuss status of Digital Ads.          0.50     95.00        47.50

                           Segment voting class contact lists (emails) to upload them to the
8/26/2021 Male Noguera                                                                           1.20     95.00       114.00
                           email marketing platform.
                           Design and send Round #1 of email to voters: "You will soon
8/26/2021 Male Noguera                                                                           0.90     95.00        85.50
                           receive a ballot to vote".
                           Research for specific iStock images to send to Arco for the
8/26/2021 Male Noguera                                                                           1.00     95.00        95.00
                           VOTE campaign prints.
8/26/2021 Male Noguera     Work on content revisions for the voting campaign.                    0.40     95.00        38.00
8/27/2021 Male Noguera     Work on content revisions for the voting campaign.                    1.50     95.00       142.50

                           Communication with the MICS and Arco teams,
8/27/2021 Jorge Marchand                                                                         0.30    175.00        52.50

                           Communication with the professionals team, to discuss about
8/27/2021 Jorge Marchand                                                                         1.70    175.00       297.50
                           the call center strategy implementation.

                           Work with the MICS and Arco teams, to review and approve
8/27/2021 Jorge Marchand                                                                         0.50    175.00        87.50
                           Display Ads and Facebook Ads, for the voting campaign.

                           Work with the voting campaign team, to review and approve
8/27/2021 Jorge Marchand                                                                         1.00    175.00       175.00
                           content to promote the voting campaign.
                           Communication with the MICS team to discuss details about the
8/29/2021 Jorge Marchand                                                                         0.20    175.00        35.00
                           call center operators training.

                           Work with the MICS team on revisions and approval of pictures
8/29/2021 Jorge Marchand                                                                         0.20    175.00        35.00
                           for the second phase of print ads for the voting campaign.

8/29/2021 Male Noguera     Work on content revisions for the voting campaign.                    1.70     95.00       161.50
8/30/2021 Male Noguera     Work on content revisions for the voting campaign.                    2.30     95.00       218.50
                           Communication with the LinkActiv team, to discuss details in
8/30/2021 Jorge Marchand   preparation for the training session with the call center operators   0.30    175.00        52.50
                           and agents.
                           Communication with the ARCO team, to discuss about the print
8/30/2021 Jorge Marchand                                                                         0.20    175.00        35.00
                           ads schedule and strategy.
8/30/2021 María Schell     Work on content development for the voting campaign.                  1.30    110.00        143.00
8/31/2021 Male Noguera     Work on content revisions for the voting campaign.                    3.30     95.00        313.50
                                                                                                 94.80              11,611.50
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                                                 Fee Summary: Hours      Rate      Value ($)
                                                 Ferdinand Díaz   1.10   125.00       137.50
                                                Jorge Marchand 24.30     175.00     4,252.50
                                                Julizzette Colón   -      70.00           -
                                                  Male Noguera 27.50      95.00     2,612.50
                                                    María Schell 41.90   110.00     4,609.00
                                                                 94.80             11,611.50
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                                                    Marchand ICS Group
                        Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC)
                             Summary of Marchand ICS Group Hours Worked and Fees Incurred
                                            From September 1 to September 30, 2021



                                      Project                  Media
                                                 Project                                           Hourly
   Name of                           Calls and            Development and   Vote          Total                Total Value
                         Title                 Management                                          Billing
  Professional                       Meetings              Management     Campaign        Hours                    ($)
                                                 Hours                                             Rate ($)
                                      Hours                    Hours

Ferdinand Diaz     Project Manager      0.40         3.40               -          -        3.80   $ 125.00         475.00
Jorge Marchand     Principal           33.70        56.60               -        31.50    121.80   $ 175.00      21,315.00
Julizzette Colón   Media Assistant      4.40          -              114.90        -      119.30   $ 70.00        8,351.00
Male Noguera       Media Manager       21.60        27.10            117.40      15.50    181.60   $ 95.00       17,252.00
María Schell       Business Editor     20.60       101.60               -        36.30    158.50   $ 110.00      17,435.00
                                       80.70       188.70            232.30      83.30    585.00                 64,828.00
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                                                   Marchand ICS Group
                   Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                       Professional Services for the Period from September 1 to September 30, 2021


Detail of Conference Calls and Project Meetings
   Date           Staff                                   Description                             Hours   Rate      Value ($)
 9/1/2021 Jorge Marchand Conference call with the MICS team, to discuss status.                    0.80   175.00       140.00
 9/1/2021 Male Noguera        Conference call with the MICS team, to discuss status.               0.80    95.00        76.00
 9/1/2021 María Schell        Conference call with the MICS team, to discuss status.               0.80   110.00        88.00
                              Meeting with the voting campaign team and LinkActiv, to
 9/1/2021 Jorge Marchand                                                                          1.00    175.00       175.00
                              discuss status of the call center.
                              Meeting with the voting campaign team and LinkActiv, to
 9/1/2021 Male Noguera                                                                            1.00     95.00        95.00
                              discuss status of the call center.
                              Meeting with the voting campaign team and LinkActiv, to
 9/1/2021 María Schell                                                                            1.00    110.00       110.00
                              discuss status of the call center.
                              Conference call with the LinkActiv team, to answer questions
 9/1/2021 Male Noguera                                                                            0.50     95.00        47.50
                              from the Information Center operators.
                              Conference call with Lauren Smotkin from the FTI team to
 9/1/2021 Male Noguera                                                                            0.40     95.00        38.00
                              discuss workflow status.

 9/2/2021   Jorge Marchand     Participate on the status meeting with the voting campaign team.   1.80    175.00       315.00

 9/2/2021   Male Noguera       Participate on the status meeting with the voting campaign team.   1.80     95.00       171.00

 9/2/2021   María Schell       Participate on the status meeting with the voting campaign team.   1.80    110.00       198.00

                               Conference call with COR member Blanca Paniagua,
 9/2/2021   Ferdinand Díaz                                                                        0.40    125.00        50.00

                               Conference call with COR member Blanca Paniagua,
 9/2/2021   Jorge Marchand                                                                        0.40    175.00        70.00

                               Meeting with the Arco team to discuss status and
 9/2/2021   Jorge Marchand                                                                        1.50    175.00       262.50
                               communications strategies for the voting campaign.
                               Conference call with journalist
 9/2/2021   Jorge Marchand                                                                        0.40    175.00        70.00

                               Conference call with COR President Miguel Fabre,
 9/2/2021   Jorge Marchand                                                                        0.20    175.00        35.00
                                                              .
                               Conference call with Efrén Pagán from the Arco team, to
 9/2/2021   Jorge Marchand                                                                        0.30    175.00        52.50
                               discuss about the voting campaign.
                               Conference call with the MICS team, to discuss status and
 9/3/2021   Jorge Marchand                                                                        1.00    175.00       175.00
                               communication strategies.
                               Conference call with the MICS team, to discuss status and
 9/3/2021   María Schell                                                                          1.00    110.00       110.00
                               communication strategies.
                               Conference call with the MICS team, to discuss status and
 9/3/2021   Male Noguera                                                                          1.00     95.00        95.00
                               communication strategies.

                               Conference call with Francisco del Castillo from the Bennazar
 9/3/2021   María Schell                                                                          0.10    110.00        11.00
                               team, to discuss about the translation of legal documents.

                               Conference call with the LinkActiv team, to answer questions
 9/3/2021   Male Noguera                                                                          0.60     95.00        57.00
                               from the Information Center operators.
                               Conference call with Julizzette Colón to discuss about the
 9/3/2021   Male Noguera                                                                          0.80     95.00        76.00
                               media management status.
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                              Conference call with Male Noguera to discuss about the media
9/3/2021   Julizzette Colón                                                                        0.80    70.00        56.00
                              management status.
                              Conference call with COR President Miguel Fabre,
9/6/2021   Jorge Marchand                                                                          0.10   175.00        17.50
                                                                   .

                              Conference call with COR President Miguel Fabre,
9/6/2021   Jorge Marchand                                                                          0.20   175.00        35.00
                                                                                               .

                              Conference call with the Arco team to review the
9/7/2021   Jorge Marchand                                                                          0.40   175.00        70.00
                              communications media plan.
                              Meeting with the Prime Clerk team, to discuss status of the
9/7/2021   Jorge Marchand                                                                          0.50   175.00        87.50
                              voting process.
                              Meeting with the Prime Clerk team, to discuss status of the
9/7/2021   Male Noguera                                                                            0.50    95.00        47.50
                              voting process.
                              Meeting with the Prime Clerk team, to discuss status of the
9/7/2021   María Schell                                                                            0.50   110.00        55.00
                              voting process.
                              Conference call with the LinkActiv team,
9/7/2021   Male Noguera                                                                            0.50    95.00        47.50

                              Conference call with Julizzette Colón to discuss about the
9/7/2021   Male Noguera                                                                            0.80    95.00        76.00
                              media management status.
                              Conference call with Male Noguera to discuss about the media
9/7/2021   Julizzette Colón                                                                        0.80    70.00        56.00
                              management status.
                              Conference call
9/8/2021   Jorge Marchand                            to discuss about the voting process and       0.40   175.00        70.00
                              timeline.
                              Meeting with the voting campaign team, to discuss about the
9/8/2021   Jorge Marchand                                                                          0.80   175.00       140.00
                              operational report and status of the voting campaign team.
                              Meeting with the voting campaign team, to discuss about the
9/8/2021   Male Noguera                                                                            0.80    95.00        76.00
                              operational report and status of the voting campaign team.
                              Meeting with the voting campaign team, to discuss about the
9/8/2021   María Schell                                                                            0.80   110.00        88.00
                              operational report and status of the voting campaign team.
                              Conference call with journalist
9/9/2021   Jorge Marchand                                                                          0.30   175.00        52.50

9/9/2021   Jorge Marchand     Meeting with the voting campaign team to discuss status.             0.60   175.00       105.00
9/9/2021   Male Noguera       Meeting with the voting campaign team to discuss status.             0.60    95.00        57.00
                              Conference call
9/10/2021 Jorge Marchand                                                                           0.30   175.00        52.50


                              Conference call with the NotiUno team, to discuss and
9/10/2021 Jorge Marchand                                                                           0.30   175.00        52.50
                              coordinate the ads interventions during the COR radio program.

                              Conference call with the LinkActiv team to discuss
9/10/2021 Male Noguera                                                                             0.40    95.00        38.00
                              communication strategies.
                              Conference call with Julizzette Colón to discuss about the
9/10/2021 Male Noguera                                                                             1.00    95.00        95.00
                              media management status.
                              Conference call with Male Noguera to discuss about the media
9/10/2021 Julizzette Colón                                                                         1.00    70.00        70.00
                              management status.

9/13/2021 Jorge Marchand      Meeting with the MICS team to discuss status and next steps.         0.80   175.00       140.00

9/13/2021 Male Noguera        Meeting with the MICS team to discuss status and next steps.         0.80    95.00        76.00

9/13/2021 María Schell        Meeting with the MICS team to discuss status and next steps.         0.80   110.00        88.00
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9/13/2021 Jorge Marchand     Professionals team conference call/meeting: weekly status.         1.00   175.00       175.00

9/13/2021 María Schell       Professionals team conference call/meeting: weekly status.         1.30   110.00       143.00

                             Conference call with COR President Miguel Fabre,
9/14/2021 Jorge Marchand                                                                        0.30   175.00        52.50
9/14/2021   Jorge Marchand   Status meeting with the voting campaign team.                      0.80   175.00       140.00
9/14/2021   Male Noguera     Status meeting with the voting campaign team.                      0.80    95.00        76.00
9/14/2021   María Schell     Status meeting with the voting campaign team.                      0.80   110.00        88.00
9/14/2021   Jorge Marchand   Meeting with the MICS team, to discuss status.                     0.50   175.00        87.50
9/14/2021   María Schell     Meeting with the MICS team, to discuss status.                     0.50   110.00        55.00
9/14/2021   Male Noguera     Meeting with the MICS team, to discuss status.                     0.50    95.00        47.50
                             Meeting with the MICS team to discuss status and
9/15/2021 Jorge Marchand                                                                        0.80   175.00       140.00
                             communication strategies.
                             Meeting with the MICS team to discuss status and
9/15/2021 Male Noguera                                                                          0.80    95.00        76.00
                             communication strategies.
                             Meeting with the MICS team to discuss status and
9/15/2021 María Schell                                                                          0.80   110.00        88.00
                             communication strategies.
9/16/2021 Jorge Marchand     Meeting with the voting campaign team to discuss status.           0.90   175.00       157.50
9/16/2021 Male Noguera       Meeting with the voting campaign team to discuss status.           0.90    95.00        85.50
9/16/2021 María Schell       Meeting with the voting campaign team to discuss status.           0.90   110.00        99.00

                             Conference call with Francisco del Castillo from the Bennazar
9/16/2021 Jorge Marchand     team, to coordinate about his participation on a radio program,    0.40   175.00        70.00
                             to discuss about the COR agreement and voting process.

                             Attend with Francisco del Castillo from the Bennazar team to
9/16/2021 Jorge Marchand                                                                        1.50   175.00       262.50
                             the AESA radio program.
                             Conference call with the MICS team to discuss about the
9/16/2021 Jorge Marchand                                                                        0.80   175.00       140.00
                             solicitation packages delay.
                             Conference call with the MICS team to discuss about the
9/16/2021 Male Noguera                                                                          0.80    95.00        76.00
                             solicitation packages delay.
                             Conference call with the MICS team to discuss about the
9/16/2021 María Schell                                                                          0.80   110.00        88.00
                             solicitation packages delay.
                             Participate on the meeting with Prime Clerk to discuss status of
9/17/2021 Jorge Marchand                                                                        0.70   175.00       122.50
                             the voting process.
                             Participate on the meeting with Prime Clerk to discuss status of
9/17/2021 Male Noguera                                                                          0.70    95.00        66.50
                             the voting process.
                             Participate on the meeting with Prime Clerk to discuss status of
9/17/2021 María Schell                                                                          0.70   110.00        77.00
                             the voting process.
                             Meeting with the LinkActiv team, to discuss questions received
9/17/2021 Male Noguera                                                                          0.50    95.00        47.50
                             via the Information Call Center.
                             Participate with Francisco del Castillo on the meeting
9/20/2021 Jorge Marchand                                                                        2.50   175.00       437.50

                             Conference call with Julizzette Colón to discuss about media
9/20/2021 Male Noguera                                                                          0.80    95.00        76.00
                             management status.
                             Conference call with Male Noguera to discuss about media
9/20/2021 Julizzette Colón                                                                      0.80    70.00        56.00
                             management status.

9/21/2021 Jorge Marchand     Professionals team conference call/meeting: weekly status.         1.00   175.00       175.00

9/21/2021 María Schell       Professionals team conference call/meeting: weekly status.         1.00   110.00       110.00

                             Participate on meeting with Francisco del Castillo and COR
9/22/2021 Jorge Marchand     member Carmen Núñez,                                               3.00   175.00       525.00
                                     about the voting process.
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                             Conference call with the MICS team to discuss status and next
9/22/2021 Jorge Marchand                                                                      0.20   175.00        35.00
                             steps.
                             Conference call with the MICS team to discuss status and next
9/22/2021 Male Noguera                                                                        0.20    95.00        19.00
                             steps.
                             Conference call with the MICS team to discuss status and next
9/22/2021 María Schell                                                                        0.20   110.00        22.00
                             steps.
9/23/2021 Jorge Marchand     Participate on the COR official meeting.                         1.80   175.00       315.00
9/23/2021 Male Noguera       Participate on the COR official meeting.                         1.80    95.00       171.00
9/23/2021 María Schell       Participate on the COR official meeting.                         1.80   110.00       198.00
                             Conference call with COR president Miguel Fabre,
9/23/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                                    .
                             Conference call
9/23/2021 Jorge Marchand                                                                      0.80   175.00       140.00

                             Conference call with Julizzette Colón to discuss about media
9/24/2021 Male Noguera                                                                        1.00    95.00        95.00
                             management status.
                             Conference call with Male Noguera to discuss about media
9/24/2021 Julizzette Colón                                                                    1.00    70.00        70.00
                             management status.
9/27/2021 Jorge Marchand     Status meeting with the Arco team.                               0.50   175.00        87.50
9/27/2021 María Schell       Status meeting with the Arco team.                               0.50   110.00        55.00
9/27/2021 Jorge Marchand     Professionals team conference call/meeting: weekly status.       1.00   175.00       175.00

9/27/2021 María Schell       Professionals team conference call/meeting: weekly status.       1.00   110.00       110.00

                             Conference call with Francisco del Castillo from the Bennazar
9/28/2021 María Schell                                                                        0.50   110.00        55.00
                             team, to discuss about the content.
                             Conference call with the MICS team,
9/28/2021 Jorge Marchand                                                                      0.50   175.00        87.50

                             Conference call with the MICS team,
9/28/2021 María Schell                                                                        0.50   110.00        55.00

                             Conference call with the MICS team, to discuss about the
9/28/2021 Jorge Marchand                                                                      0.30   175.00        52.50
                             advertising material.
                             Conference call with the MICS team, to discuss about the
9/28/2021 María Schell                                                                        0.30   110.00        33.00
                             advertising material.
                             Conference call with the MICS and Bennazar teams, to discuss
9/28/2021 Jorge Marchand                                                                      0.90   175.00       157.50
                             about content revisions.
                             Conference call with the MICS and Bennazar teams, to discuss
9/28/2021 María Schell                                                                        0.90   110.00        99.00
                             about content revisions.
9/29/2021   Jorge Marchand   Meeting with the voting campaign team to discuss status.         0.50   175.00        87.50
9/29/2021   María Schell     Meeting with the voting campaign team to discuss status.         0.50   110.00        55.00
9/29/2021   Male Noguera     Meeting with the voting campaign team to discuss status.         0.50    95.00        47.50
9/30/2021   Jorge Marchand   Voting team meeting to discuss status.                           0.50   175.00        87.50
9/30/2021   María Schell     Voting team meeting to discuss status.                           0.50   110.00        55.00
                             Conference call with Francisco del Castillo from the Bennazar
9/30/2021 María Schell                                                                        0.30   110.00        33.00
                             team,
                                                                                             80.70              10,573.50

                                                                             Fee Summary: Hours      Rate      Value ($)
                                                                             Ferdinand Díaz   0.40   125.00        50.00
                                                                            Jorge Marchand 33.70     175.00     5,897.50
                                                                            Julizzette Colón  4.40    70.00       308.00
                                                                              Male Noguera 21.60      95.00     2,052.00
                                                                                María Schell 20.60   110.00     2,266.00
                                                                                             80.70             10,573.50
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                                                  Marchand ICS Group
                  Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                      Professional Services for the Period from September 1 to September 30, 2021


Detail of Content and Material Development and Project Management
   Date            Staff                            Description                               Hours   Rate      Value ($)
 9/1/2021   María Schell     Work on content development for the radio program script #67.    1.40    110.00       154.00

 9/1/2021   Jorge Marchand   Work on content development for the radio program script #67.    0.50    175.00        87.50

                             Work on media monitoring for news and articles related to the
 9/1/2021   María Schell                                                                      0.60    110.00        66.00
                             ORC.

                             Communication with Julizzette Colón to discuss about questions
 9/1/2021   Male Noguera                                                                      0.50     95.00        47.50
                             and comments received through the ORC digital platforms.

                             Communication with the voting campaign team, to discuss
 9/1/2021   Jorge Marchand                                                                    0.60    175.00       105.00
                             status and communications strategies.
                             Communication with the MICS team, to discuss about the call
 9/2/2021   Jorge Marchand                                                                    0.70    175.00       122.50
                             center status.
                             Communication with the MICS team, to discuss about the call
 9/2/2021   Male Noguera                                                                      0.70     95.00        66.50
                             center status.
                             Work on content revisions to the draft
 9/2/2021   Ferdinand Díaz                                                                    0.50    125.00        62.50

                             Work on content revisions and edits
 9/2/2021   Jorge Marchand                                                                    0.80    175.00       140.00
                                                   .
 9/2/2021   María Schell     Content editing                                                  0.50    110.00        55.00
                             Communication with journalist
 9/2/2021   Jorge Marchand                                                                    0.20    175.00        35.00
                                                                   .
                             Work with the AARP team on final details for the COR
 9/2/2021   Jorge Marchand                                                                    0.70    175.00       122.50
                             participation on their radio program.
                             Work on media monitoring for news and articles related to the
 9/2/2021   María Schell                                                                      0.50    110.00        55.00
                             ORC.

 9/2/2021   María Schell     Work on pre production and recording of the radio program.       1.40    110.00       154.00

                             Communication with COR members to discuss about the Direct
 9/3/2021   Male Noguera                                                                      0.30     95.00        28.50
                             Mail #2.
                             Communication with the MICS and LinkActiv teams, to discuss
 9/3/2021   Jorge Marchand                                                                    0.30    175.00        52.50
                             about the operation schedule.
                             Communication with the local professionals team to respond to
 9/3/2021   Jorge Marchand   comments and questions received through the ORC digital          0.50    175.00        87.50
                             platforms.
                             Work on media monitoring for news and articles related to the
 9/3/2021   María Schell                                                                      0.40    110.00        44.00
                             ORC.
 9/3/2021   Male Noguera     Communication with Julizzette Colón to discuss status.           0.30     95.00        28.50
                             Work on translation of the Presentation
 9/4/2021   María Schell                                                                      3.30    110.00       363.00
                                                .
 9/4/2021   María Schell     Work on content development                                      1.90    110.00       209.00
                             Work on media monitoring for news and articles related to the
 9/4/2021   María Schell                                                                      0.50    110.00        55.00
                             ORC.
 9/5/2021   María Schell     Work on content development                                      1.80    110.00       198.00
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                            Work on content revisions and edits
9/5/2021   Jorge Marchand                                                                      0.90   175.00       157.50

                            Work on media monitoring for news and articles related to the
9/5/2021   María Schell                                                                        0.50   110.00        55.00
                            ORC.
                            Work on media monitoring for news and articles related to the
9/6/2021   Jorge Marchand                                                                      0.70   175.00       122.50
                            ORC.
                            Work on media monitoring for news and articles related to the
9/6/2021   María Schell                                                                        0.50   110.00        55.00
                            ORC.
                            Communication with the local professionals team, to discuss
9/6/2021   Jorge Marchand                                                                      0.30   175.00        52.50
                            about the radio program recording.

9/6/2021   María Schell     Work on content development                                   .    0.80   110.00        88.00

9/6/2021   María Schell     Work on content development for the radio program script #68.      3.90   110.00       429.00

                            Work on content revisions and edits for the radio program script
9/6/2021   María Schell                                                                        2.00   110.00       220.00
                            #68.
                            Develop weekly conversation report with detailed topics,
9/6/2021   Male Noguera     specific questions and comments received by email and              1.60    95.00       152.00
                            Facebook.
                            Communication with the MICS team, to discuss about
9/6/2021   Jorge Marchand   comments and questions received through the ORC digital            0.50   175.00        87.50
                            platforms.
                            Communication with the voting campaign team, to discuss and
9/7/2021   Jorge Marchand                                                                      0.40   175.00        70.00
                            plan for the next status meeting with Prime Clerk.
                            Work on content development for the Prime Clerk meeting
9/7/2021   María Schell                                                                        0.20   110.00        22.00
                            agenda.
                            Work on media monitoring for news and articles related to the
9/7/2021   María Schell                                                                        0.60   110.00        66.00
                            ORC.
                            Work on content revisions and edits for the radio program script
9/7/2021   María Schell                                                                        1.00   110.00       110.00
                            #68.
                            Work on media monitoring for news and articles related to the
9/8/2021   Jorge Marchand                                                                      0.50   175.00        87.50
                            ORC.
                            Work on media monitoring for news and articles related to the
9/8/2021   María Schell                                                                        0.50   110.00        55.00
                            ORC.
                            Communication with the ORC members, to provide information
9/8/2021   Jorge Marchand                                                                      0.30   175.00        52.50
                            on the campaign advertising schedule.
                            Work on research and revisions                     provided by
9/8/2021   Jorge Marchand                                                                      0.40   175.00        70.00
                            Prime Clerk.
                            Communication with the professionals team, to discuss about
9/8/2021   Jorge Marchand                                                                      1.30   175.00       227.50
                            the retiree lists provided by Prime Clerk.

                            Communication with Julizzette Colón to discuss about questions
9/8/2021   Male Noguera                                                                        0.90    95.00        85.50
                            and comments received through the ORC digital platforms.

                            Communication with retirees, to respond information request
9/8/2021   Male Noguera                                                                        0.40    95.00        38.00
                            calls.
                            Communication with the local professionals team, to respond
9/9/2021   Jorge Marchand   comments and questions received through the ORC digital            0.50   175.00        87.50
                            platforms.
                            Work on pre production and recording of the radio program
9/9/2021   Jorge Marchand                                                                      1.40   175.00       245.00
                            #68.
                            Communication with the ORC members, to send copy of the
9/9/2021   Jorge Marchand                                                                      0.20   175.00        35.00
                            promotional videos.
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                            Communication with the voting campaign team, to discuss
9/9/2021   Jorge Marchand                                                                      0.10   175.00        17.50
                            about the campaign budget tracking.

                            Communication with journalist
9/9/2021   Jorge Marchand                                                                      0.20   175.00        35.00


                            Work on media monitoring for news and articles related to the
9/10/2021 Ferdinand Díaz                                                                       0.40   125.00        50.00
                            ORC.
                            Communication with the professionals team, to discuss
9/10/2021 Jorge Marchand                                                                       0.30   175.00        52.50
                                           provided by Prime Clerk.
9/10/2021 Male Noguera      Develop weekly conversation summary.                               1.20    95.00       114.00
                            Communication with the MICS team to review comments and
9/10/2021 Jorge Marchand                                                                       0.40   175.00        70.00
                            questions received through the ORC digital platforms.
                            Work on media monitoring for news and articles related to the
9/10/2021 María Schell                                                                         0.50   110.00        55.00
                            ORC.
                            Communication with the voting campaign team to discuss
9/10/2021 Male Noguera                                                                         1.60    95.00       152.00
                            status.

9/10/2021 Male Noguera      Work on analysis and summary                                       0.70    95.00        66.50

                            Communication with LinkActiv team, to answer questions from
9/10/2021 Male Noguera                                                                         0.30    95.00        28.50
                            the Information Center operators.
                            Work on media monitoring for news and articles related to the
9/11/2021 Jorge Marchand                                                                       0.40   175.00        70.00
                            ORC.
                            Communication with the MICS team to discuss status and
9/11/2021 Jorge Marchand                                                                       0.50   175.00        87.50
                            communication strategies.

                            Work on content research
9/13/2021 Jorge Marchand                                                                       1.10   175.00       192.50
                                                                                  .

9/13/2021 Jorge Marchand    Work on content development for email drop.                        0.80   175.00       140.00
9/13/2021 Jorge Marchand    Work on content development for the radio program script.          0.60   175.00       105.00

9/13/2021 María Schell      Work on content research for the radio program script #69.         2.00   110.00       220.00

9/13/2021 María Schell      Work on content development for the radio program script #69.      3.90   110.00       429.00

                            Work on content revisions and edits for the radio program script
9/13/2021 María Schell                                                                         2.80   110.00       308.00
                            #69.
                            Work on media monitoring for news and articles related to the
9/13/2021 María Schell                                                                         0.50   110.00        55.00
                            ORC.
                            Communication with LinkActiv team, to answer questions from
9/13/2021 Male Noguera                                                                         0.50    95.00        47.50
                            the Information Center operators.

                            Communication with Julizzette Colón to discuss about questions
9/13/2021 Male Noguera                                                                         0.30    95.00        28.50
                            and comments received through the ORC digital platforms.

9/13/2021 Male Noguera      Communication with the MICS team to discuss about status.          0.40    95.00        38.00

                            Communication with the voting campaign team, to discuss
9/13/2021 Jorge Marchand                                                                       1.20   175.00       210.00
                            about status and communications strategies.
                            Communication with the voting campaign team, to discuss
9/13/2021 María Schell                                                                         1.50   110.00       165.00
                            about status and communications strategies.

9/14/2021 Jorge Marchand    Work on content revisions and edits to the radio program script.   0.40   175.00        70.00

                            Work on media monitoring for news and articles related to the
9/14/2021 Jorge Marchand                                                                       0.60   175.00       105.00
                            ORC.
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                           Work on media monitoring for news and articles related to the
9/14/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.
                           Communication with the Facebook team,
9/14/2021 Male Noguera                                                                        0.60    95.00        57.00

9/14/2021 María Schell     Work on content development for the radio program script.          3.70   110.00       407.00

                           Communication with the voting campaign team, to discuss
9/14/2021 Jorge Marchand                                                                      1.10   175.00       192.50
                           about status and communications strategies.
                           Communication with the voting campaign team, to discuss
9/14/2021 Male Noguera                                                                        1.30    95.00       123.50
                           about status and communications strategies.
                           Communication with the voting campaign team, to discuss
9/15/2021 Jorge Marchand                                                                      1.20   175.00       210.00
                           about status and communications strategies.
                           Work on content development of promotional insert for
9/15/2021 Jorge Marchand   distribution to retiree groups and organization, to promote the    1.00   175.00       175.00
                           COR agreement.

9/15/2021 Jorge Marchand   Work on content development for the radio program script.          0.50   175.00        87.50

                           Participation on radio program at "Radio Paz" station, with
9/15/2021 Jorge Marchand   Francisco del Castillo, to discuss about the COR agreement and     0.50   175.00        87.50
                           voting process.
                           Work on media monitoring for news and articles related to the
9/15/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.
                           Communication with the voting campaign team, to discuss
9/15/2021 Male Noguera                                                                        1.60    95.00       152.00
                           about status and communications strategies.

                           Communications with the professionals team, to discuss next
9/15/2021 Male Noguera                                                                        0.60    95.00        57.00
                           steps and solve issues with the mailing of the voting materials.

                           Work on media monitoring for news and articles related to the
9/16/2021 Ferdinand Díaz                                                                      0.60   125.00        75.00
                           ORC.
                           Work on media monitoring for news and articles related to the
9/16/2021 María Schell                                                                        0.50   110.00        55.00
                           ORC.
                           Work on pre production and recording of the radio program
9/16/2021 Jorge Marchand                                                                      1.30   175.00       227.50
                           #69.
                           Communication with the voting campaign team, to discuss
9/16/2021 Jorge Marchand                                                                      1.40   175.00       245.00
                           about status and communications strategies.

                           Communication with the MICS team to discuss about comments
9/16/2021 Jorge Marchand                                                                      0.60   175.00       105.00
                           and questions received through the ORC digital platforms.

                           Communication with the professionals team
9/16/2021 Jorge Marchand                                                                      0.50   175.00        87.50

9/16/2021 María Schell     Work on content development for the COR                            2.70   110.00       297.00

                           Communication with Julizzette Colón to discuss about questions
9/16/2021 Male Noguera                                                                        0.50    95.00        47.50
                           and comments received through the ORC digital platforms.

                           Communication with the voting campaign team, to discuss
9/17/2021 Jorge Marchand                                                                      1.40   175.00       245.00
                           about status and communications strategies.

                           Communication with the professionals team, to discuss details
9/17/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                           in preparation for the status meeting with Prime Clerk.

                           Develop weekly conversation report to detailed topics, specific
9/17/2021 Male Noguera                                                                        0.80    95.00        76.00
                           questions and comments received by email and Facebook.
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                           Communication with the MICS team, to discuss about
9/17/2021 Jorge Marchand   comments and questions received through the ORC digital           0.60   175.00       105.00
                           platforms.
                           Work on media monitoring for news and articles related to the
9/17/2021 Jorge Marchand                                                                     0.40   175.00        70.00
                           ORC.
                           Work on media monitoring for news and articles related to the
9/17/2021 María Schell                                                                       0.40   110.00        44.00
                           ORC.
                           Monitor the FOMB public meeting, to assess topics related to
9/17/2021 Jorge Marchand                                                                     2.20   175.00       385.00
                           the ORC.
                           Monitor the FOMB public meeting, to assess topics related to
9/17/2021 María Schell                                                                       2.20   110.00       242.00
                           the ORC.
                           Monitor the FOMB public meeting, to assess topics related to
9/17/2021 Male Noguera                                                                       1.00    95.00        95.00
                           the ORC.
                           Communication with retirees, to respond information request
9/17/2021 Jorge Marchand                                                                     0.40   175.00        70.00
                           calls.

                           Communication with Julizzette Colón to discuss about questions
9/17/2021 Male Noguera                                                                       0.40    95.00        38.00
                           and comments received through the ORC digital platforms.

                           Work on content development
9/17/2021 Male Noguera                                                                       1.30    95.00       123.50

                           Communication with the COR members to provide information
9/17/2021 Male Noguera                                                                       0.40    95.00        38.00
                           on the voting services.
                           Communication with the ORC members,
9/20/2021 Jorge Marchand                                                                     0.50   175.00        87.50

                           Communication with retirees, to respond information request
9/20/2021 Jorge Marchand                                                                     0.20   175.00        35.00
                           calls.
                           Work on media monitoring for news and articles related to the
9/20/2021 Jorge Marchand                                                                     0.80   175.00       140.00
                           ORC.
                           Work on media monitoring for news and articles related to the
9/20/2021 María Schell                                                                       0.50   110.00        55.00
                           ORC.
                           Communication with the voting campaign team, to discuss
9/20/2021 Jorge Marchand                                                                     0.70   175.00       122.50
                           about communications strategies.

9/20/2021 María Schell     Work on content research for the radio program script #70.        2.90   110.00       319.00

9/20/2021 María Schell     Work on content development for the radio program script #70.     3.40   110.00       374.00

                           Work on content revisions and edits to the radio program script
9/20/2021 María Schell                                                                       1.70   110.00       187.00
                           #70.
                           Work on media monitoring for news and articles related to the
9/21/2021 Ferdinand Díaz                                                                     0.40   125.00        50.00
                           ORC.
                           Work on media monitoring for news and articles related to the
9/21/2021 María Schell                                                                       0.50   110.00        55.00
                           ORC.
                           Work on content development
9/21/2021 María Schell                                                                       1.60   110.00       176.00

                           Work on the translation of messages from the legal team to
9/21/2021 María Schell                                                                       1.00   110.00       110.00
                           COR members .

                           Communication with Julizzette Colón to discuss about questions
9/21/2021 Male Noguera                                                                       0.40    95.00        38.00
                           and comments received through the ORC digital platforms.

9/21/2021 Jorge Marchand   Communication with the MICS team, to discuss status.              0.60   175.00       105.00
9/21/2021 Male Noguera     Communication with the MICS team, to discuss status.              0.60    95.00        57.00
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9/22/2021 Jorge Marchand   Work on pre production and recording of the radio program.       1.50   175.00       262.50

                           Communication with the MICS team to review comments and
9/22/2021 Jorge Marchand                                                                    1.20   175.00       210.00
                           questions received through the ORC digital platforms.
                           Communication with the MICS team to discuss about the call
9/22/2021 Jorge Marchand                                                                    0.50   175.00        87.50
                           center metrics.
                           Communication with retirees, to respond information request
9/22/2021 Jorge Marchand                                                                    0.90   175.00       157.50
                           calls.
                           Communication with retirees, to respond information request
9/22/2021 María Schell                                                                      0.60   110.00        66.00
                           calls.
9/22/2021 María Schell     Work on the translation of campaign material.                    3.30   110.00       363.00
9/22/2021 María Schell     Work on content revisions to the campaign material.              1.90   110.00       209.00
                           Communication with the MICS team to discuss status and
9/22/2021 María Schell                                                                      1.70   110.00       187.00
                           communication strategies.
                           Communication with the voting campaign team, to discuss
9/22/2021 María Schell                                                                      1.50   110.00       165.00
                           about communications strategies.
                           Work on media monitoring for news and articles related to the
9/22/2021 María Schell                                                                      0.50   110.00        55.00
                           ORC.

                           Communication with Julizzette Colón to discuss about questions
9/22/2021 Male Noguera                                                                      0.40    95.00        38.00
                           and comments received through the ORC digital platforms.

                           Communication with the ORC members,
9/23/2021 Jorge Marchand                                                                    0.60   175.00       105.00

                           Work on media monitoring for news and articles related to the
9/23/2021 Jorge Marchand                                                                    1.40   175.00       245.00
                           ORC.
                           Work on media monitoring for news and articles related to the
9/23/2021 María Schell                                                                      0.40   110.00        44.00
                           ORC.
                           Communication with the voting campaign team, to discuss
9/23/2021 Jorge Marchand                                                                    1.70   175.00       297.50
                           about communications strategies.
                           Work on revisions and edits to content for publication on the
9/23/2021 Jorge Marchand                                                                    0.50   175.00        87.50
                           ORC digital platforms.
                           Communication with the voting campaign team, to discuss
9/23/2021 Jorge Marchand                                                                    0.30   175.00        52.50
                           about the updated statistics for the voting process.

                           Communication with Julizzette Colón to discuss about questions
9/23/2021 Male Noguera                                                                      0.40    95.00        38.00
                           and comments received through the ORC digital platforms.

                           Work on content development for the voting campaign
9/23/2021 Male Noguera                                                                      0.70    95.00        66.50
                           materials.
                           Communication with retirees, to respond information request
9/23/2021 María Schell                                                                      1.20   110.00       132.00
                           calls.
                           Work on media monitoring for news and articles related to the
9/24/2021 Jorge Marchand                                                                    0.90   175.00       157.50
                           ORC.
                           Work on media monitoring for news and articles related to the
9/24/2021 María Schell                                                                      0.50   110.00        55.00
                           ORC.
                           Communication with the ORC members, to send clippings and
9/24/2021 Jorge Marchand   radio program segments recorded, with public discussion          0.70   175.00       122.50
                           related to the COR.
                           Communication with the voting campaign team, to discuss
9/24/2021 Jorge Marchand                                                                    0.70   175.00       122.50
                           status.
                           Communication with retirees, to respond information request
9/24/2021 Jorge Marchand                                                                    0.80   175.00       140.00
                           calls.
9/24/2021 María Schell     Visit to the voting facility inspection.                         1.00   110.00       110.00
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                           Communication with retirees, to respond information request
9/24/2021 María Schell                                                                      1.10   110.00       121.00
                           calls.
                           Communication with the MICS team to discuss status and
9/24/2021 Male Noguera                                                                      0.40    95.00        38.00
                           communication strategies.
                           Communication with the voting campaign team, to discuss
9/24/2021 Male Noguera                                                                      0.20    95.00        19.00
                           about status.
                           Work on media monitoring for news and articles related to the
9/25/2021 Jorge Marchand                                                                    0.80   175.00       140.00
                           ORC.
                           Work on media monitoring for news and articles related to the
9/25/2021 María Schell                                                                      0.50   110.00        55.00
                           ORC.
                           Communication with the professionals team
9/25/2021 Jorge Marchand                                                                    1.20   175.00       210.00

9/25/2021 María Schell     Work on content development                            .         1.50   110.00       165.00
                           Work on content revisions and edits
9/25/2021 Jorge Marchand                                                                    0.90   175.00       157.50

9/26/2021 María Schell     Work on content development for the radio program script #71.    3.80   110.00       418.00

                           Work on media monitoring for news and articles related to the
9/26/2021 María Schell                                                                      0.60   110.00        66.00
                           ORC.
                           Work on media monitoring for news and articles related to the
9/27/2021 Ferdinand Díaz                                                                    0.50   125.00        62.50
                           ORC.
                           Work on media monitoring for news and articles related to the
9/27/2021 María Schell                                                                      1.80   110.00       198.00
                           ORC.
                           Work on content revisions and edits
9/27/2021 Jorge Marchand                                                                    0.50   175.00        87.50

                           Work on content revisions and edits to the voting campaign
9/27/2021 Jorge Marchand                                                                    0.90   175.00       157.50
                           promotional material.
                           Communication with local news platforms,
9/27/2021 Jorge Marchand                                                                    1.00   175.00       175.00

                           Communication
9/27/2021 Jorge Marchand                                                                    0.50   175.00        87.50

                           Communication with the voting campaign team, to discuss
9/27/2021 Jorge Marchand                                                                    1.70   175.00       297.50
                           about status and communications strategies.
                           Communication with the MICS team to revise and approve
9/27/2021 Jorge Marchand                                                                    1.30   175.00       227.50
                           content for publication on the ORC.
                           Work on content revisions and edits to the voting campaign
9/27/2021 María Schell                                                                      1.60   110.00       176.00
                           promotional material.
                           Work on content development for the voting campaign
9/27/2021 María Schell                                                                      3.20   110.00       352.00
                           materials.

9/27/2021 María Schell     Work on content development for the radio program script #71.    3.10   110.00       341.00

                           Follow up communication with the Facebook team
9/27/2021 Male Noguera                                                                      0.40    95.00        38.00

                           Communication with the voting campaign team, to discuss
9/27/2021 Male Noguera                                                                      1.30    95.00       123.50
                           about status and communications strategies.
                           Communication with the MICS team,
9/27/2021 Male Noguera                                                                      0.50    95.00        47.50
                                    .

                           Communication with Julizzette Colón to discuss about questions
9/27/2021 Male Noguera                                                                      0.60    95.00        57.00
                           and comments received through the ORC digital platforms.

                           Work on content development
9/28/2021 María Schell                                                                      3.00   110.00       330.00
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                           Communication with retirees, to respond information request
9/28/2021 María Schell                                                                       0.40    110.00        44.00
                           calls.

9/28/2021 María Schell     Work on translation edits                                         2.20    110.00       242.00

                           Work on media monitoring for news and articles related to the
9/28/2021 María Schell                                                                       0.50    110.00        55.00
                           ORC.

                           Communication with Julizzette Colón to discuss about questions
9/28/2021 Male Noguera                                                                       0.50     95.00        47.50
                           and comments received through the ORC digital platforms.

                           Conference call with the LinkActiv team, to answer questions
9/28/2021 Male Noguera                                                                       0.50     95.00        47.50
                           from the Information Center operators.
                           Work on content revisions to advertising material, after the
9/28/2021 Male Noguera                                                                       0.20     95.00        19.00
                           change in the threshold.
                           Work on media monitoring for news and articles related to the
9/29/2021 Ferdinand Díaz                                                                     0.50    125.00        62.50
                           ORC.
                           Work on media monitoring for news and articles related to the
9/29/2021 María Schell                                                                       0.50    110.00        55.00
                           ORC.
                           Work on content revisions to the frequently asked questions
9/29/2021 María Schell                                                                       0.50    110.00        55.00
                           document.

9/29/2021 María Schell     Work on the translation                                     .     1.50    110.00       165.00

9/29/2021 María Schell     Work on content development for the radio program script.         2.50    110.00       275.00

                           Communication with Julizzette Colón to discuss about questions
9/29/2021 Male Noguera                                                                       0.30     95.00        28.50
                           and comments received through the ORC digital platforms.

                           Communication with the professionals team to discuss status
9/29/2021 Male Noguera                                                                       0.80     95.00        76.00
                           and communication strategies.
                           Communication with Lauren Smotkin from FTI to discuss about
9/29/2021 Male Noguera                                                                       0.30     95.00        28.50
                           the budget for Digital Ads.
                           Work on media monitoring for news and articles related to the
9/30/2021 Ferdinand Díaz                                                                     0.50    125.00        62.50
                           ORC.
                           Work on media monitoring for news and articles related to the
9/30/2021 María Schell                                                                       0.50    110.00        55.00
                           ORC.

9/30/2021 Jorge Marchand   Work on pre production and recording of the radio program.        1.50    175.00       262.50

                           Monitoring House of Representatives hearing,
9/30/2021 María Schell                                                                       0.50    110.00        55.00

9/30/2021 María Schell     Work on content development                                       2.60    110.00       286.00

                           Work on content revisions and edits
9/30/2021 María Schell                                                                       1.20    110.00       132.00

                           Communication with the MICS team to discuss about the
9/30/2021 Male Noguera                                                                       0.40     95.00        38.00
                           communications strategies and status.

9/30/2021 María Schell     Work on review and analysis of the campaign reach metrics.        0.30    110.00        33.00

                                                                                            188.70              24,080.50
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                                                 Fee Summary: Hours       Rate      Value ($)
                                                 Ferdinand Díaz    3.40   125.00       425.00
                                                Jorge Marchand 56.60      175.00     9,905.00
                                                Julizzette Colón    -      70.00           -
                                                  Male Noguera 27.10       95.00     2,574.50
                                                    María Schell 101.60   110.00    11,176.00
                                                                 188.70             24,080.50
      Case:17-03283-LTS Doc#:19226-7 Filed:11/15/21 Entered:11/15/21 18:36:03                                     Desc:
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                                                   Marchand ICS Group
                   Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                       Professional Services for the Period from September 1 to September 30, 2021


Detail of Content and Material Development for the Media Platforms and Media Management
   Date            Staff                             Description                       Hours             Rate      Value ($)
 9/1/2021 Male Noguera       Facebook page conversation management and monitoring.      0.90              95.00        85.50

                               Update COR webpage with: Information Center phone number,
 9/1/2021   Male Noguera                                                                          1.80   95.00        171.00
                               text about calculator, among other things related to design.

 9/1/2021   Male Noguera       Publish 4 Facebook Ads: Round #1.                                  1.70   95.00        161.50
 9/1/2021   Julizzette Colón   Facebook Page Conversation Management & Monitoring.                1.00   70.00         70.00
                               Facebook page conversation management and monitoring (high
 9/2/2021   Male Noguera                                                                          4.80   95.00        456.00
                               volume because of the voting campaign).
                               Check COR's email and webpage to manage questions and
 9/2/2021   Male Noguera                                                                          0.40   95.00         38.00
                               comments received.
                               Design and schedule email to inform about to Information
 9/2/2021   Male Noguera                                                                          0.80   95.00         76.00
                               Center phone number to registers.
                               Design image with voting ballot to include on the voting page
 9/3/2021   Male Noguera                                                                          0.50   95.00         47.50
                               on the COR webpage.
 9/3/2021   Male Noguera       Upload voting ballot image to the COR webpage.                     0.20   95.00         19.00
 9/3/2021   Male Noguera       Facebook page conversation management and monitoring.              1.60   95.00        152.00
                               Facebook Page Conversation Management & Monitoring (high
 9/3/2021   Julizzette Colón                                                                      3.60   70.00        252.00
                               volume because of the voting campaign).
 9/4/2021   Male Noguera       Facebook page conversation management and monitoring.              2.30   95.00        218.50
 9/4/2021   Male Noguera       Upload Miguel Fabre's column to webpage.                           0.40   95.00         38.00
 9/4/2021   Male Noguera       Share Miguel Fabre's column on Facebook.                           0.20   95.00         19.00
                               Design and send email drop to voters with Miguel Fabre's
 9/4/2021   Male Noguera                                                                          0.50   95.00         47.50
                               column.
 9/5/2021   Male Noguera       Facebook page conversation management and monitoring.              0.90   95.00         85.50
                               Facebook page conversation management and monitoring (high
 9/6/2021   Male Noguera                                                                          5.50   95.00        522.50
                               volume because of the voting campaign).
                               Check COR's email and webpage to manage questions and
 9/6/2021   Male Noguera                                                                          3.60   95.00        342.00
                               comments received.
 9/6/2021   Male Noguera       Design and schedule email: Direct Mail Round #2.                   0.50   95.00         47.50
 9/7/2021   Male Noguera       Facebook page conversation management and monitoring.              0.50   95.00         47.50
                               Facebook Page Conversation Management & Monitoring (high
 9/7/2021   Julizzette Colón                                                                      8.60   70.00        602.00
                               volume because of the voting campaign).
 9/8/2021   Male Noguera       Facebook page conversation management and monitoring.              1.00   95.00         95.00
                               Facebook Page Conversation Management & Monitoring (high
 9/8/2021   Julizzette Colón                                                                      6.40   70.00        448.00
                               volume because of the voting campaign).
                               Write, design and schedule email to registers and voters: Survey
 9/9/2021   Male Noguera                                                                          0.90   95.00         85.50
                               - Have you received the voting materials?
 9/9/2021   Male Noguera       Facebook page conversation management and monitoring.              1.00   95.00         95.00
                               Check COR's email and webpage to manage questions and
 9/9/2021   Male Noguera                                                                          1.80   95.00        171.00
                               comments received.
 9/9/2021 Julizzette Colón     Facebook Page Conversation Management & Monitoring.                7.50   70.00        525.00
 9/10/2021 Male Noguera        Facebook page conversation management and monitoring.              1.80   95.00        171.00
                               Facebook Page Conversation Management & Monitoring (high
 9/10/2021 Julizzette Colón                                                                       5.10   70.00        357.00
                               volume because of the voting campaign).
                               Check COR's message form on webpage and manage questions
 9/11/2021 Male Noguera                                                                           0.50   95.00         47.50
                               and comments received.
 9/11/2021 Julizzette Colón    Facebook Page Conversation Management & Monitoring.                3.00   70.00        210.00
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                               Facebook Page Conversation Management & Monitoring (high
9/12/2021 Julizzette Colón                                                                         3.20   70.00       224.00
                               volume because of the voting campaign).
                               Write, design and send email drop to voters and registers: ¿Qué
9/13/2021 Male Noguera         hacer si no has recibido los materiales para votar por el Plan de   0.90   95.00        85.50
                               Ajuste?

                               Design Facebook post based on email drop: ¿Qué hacer si no
9/13/2021 Male Noguera                                                                             0.70   95.00        66.50
                               has recibido los materiales para votar por el Plan de Ajuste?

9/13/2021   Male Noguera       Facebook page conversation management and monitoring.               3.20   95.00       304.00
9/13/2021   Male Noguera       Publish Facebook post.                                              0.20   95.00        19.00
9/13/2021   Julizzette Colón   Facebook Page Conversation Management & Monitoring.                 5.30   70.00       371.00
9/14/2021   Male Noguera       Facebook page conversation management and monitoring.               1.00   95.00        95.00
                               Check COR's email and webpage to manage questions and
9/14/2021 Male Noguera                                                                             1.00   95.00        95.00
                               comments received.
                               Update voting unique page on the COR webpage to include
9/14/2021 Male Noguera         FAQ and information about retirees not receiving the voting         0.80   95.00        76.00
                               ballots.
9/14/2021 Male Noguera         Design post to promote Radio Show #69 on Facebook.                  0.60   95.00        57.00
                               Facebook Page Conversation Management & Monitoring (high
9/14/2021 Julizzette Colón                                                                         5.30   70.00       371.00
                               volume because of the voting campaign).
9/15/2021 Male Noguera         Monitor conversation via Mentionlytics.                             0.80   95.00        76.00
9/15/2021 Male Noguera         Facebook page conversation management and monitoring.               0.30   95.00        28.50
                               Check COR's email and webpage to manage questions and
9/15/2021 Male Noguera                                                                             1.00   95.00        95.00
                               comments received.
                               Design image based on post to share Radio Show #69 on
9/15/2021 Male Noguera                                                                             0.30   95.00        28.50
                               WhatsApp.
                               Design email drop to promote Radio Show #69 and send to
9/15/2021 Male Noguera                                                                             0.70   95.00        66.50
                               registers and voters.
9/15/2021 Male Noguera         Facebook page conversation management and monitoring.               1.40   95.00       133.00
                               Facebook Page Conversation Management & Monitoring (high
9/15/2021 Julizzette Colón                                                                         5.00   70.00       350.00
                               volume because of the voting campaign).
9/16/2021 Male Noguera         Facebook page conversation management and monitoring.               5.90   95.00       560.50
9/16/2021 Male Noguera         Monitor conversation via Mentionlytics.                             0.60   95.00        57.00
                               Facebook Page Conversation Management & Monitoring (high
9/16/2021 Julizzette Colón                                                                         5.20   70.00       364.00
                               volume because of the voting campaign).
                               Upload text and charts to the COR webpage: "Aumenta el tope
9/17/2021 Male Noguera                                                                             0.50   95.00        47.50
                               de protección de los pensionados a $2,000 al mes".
9/17/2021 Male Noguera         Facebook page conversation management and monitoring.               6.60   95.00       627.00
                               Facebook Page Conversation Management & Monitoring (high
9/17/2021 Julizzette Colón                                                                         4.00   70.00       280.00
                               volume because of the voting campaign).
9/17/2021   Male Noguera       Monitor conversation via Mentionlytics.                             0.60   95.00        57.00
9/18/2021   Male Noguera       Facebook page conversation management and monitoring.               0.70   95.00        66.50
9/19/2021   Male Noguera       Facebook page conversation management and monitoring.               0.60   95.00        57.00
9/20/2021   Male Noguera       Facebook page conversation management and monitoring.               0.80   95.00        76.00
9/20/2021   Male Noguera       Monitor conversation via Mentionlytics.                             0.40   95.00        38.00
                               Check COR's message form on webpage and manage questions
9/20/2021 Male Noguera                                                                             1.40   95.00       133.00
                               and comments received.
                               Facebook content creation: search for stock images, write text
9/20/2021 Male Noguera                                                                             3.80   95.00       361.00
                               and design (static images and video).
                               Facebook Page Conversation Management & Monitoring (high
9/20/2021 Julizzette Colón                                                                         6.10   70.00       427.00
                               volume because of the voting campaign).
                               Check COR's email and manage questions and comments
9/21/2021 Male Noguera                                                                             5.50   95.00       522.50
                               received.
9/21/2021 Male Noguera         Facebook page conversation management and monitoring.               0.90   95.00        85.50
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9/21/2021 Julizzette Colón   Facebook Page Conversation Management & Monitoring.                 6.50   70.00       455.00
9/22/2021 Male Noguera       Monitor conversation via Mentionlytics.                             0.50   95.00        47.50
9/22/2021 Male Noguera       Facebook page conversation management and monitoring.               2.90   95.00       275.50
                             Check COR's email and manage questions and comments
9/22/2021 Male Noguera                                                                           4.20   95.00       399.00
                             received.
                             Facebook Page Conversation Management & Monitoring (high
9/22/2021 Julizzette Colón                                                                       5.90   70.00       413.00
                             volume because of the voting campaign).
9/23/2021 Male Noguera       Facebook page conversation management and monitoring.               2.30   95.00       218.50
                             Upload Press Release to COR's webpage: COR RADICA
                             MOCIÓN EN EL TRIBUNAL FEDERAL SOLICITANDO
9/23/2021 Male Noguera                                                                           0.40   95.00        38.00
                             MÁS TIEMPO PARA QUE LOS RETIRADOS PUEDAN
                             VOTAR SOBRE EL PLAN DE AJUSTE.
                             Publish Press Release on Facebook: COR RADICA MOCIÓN
                             EN EL TRIBUNAL FEDERAL SOLICITANDO MÁS
9/23/2021 Male Noguera                                                                           0.30   95.00        28.50
                             TIEMPO PARA QUE LOS RETIRADOS PUEDAN VOTAR
                             SOBRE EL PLAN DE AJUSTE.
                             Design and send email drop to retirees: COR RADICA
                             MOCIÓN EN EL TRIBUNAL FEDERAL SOLICITANDO
9/23/2021 Male Noguera                                                                           0.40   95.00        38.00
                             MÁS TIEMPO PARA QUE LOS RETIRADOS PUEDAN
                             VOTAR SOBRE EL PLAN DE AJUSTE.
                             Publish Press Release on LinkedIn: COR RADICA MOCIÓN
                             EN EL TRIBUNAL FEDERAL SOLICITANDO MÁS
9/23/2021 Male Noguera                                                                           0.20   95.00        19.00
                             TIEMPO PARA QUE LOS RETIRADOS PUEDAN VOTAR
                             SOBRE EL PLAN DE AJUSTE.
                             Facebook Page Conversation Management & Monitoring (high
9/23/2021 Julizzette Colón                                                                       6.70   70.00       469.00
                             volume because of the voting campaign).
9/24/2021 Male Noguera       Facebook page conversation management and monitoring.               1.80   95.00       171.00
9/24/2021 Male Noguera       Edit video about how to vote by e-Ballot                        .   1.80   95.00       171.00

                             Adapt size and design of video post about how to vote by e-
9/24/2021 Male Noguera                                                                           1.20   95.00       114.00
                             Ballot to publish rectangular on Facebook and Website.
                             Facebook Page Conversation Management & Monitoring (high
9/24/2021 Julizzette Colón                                                                       6.00   70.00       420.00
                             volume because of the voting campaign).
9/25/2021 Male Noguera       Facebook page conversation management and monitoring.               1.30   95.00       123.50

                             Update note to include the latest information about the FOMB's
                             approval to extend the voting date to retirees: COR RADICA
9/25/2021 Male Noguera       MOCIÓN EN EL TRIBUNAL FEDERAL SOLICITANDO                           0.30   95.00        28.50
                             MÁS TIEMPO PARA QUE LOS RETIRADOS PUEDAN
                             VOTAR SOBRE EL PLAN DE AJUSTE.

                             Design and send email drop to with the latest information about
9/25/2021 Male Noguera                                                                           0.50   95.00        47.50
                             the FOMB's approval to extend the voting date to retirees.

                             Design Facebook post with the latest information about the
9/26/2021 Male Noguera                                                                           0.30   95.00        28.50
                             FOMB's approval to extend the voting date to retirees.
9/26/2021 Male Noguera       Facebook page conversation management and monitoring.               2.70   95.00       256.50
9/26/2021 Male Noguera       Facebook page posting.                                              0.20   95.00        19.00

                             Facebook posting (repost video - how to vote electronically -
9/27/2021 Male Noguera                                                                           0.30   95.00        28.50
                                                                         ).

                             Publish Facebook Ads (voting page and calculator): audience,
9/27/2021 Male Noguera                                                                           0.80   95.00        76.00
                             timing and budget.
9/27/2021 Male Noguera       Update FAQ section on voting page on the COR's website              0.30   95.00        28.50
9/27/2021 Male Noguera       Facebook page conversation management and monitoring.               3.60   95.00       342.00
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                             Facebook Page Conversation Management & Monitoring (high
9/27/2021 Julizzette Colón                                                                    6.10     70.00       427.00
                             volume because of the voting campaign).
9/28/2021 Male Noguera       Facebook page conversation management and monitoring.            0.40     95.00        38.00
                             Check COR's email and manage questions and comments
9/28/2021 Male Noguera                                                                        3.30     95.00       313.50
                             received.
                             Facebook Page Conversation Management & Monitoring (high
9/28/2021 Julizzette Colón                                                                    5.90     70.00       413.00
                             volume because of the voting campaign).
9/29/2021 Male Noguera       Facebook page conversation management and monitoring.            3.50     95.00       332.50
                             Facebook Page Conversation Management & Monitoring (high
9/29/2021 Julizzette Colón                                                                    3.60     70.00       252.00
                             volume because of the voting campaign).
9/30/2021 Male Noguera       Facebook page conversation management and monitoring.            4.20     95.00       399.00
                             Search for stock image to include to Blanca Paniagua's column
9/30/2021 Male Noguera                                                                        0.50     95.00        47.50
                             on webpage.
9/30/2021 Male Noguera       Upload Blanca Paniagua's column to webpage.                      0.60     95.00        57.00
                             Design and send email drop with Blanca Paniagua's column to
9/30/2021 Male Noguera                                                                        0.40     95.00        38.00
                             send to voters.
9/30/2021 Male Noguera       Post Blanca Paniagua's column on Facebook.                       0.20     95.00        19.00
9/30/2021 Male Noguera       Boost Facebook post.                                             0.20     95.00        19.00
9/30/2021 Male Noguera       Post Blanca Paniagua's column on LinkedIn.                       0.10     95.00         9.50
                             Check COR's email and manage questions and comments
9/30/2021 Male Noguera                                                                        1.30     95.00       123.50
                             received.
9/30/2021 Male Noguera       Monitor conversation via Mentionlytics.                          0.70     95.00        66.50
                             Facebook Page Conversation Management & Monitoring (high
9/30/2021 Julizzette Colón                                                                    4.90     70.00       343.00
                             volume because of the voting campaign).
                             Update Email section on Workflow Tracker of voting
9/30/2021 Male Noguera                                                                        0.40     95.00        38.00
                             campaign.
                                                                                             232.30              19,196.00




                                                                            Fee Summary: Hours        Rate      Value ($)
                                                                            Ferdinand Díaz     -      125.00           -
                                                                           Jorge Marchand      -      175.00           -
                                                                           Julizzette Colón 114.90     70.00     8,043.00
                                                                             Male Noguera 117.40       95.00    11,153.00
                                                                               María Schell    -      110.00           -
                                                                                            232.30              19,196.00
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                                                   Marchand ICS Group
                   Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC/COR)
                       Professional Services for the Period from September 1 to September 30, 2021


Detail of Content Development and Project Management for the Voting Campaign
   Date            Staff                             Description                            Hours   Rate      Value ($)
                            Work on content development regarding the solicitation
 9/1/2021 María Schell                                                                      2.60    110.00       286.00
                            process.
 9/1/2021 María Schell      Work on content development for the voting campaign.            1.00    110.00       110.00
                            Communication with the voting campaign team to discuss about
 9/1/2021 Male Noguera                                                                      0.70     95.00        66.50
                            the digital ads.
                            Work on content revisions and edits to the Direct Mail Round
 9/1/2021 Male Noguera                                                                      0.60     95.00        57.00
                            #2.
                            Communication with the LinkActiv team to discuss status and
 9/1/2021 María Schell                                                                      0.50    110.00        55.00
                            communications strategies.
                            Work with the MICS and LinkActiv teams, to discuss and
 9/2/2021 Jorge Marchand address issues regarding the first week of operation for the COR   1.30    175.00       227.50
                            Call Center/Information Center.
                            Communication with the voting campaign team, to discuss
 9/2/2021 Jorge Marchand                                                                    0.80    175.00       140.00
                            about the second round of direct mail.

 9/2/2021   María Schell     Work on content development for the outbound messages draft.   1.00    110.00       110.00

                             Work on content revisions and approval of the campaign
 9/2/2021   Male Noguera                                                                    0.80     95.00        76.00
                             advertising material.
                             Communication with the Arco team, to discuss about the radio
 9/3/2021   Jorge Marchand                                                                  0.20    175.00        35.00
                             ads recording for the voting campaign.
                             Work on content revisions and edits to the materials for the
 9/3/2021   Jorge Marchand                                                                  0.60    175.00       105.00
                             second round of direct mail.
                             Work on content revisions and edits to the materials for the
 9/3/2021   María Schell                                                                    1.30    110.00       143.00
                             second round of direct mail.
 9/3/2021   María Schell     Work on content development for the voting campaign.           4.20    110.00       462.00
                             Work on content revisions and edits for the voting campaign
 9/3/2021   María Schell                                                                    1.50    110.00       165.00
                             material.
                             Communication with the Arco and MICS teams, to review and
 9/3/2021   Male Noguera                                                                    0.60     95.00        57.00
                             approve TV and Radio Ads.
                             Communication with the LinkActiv team, to discuss about the
 9/3/2021   Male Noguera                                                                    0.40     95.00        38.00
                             outbound recorded messages.
                             Work on display ads copy
 9/3/2021   Male Noguera                                                                    0.50     95.00        47.50
                                              .
                             Participate on the ads recording for the voting campaign, to
 9/7/2021   Jorge Marchand                                                                  1.50    175.00       262.50
                             assist the team with the scripts.
                             Communication with the Arco team, to discuss about the radio
 9/7/2021   Jorge Marchand                                                                  0.40    175.00        70.00
                             ads recording for the voting campaign.
                             Work with the MICS and Arco teams, on revisions and approval
 9/7/2021   Jorge Marchand                                                                  1.00    175.00       175.00
                             of promotional ads.
                             Communication with the MICS team, to discuss about the
 9/7/2021   Jorge Marchand                                                                  0.60    175.00       105.00
                             outbound calls metrics.
                             Work on content revisions to the promotional pieces for the
 9/8/2021   Jorge Marchand                                                                  1.70    175.00       297.50
                             voting campaign.
                             Communication with the MICS and Arco teams to discuss about
 9/8/2021   Jorge Marchand                                                                  0.30    175.00        52.50
                             the Display Ads.
                             Communication with the voting campaign team, to discuss
 9/8/2021   María Schell                                                                    0.30    110.00        33.00
                             about the call center status.
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                            Communication with the MICS team, to discuss about the call
9/8/2021   Male Noguera                                                                       0.20    95.00        19.00
                            center metrics.
                            Communications with the voting campaign team, to discuss
9/8/2021   Male Noguera                                                                       0.90    95.00        85.50
                            about the advertising material.
                            Review and listening to randomly selected recorded calls, from
9/8/2021   Male Noguera                                                                       0.40    95.00        38.00
                            the COR call center, for quality control.
                            Work on revisions and approval of video ads for the voting
9/9/2021   Jorge Marchand                                                                     1.40   175.00       245.00
                            campaign.
                            Review and listening to randomly selected recorded calls, from
9/9/2021   Jorge Marchand                                                                     0.50   175.00        87.50
                            the COR call center, for quality control.
                            Communication with the LinkActiv team to discuss and review
9/9/2021   Jorge Marchand                                                                     0.30   175.00        52.50
                            the call center metrics.

                            Work with the MICS team on content development for an
9/9/2021   Jorge Marchand   internal survey within the ORC registered retirees, to estimate   1.40   175.00       245.00
                            the percentage of pensioners receiving the ballots.

                            Create survey
9/9/2021   Male Noguera                                                                       1.00    95.00        95.00
                                                            .
9/10/2021 María Schell      Work on content development for the voting campaign.              1.60   110.00       176.00
                            Work on content revisions to the promotional pieces for the
9/10/2021 Jorge Marchand                                                                      0.70   175.00       122.50
                            voting campaign.
                            Communication with the professionals team to discuss about the
9/10/2021 Jorge Marchand    retiree solicitation packages and the second round of direct      0.70   175.00       122.50
                            mail.
9/10/2021 Jorge Marchand    Work on review and analysis of the call center metrics.           0.30   175.00        52.50
                            Communication with the MICS team to discuss about the
9/10/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                            internal survey within the ORC registered retirees.
                            Review and listening to randomly selected recorded calls, from
9/10/2021 María Schell                                                                        1.00   110.00       110.00
                            the COR call center, for quality control.
                            Review and listening to randomly selected recorded calls, from
9/10/2021 Male Noguera                                                                        0.90    95.00        85.50
                            the COR call center, for quality control.
                            Work on content revisions and edits to the promotional material
9/13/2021 Jorge Marchand                                                                      0.40   175.00        70.00
                            for the voting campaign.
                            Work on content development to update the call center scripts
9/14/2021 María Schell                                                                        2.20   110.00       242.00
                            and manuals.
9/14/2021 Male Noguera      Work on content revisions to the advertisement material.          1.80    95.00       171.00
9/15/2021 María Schell      Content research for the voting campaign.                         1.80   110.00       198.00
                            Work on content revisions for the voting campaign promotional
9/15/2021 Male Noguera                                                                        1.90    95.00       180.50
                            materials.
9/15/2021 María Schell      Work on content development for the voting campaign.              3.50   110.00       385.00
                            Communication with the MICS and Arco teams to discuss about
9/15/2021 Jorge Marchand                                                                      0.70   175.00       122.50
                            the new video ads
                            Communication with the MICS and Arco teams to discuss about
9/15/2021 María Schell                                                                        0.70   110.00        77.00
                            the new video ads
                            Communication with the MICS team, to discuss about the next
9/15/2021 Jorge Marchand                                                                      0.30   175.00        52.50
                            round of outbound calls.
                            Review and listening to randomly selected recorded calls, from
9/15/2021 Jorge Marchand                                                                      0.80   175.00       140.00
                            the COR call center, for quality control.
                            Communication with Prime Clerk to discuss about the
9/16/2021 María Schell                                                                        0.50   110.00        55.00
                            solicitation packages.
                            Communication with LinkActiv to discuss questions and new
9/16/2021 Male Noguera                                                                        0.50    95.00        47.50
                            language on the script,                           .
                            Communication with the professionals team
9/17/2021 Jorge Marchand                                                                      0.40   175.00        70.00
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                           Review and listening to randomly selected recorded calls, from
9/17/2021 Jorge Marchand                                                                       1.30    175.00       227.50
                           the COR call center, for quality control.
                           Review and listening to randomly selected recorded calls, from
9/17/2021 Male Noguera                                                                         1.30     95.00       123.50
                           the COR call center, for quality control.
                           Work on content revisions and edits to the promotional material
9/17/2021 Jorge Marchand                                                                       1.20    175.00       210.00
                           for the voting campaign.
                           Communication with Prime Clerk to discuss about the
9/17/2021 María Schell                                                                         1.80    110.00       198.00
                           solicitation packages issues.
                           Communication with the professionals team
9/20/2021 Jorge Marchand                                                                       1.60    175.00       280.00
                                                                .
                           Communication with Prime Clerk, to request solicitation
9/20/2021 María Schell                                                                         1.00    110.00       110.00
                           materials.
                           Communication with the professionals team
9/22/2021 Jorge Marchand                                                                       0.30    175.00        52.50

                           Work on content development
9/22/2021 Jorge Marchand                                                                       2.30    175.00       402.50

                           Communication with the professionals team to discuss about the
9/22/2021 Jorge Marchand                                                                       0.70    175.00       122.50
                           retiree solicitation package.
                           Communication with the professionals team to discuss about the
9/22/2021 María Schell                                                                         0.30    110.00        33.00
                           retiree solicitation package.
                           Communication with the Arco team, to review and discuss
9/22/2021 María Schell                                                                         0.30    110.00        33.00
                           about the advertising pieces.
9/22/2021 Male Noguera     Review and proofread the "Comparison Table Ad".                     0.40     95.00        38.00
                           Communication with the professionals team
9/23/2021 Jorge Marchand                                                                       1.20    175.00       210.00

9/23/2021 Jorge Marchand   Work on content development to update the call center scripts.      1.50    175.00       262.50

9/23/2021 María Schell     Work on content development to update the call center scripts.      2.80    110.00       308.00

9/23/2021 Male Noguera     Work on content revisions to the updated the call center scripts.   0.50     95.00        47.50
9/23/2021 Male Noguera     Communication with LinkActiv to discuss about status.               0.10     95.00           9.50
                           Work on content revisions and approval of the voting campaign
9/24/2021 Jorge Marchand                                                                       2.10    175.00       367.50
                           promotional material.

9/24/2021 María Schell     Work on content revisions to the voting campaign materials.         1.80    110.00       198.00

                           Review and listening to randomly selected recorded calls, from
9/24/2021 Male Noguera                                                                         1.30     95.00       123.50
                           the COR call center, for quality control.
                           Communication with Arco to request an adaptation of the
9/24/2021 Male Noguera                                                                         0.30     95.00        28.50
                           comparative table ad for Social Media.
                           Communication with Prime Clerk,
9/24/2021 Male Noguera                                                                         0.40     95.00        38.00

                           Work on content revisions and approval of the voting campaign
9/28/2021 María Schell                                                                         2.00    110.00       220.00
                           promotional material.
                           Work on content revisions and edits to the voting campaign
9/29/2021 Jorge Marchand                                                                       0.50    175.00        87.50
                           promotional material.
                           Work on content revisions and edits to the voting campaign
9/29/2021 María Schell                                                                         0.50    110.00        55.00
                           promotional material.
                           Work on content revisions and edits for the voting campaign
9/30/2021 Jorge Marchand                                                                       2.10    175.00       367.50
                           material.
                           Work on content revisions and edits for the voting campaign
9/30/2021 María Schell                                                                         2.10    110.00       231.00
                           material.
                                                                                               83.30              10,978.00
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                                                 Fee Summary: Hours      Rate      Value ($)
                                                 Ferdinand Díaz    -     125.00           -
                                                Jorge Marchand 31.50     175.00     5,512.50
                                                Julizzette Colón   -      70.00           -
                                                  Male Noguera 15.50      95.00     1,472.50
                                                    María Schell 36.30   110.00     3,993.00
                                                                 83.30             10,978.00
